(1 of 109), Page 1 of 109       Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 1 of 109


                                                     No. 24-880


                               IN THE UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT


                    CENTER FOR INVESTIGATIVE REPORTING and WILL EVANS,

                                                               Plaintiffs-Appellees,

                                                         v.

                                 UNITED STATES DEPARTMENT OF LABOR,

                                                               Defendant-Appellant.


                                  On Appeal from the United States District Court
                                      for the Northern District of California


                                           EXCERPTS OF RECORD
                                              VOLUME 4 OF 4


                                                              BRIAN M. BOYNTON
                                                                Principal Deputy Assistant Attorney
                 Of Counsel:                                       General
                                                              ISMAIL J. RAMSEY
              SEEMA NANDA                                       United States Attorney
                Solicitor of Labor                            PAMELA JOHANN
              EMILY S. WHITTEN                                  Assistant United States Attorney
               Attorney                                       MARK B. STERN
                                                              JOSHUA M. KOPPEL
                 United States Department of Labor              Attorneys, Appellate Staff
                                                                Civil Division, Room 7212
                                                                U.S. Department of Justice
                                                                950 Pennsylvania Avenue NW
                                                                Washington, DC 20530
                                                                (202) 514-4820
(2 of 109), Page 2 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 2 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 1 of 14



            1   D. Victoria Baranetsky (SBN 311892)
            2   THE CENTER FOR INVESTIGATIVE REPORTING
                1400 65th St., Suite 200
            3   Emeryville, CA 94608
                Telephone: (510) 982-2890
            4   Fax: (510) 849-6141
                vbaranetsky@revealnews.org
            5
                 Attorney for Plaintiffs
            6
                                            UNITED STATES DISTRICT COURT
            7
                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
            8

            9
                THE CENTER FOR INVESTIGATIVE                      )    Case No. _______________
           10                                                     )
                REPORTING and WILL EVANS,
                                                                  )    COMPLAINT FOR INJUNCTIVE
           11                                                     )
                                                   Plaintiffs,         RELIEF
                                                                  )
           12                                                     )
                       v.                                         )
           13                                                     )
                UNITED STATES DEPARTMENT OF                       )
           14   LABOR,                                            )
                                                                  )
           15                                     Defendant.      )
           16
                                                        INTRODUCTION
           17
                       1.      This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,
           18
                for injunctive and other appropriate relief. The Center for Investigative Reporting (“CIR”) and Will
           19
                Evans (“Mr. Evans”) (collectively “Plaintiffs”) seek processing and release of agency records
           20
                requested from Defendant the United States Department of Labor (“DOL” or “Defendant”).
           21
                       2.      From January 2019 through September 2020, Plaintiffs submitted three Freedom of
           22
                Information Act requests (the “Requests”) to DOL’s Office of Federal Contract Compliance
           23
                Programs (“OFCCP” or “Defendant”) seeking disclosure of consolidated Type 2 diversity
           24
                employment reports (“EEO-1 Reports” or “Diversity Reports”) from federal contractors for the years
           25
                2016, 2017, 2018, 2019 and 2020.
           26
                       3.      In May 2021 the three individual requests were combined into one individual request.
           27
                       4.      This matter has been pending with OFCCP for nearly four years, since the date of
           28

                                                                 -1-
                                                   COMPLAINT FOR INJUNCTIVE RELIEF
                                                                 ER-536
(3 of 109), Page 3 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 3 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 2 of 14



            1   CIR’s original request in January 2019.

            2          5.      This is the third time Plaintiffs have filed a complaint for EEO-1 Reports. See Ctr. for

            3   Investigative Reporting v. Dep’t of Labor, No. 3:18-cv-02008 (N.D. Cal. Dec. 21, 2018) (disclosing

            4   records after months of settlement conversations) and Ctr. for Investigative Reporting v. Dep’t of

            5   Labor, 424 F. Supp. 3d 771, 779 (N.D. Cal. Dec. 10, 2019) (ordering disclosure of records after

            6   finding that the EEO-1 Reports were not commercial information properly withheld under FOIA

            7   Exemption 4) aff’d, 34 F.4th 762, 772 (9th Cir. 2022).

            8          6.      Despite this court previously requiring the release of EEO-1 Reports, OFCCP has

            9   denied Plaintiffs’ request for records. OFCCP alleged that disclosure would be unduly burdensome,

           10   despite there being no need for redactions. OFCCP also stated, in abrogation of FOIA, that fulfilling

           11   these requests would require a company-by-company consultation of the over 100,000 federal

           12   contractors who have submitted the EEO-1 report data.

           13          7.      CIR sent several communications to OFCCP stating that the withholding was

           14   improper due to this Court’s order requiring disclosure of the EEO-1 Reports and finding Exemption

           15   4 inapplicable. See Ctr. for Investigative Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771, 779 (N.D.

           16   Cal. Dec. 10, 2019), aff’d, 34 F.4th 762, 772 (9th Cir. 2022),

           17          8.      Still, OFCCP asserted that data from these submitters is potentially protected from

           18   disclosure under Exemption 4, despite the December 2019 ruling. In further correspondence OFCCP

           19   asserted that this Court’s December 2019 order does not have any “precedential effect.” See infra at

           20   9.

           21          9.      On August 19, 2022, after CIR’s second letter to DOL asserting that the withholding

           22   was improper, OFCCP published a notice on the Federal Register giving federal contractors “a period

           23   of time object to the disclosure [of the diversity reports] and state their grounds for doing so.” Notice

           24   of Request Under the Freedom of Information Act for Federal Contractors' Type 2 Consolidated

           25   EEO-1 Report Data, 87 Fed. Reg. 51145 (Aug. 19, 2022) https://bit.ly/3ThtEzw.

           26          10.     OFCCP provided that federal contractors had until October 19, 2022 to object to the

           27   disclosure of any portion of the EEO-1 Reports and to state all grounds upon which disclosure was

           28   opposed.     OFCCP,       Notice     of    Extension,     Submitter      Notice     Response      Portal

                                                                    -2-
                                                     COMPLAINT FOR INJUNCTIVE RELIEF
                                                                  ER-537
(4 of 109), Page 4 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 4 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 3 of 14



            1   https://www.dol.gov/agencies/ofccp/submitter-notice-response-portal (last visited October 19,

            2   2022).

            3            11.   As of November 15, 2022, the DOL has not released any records pertaining to the

            4   Request. This continued withholding improperly includes any records from federal contractors that

            5   may have consented to disclosure or waived their opportunity to object, in addition to federal

            6   contractors that objected to disclosure.

            7            12.   DOL’s withholding is of particular public concern because Diversity Reports contain

            8   generalized employee diversity statistics of federal contractors. See Will Evans, We Forced the

            9   Government to Share Corporate Diversity Data. It’s Giving Companies an Out Instead,

           10   REVEAL.ORG, Aug. 29, 2022, https://revealnews.org/article/we-forced-the-government-to-share-

           11   corporate-diversity-data-its-giving-companies-an-out-instead/. This data is instrumental to ensuring

           12   that federal contractors, obtaining taxpayer dollars, diversify their workforces in compliance with

           13   the federal law. Id.

           14            13.   Claims that the aggregate data on diversity employment for federal contractors

           15   contained in the Diversity Reports is exempt as confidential commercial information under FOIA’s

           16   Exemption 4 is unjustified.

           17            14.   Plaintiffs now ask the Court for an injunction requiring DOL to promptly release the

           18   withheld records.

           19                                               JURISDICTION
           20            15.   The Court has subject matter jurisdiction over this action and personal jurisdiction
           21   over the parties pursuant to 5 U.S.C. §§ 552(a)(4)(B) and 552(a)(6)(C)(i). This Court also has
           22   jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1436, and 5 U.S.C. §§ 701–706.
           23

           24                           VENUE AND INTRADISTRICT ASSIGNMENT
                         16.   Venue is proper in this district under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §§
           25
                1391(e) and 1402. Plaintiff CIR has its principal place of business in this district. Plaintiff Will
           26
                Evans is domiciled in this district.
           27
                         17.   Assignment to the Oakland Division is proper pursuant to Local Rule 3-2(c) and (d)
           28

                                                                     -3-
                                                       COMPLAINT FOR INJUNCTIVE RELIEF
                                                                   ER-538
(5 of 109), Page 5 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 5 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 4 of 14



            1   because a substantial portion of the events giving rise to this action occurred in Alameda County,

            2   where Plaintiff CIR’s principal place of business is located and most actions in this case occurred.

            3                                                    PARTIES

            4          18.      Founded in 1977, as the first national investigative news organization, Plaintiff CIR

            5   has received multiple awards for its reporting. CIR is a non-profit established under the laws of the

            6   State of California, with its primary office in Emeryville, California. CIR publishes Reveal an online

            7   news site at revealnews.org and Reveal a weekly public radio show with approximately 1 million

            8   listeners a week.

            9          19.     Plaintiff Will Evans is a staff reporter for Reveal and an employee of CIR.

           10          20.     Defendant DOL is a department of the executive branch of the U.S. government and

           11   an “agency” within the meaning of 5 U.S.C. §552(f)(1). OFCCP is a component of DOL. DOL has

           12   its headquarters in Washington, D.C., and offices all over the country, including in Oakland and San

           13   Francisco, California.

           14                                      FACTUAL BACKGROUND
           15                                      EEO-1 Reports and OFCCP
           16          21.     OFCCP is the component of DOL that is responsible for enforcing nondiscrimination
           17   and affirmative action requirements imposed on federal contractors as ordered by Executive Order
           18   11246, the Vietnam Era Veterans’ Readjustment Assistance Act of 1974, and Section 503 of the
           19   Rehabilitation Act.
           20
                       22.     According to its website, OFCCP’s mission is to “protect workers, promote diversity
           21
                and enforce the law.” OFCCP, Mission Statement, https://www.dol.gov/ofccp/aboutof.html (last
           22
                visited October 11, 2022). “OFCCP holds those who do business with the federal government—
           23
                contractors and subcontractors—responsible for complying with the legal requirement to take
           24
                affirmative action and not discriminate.” Id.
           25
                       23.     To achieve this, OFCCP collects workforce data from employers who submit the
           26
                DOL’s Employer Information Component 1 Reports (“EEO-1 Reports”). These reports are collected
           27
                annually under the authority of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e, et. seq.,
           28

                                                                  -4-
                                                    COMPLAINT FOR INJUNCTIVE RELIEF
                                                                 ER-539
(6 of 109), Page 6 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 6 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 5 of 14



            1   as       amended.        See       EEOC,         EEO-1         Instruction      Booklet       (2021),

            2   https://www.eeocdata.org/pdfs/2021_EEO_1_Component_1_InstructionBooklet.pdf. OFCCP and

            3   the Equal Employment Opportunity Commission (“EEOC”) together administer the EEO-1 Reports.

            4   Id.

            5           24.     In accordance with Title VII, all employers in the United States with 15 or more
            6   employees are required to keep employment records. Id. at 2. Based on those records, certain large
            7   employers are required to file EEO-1 Reports on an annual basis. Id. at 2.
            8
                        25.     OFCCP regulations require certain federal contractors to file EEO-1 Reports if they
            9
                have 50 or more employees and are not exempt as provided for by 41 CFR 60-1. EEOC, Frequently
           10
                Asked    Questions     (FAQs)     EEO-1     Component      1    Data    Collection,    available    at
           11
                https://eeocdata.org/pdfs/EEO-1%20Component%201%20FAQ.pdf.
           12
                        26.     Submitting EEO-1 Reports is not voluntary and under section 709(c) of Title VII the
           13
                EEOC may compel an employer to file it by obtaining an order from the United States District Court.
           14
                42 U.S.C. § 2000(e).
           15

           16           27.     In general, EEOC collects two types of reports containing diversity statistics: a Type

           17   1 Report and a Type 2 Consolidated Report. Type 1 Reports are submitted by “an employer

           18   conducting business at only one establishment” and Type 2 Reports are submitted by “an employer

           19   conducting business at more than one establishment” (i.e., a multi-establishment employer). See

           20   EEOC, EEO-1 Instruction Booklet (2021), https://www.eeocdata.org/pdfs/2021_EEO_1_Comp

           21   onent_1_InstructionBooklet.pdf. Type 2 reports include demographic data for all the U.S. employees

           22   of a company categorized by ethnicity, gender and job category. Id. at 5. The Type 1 and Type 2

           23   Reports do not contain particularized or sensitive information like wage and payment information or

           24   demographics of individual company offices or employees. Plaintiffs only seek Type 2 reports in

           25   this request.

           26           28.     While the EEOC is prohibited from disclosing EEO-1 reports under Title VII of the
           27   Civil Rights Act of 1964, Title VII “generally does not apply to individuals who are found to be
           28

                                                                   -5-
                                                     COMPLAINT FOR INJUNCTIVE RELIEF
                                                                 ER-540
(7 of 109), Page 7 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 7 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 6 of 14



            1   independent contractors.” EEOC, Protections Against Employment Discrimination Based on Sexual

            2   Orientation or Gender Identity (2021), https://www.eeoc.gov/laws/guidance/ protections-against-

            3   employment-discrimination-based-sexual-orientation-or-gender. As the EEOC explains on its

            4   website “[p]eople who are not employed by the employer, such as independent contractors, are not

            5   covered      by     the     anti-discrimination     laws.”     EEOC,       Employer      Coverage,

            6   https://www.eeoc.gov/employers/coverage-0 (last visited October 31, 2022).

            7          29.     OFCCP does not proactively disclose the EEO-1 Reports. To obtain copies,
            8   individuals and institutions, including media, must submit a FOIA request. Department of Labor,
            9   Federal Compliance Manual, §1A06 (2021), https://www.dol.gov/agencies/ofccp/manual/fccm/1a-
           10   introduction/1a06-confidentiality-information.
           11
                       30.     Once a FOIA request is submitted, OFCCP contacts federal contractors to notify them
           12
                of the request for disclosure, but OFCCP is required to make a separate determination as to whether
           13
                any exemptions apply under FOIA. Id.
           14
                       31.     The disclosure of these reports has been championed by civil rights activists such as
           15
                Rev. Jesse Jackson Sr., members of Congress, investment firms, and companies themselves. See,
           16
                e.g., Salvador Rodriguez, Jesse Jackson Gives Uber a Diversity Deadline, INC.COM, Jan. 5, 2017,
           17
                https://www.inc.com/salvador-rodriguez/uber-diversity-jesse-jackson.html; Will Evans, 11 men and
           18
                1 woman on management team? No need for diversity report, REVEAL.ORG, Nov. 8, 2017,
           19
                https://www.revealnews.org/article/11-men-and-1-woman-on-management-team-no-need-for-
           20
                diversity-report/; Letter from Emanuel Cleaver II, Member of Congress, U.S. House of
           21
                Representatives, to Alexander Acosta, Secretary, U.S. Department of Labor (Mar. 6, 2019),
           22
                https://cleaver.house.gov/sites/cleaver.house.gov/files/DOL_FOIA.pdf; Ashley Marchand Orme,
           23
                Big companies are already collecting important data on workforce diversity. More of them need to
           24
                make it public, Fortune Magazine, Feb. 9, 2022 https://fortune.com/2022/02/09 /diversity-inclusion-
           25
                dei-intersectional-data-eeo-1-reports/.
           26

           27          32.     The public need for disclosure of EEO-1 Reports in promoting diversity is

           28   incontrovertible. Almost 30 years ago, The Federal Glass Ceiling Commission, created by the Civil

                                                                  -6-
                                                    COMPLAINT FOR INJUNCTIVE RELIEF
                                                                  ER-541
(8 of 109), Page 8 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 8 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 7 of 14



            1   Rights Act of 1991, stated in its 1995 report that it “urges the Federal government and its agencies

            2   to look for ways to increase public access to diversity data” and that “[t]he government should also

            3   explore the possibility of mandating public release of EEO-1 forms for Federal contractors and

            4   publicly traded corporations.” Federal Glass Ceiling Commission, A Solid Investment: Making Full

            5   Use of the Nation’s Human Capital (1995).

            6          33.      While the type of data in Diversity Reports has been hotly debated, such as the
            7   inclusion of employee payment data, the generalized statistics collected in EEO-1 Type 2 Reports
            8   pertaining to race, gender and job category has been determined to be uncontroversial, necessary,
            9   and continually collected for decades. See Memorandum from Neomi Rao to Acting EEOC Chair
           10   Victoria     Lipnic,   Office    of   Information    and   Regulatory   Affairs,   Aug.    29,   2017,
           11   https://bit.ly/2uFABUV. Type 2 Reports have been collected without interruption because its
           12   aggregate data does not disclose individualized information. It is also does not include sensitive, nor
           13   commercial information, such as salary information.
           14
                       34.      The collection of demographic data in the EEO-1 Reports is increasingly of
           15
                significant public importance as large numbers of public functions are increasingly outsourced to
           16
                private contractors, and so much of the federal government’s work force is composed of federal
           17
                contractors. Steven Pearlstein, The federal outsourcing boom and why it’s failing Americans,
           18
                WASHINGTON POST, January 31, 2014, https://wapo.st/3zVolPr.
           19
                       35.      Various news outlets, including CIR have used these reports to inform the public
           20
                about lack of diversity in the United States workforce across various industries. See, e.g., Will Evans
           21
                & Sinduja Rangarajan, Hidden figures: How Silicon Valley keeps diversity data secret, REVEAL, Oct.
           22
                19, 2017, https://www.revealnews.org/article/hidden-figures-how-silicon-valley-keeps-diversity-
           23
                data-secret/; Kate Rooney & Yasmin Khorram, Tech companies say they value diversity, but reports
           24
                show little change in last six years, CNBC, June 12, 2020, https://www.cnbc.com/2020/06/12/six-
           25
                years-into-diversity-reports-big-tech-has-made-little-progress.html; Charisse Jones, Jayme Fraser, &
           26
                Dian Zhang, Racial justice in the workplace: In-depth look at diversity’s struggle to crack corporate
           27
                boardrooms,        USA          TODAY,     July      24,     2021,      https://www.usatoday.com/in-
           28

                                                                    -7-
                                                      COMPLAINT FOR INJUNCTIVE RELIEF
                                                                    ER-542
(9 of 109), Page 9 of 109    Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 9 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 8 of 14



            1   depth/money/business/2021/07/18/workplace-diversity-struggles-break-into-corporate-

            2   boardrooms/7906529002/; Jessica Guynn, Jayme Fraser, Craig Harris and Dian Zhang, How top

            3   companies in US are struggling to diversify leadership, USA TODAY, July 13, 2021,

            4   https://www.usatoday.com/in-depth/money/2021/07/14/diversity-corporate-systemic-racism-

            5   employment-inequities/7639595002/.

            6          36.     Release of the demographic information contained in the EEO-1 Type 2 Reports
            7   would inform the public on the important topics of workplace diversity, equality, and inclusivity. Id.
            8
                                                  CIR’s EEO-1 FOIA Requests
            9
                       37.     On January 10, 2019 Mr. Evans submitted a FOIA request via email to OFCCP for a
           10
                spreadsheet of all Type 2 consolidated EEO-1 report data submitted by all federal contractors in
           11
                2016. A true and correct copy of this request is attached as Exhibit A. The tracking No. 872421 was
           12
                assigned to this request. Id.
           13
                       38.      On March 25, 2019 Mr. Evans submitted a second FOIA request via email to OFCCP
           14
                seeking a spreadsheet of all consolidated EEO-1 report data submitted by all federal contractors in
           15
                2017. A true and correct copy of this request is attached as Exhibit B. The tracking No. 875877 was
           16
                assigned to this request. Id.
           17
                       39.     OFCCP responded to Mr. Evans’ first request, No. 872421, on July 18, 2019 with a
           18
                letter. A true and correct copy of this response letter is attached as Exhibit C (“Ex. C”). The letter
           19
                stated that the “voluminous request would overwhelm the OFCCP FOIA unit” because it would
           20
                require the agency to reach out to the over 100,000 companies who could potentially be affected by
           21
                the release of information in their submitted EEO-1 reports. Ex. C. The agency recommended Mr.
           22
                Evans narrow his request. Id.
           23
                       40.     On August 8, 2019 Mr. Evans replied to OFCCP’s July 18th letter declining to narrow
           24
                his request. A true and correct copy of this request is attached as Exhibit D. (“Ex. D”). He also
           25
                asserted that notification of the companies was not required and thus fulfilling the request would not
           26
                be unduly burdensome on the agency. Ex. D.
           27
                       41.     On September 11, 2020 Mr. Evans submitted another FOIA request via email to
           28

                                                                  -8-
                                                    COMPLAINT FOR INJUNCTIVE RELIEF
                                                                 ER-543
(10 of 109), Page 10 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 10 of 109
                         Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 9 of 14



            1   OFCCP seeking all consolidated EEO-1 reports submitted by all federal contractors in year 2018. A

            2   true and correct copy of this request is attached as Exhibit E (“Ex. E”). OFCCP sent an

            3   acknowledgment of this request and assigned it tracking No. 897123. Ex. E.

            4             42.     On October 2, 2020, CIR received a letter from the OFCCP in response to request No.

            5   897123. Under Executive Order 12600, the agency claimed it was required to grant all EEO-1

            6   submitters the opportunity to object in writing to disclosure of any Diversity Reports. A true and

            7   correct copy of this letter is attached as Exhibit F (“Ex. F”).

            8             43.     OFCCP asserted it could not release the data without notifying the submitters because

            9   the “information may be protected from disclosure under FOIA Exemption 4.” Ex. F.

           10             44.     In response to the OFCCP’s decision, on October 30, 2020 CIR sent email reminding

           11   Defendant of the recent federal court ruling, Ctr. for Investigative Reporting v. U.S. Dep’t of Labor

           12   424 F. Supp. 3d 771, 779 (N.D. Cal. 2019), aff’d, 34 F.4th 762, 772 (9th Cir. 2022). In this identical

           13   case, CIR had requested EEO-1 Reports of 10 companies. Id. The court held the “Government was

           14   not justified in applying Exemption 4” to this information and it ordered the EEO-1 reports in

           15   question to “be produced unredacted.” Id.; see also Will Evans, Judge backs Reveal’s suit to end

           16   secrecy         around    Silicon    Valley’s    diversity,       REVEAL.ORG,    Dec.    13,     2019,

           17   https://revealnews.org/article/judge-backs-reveals-suit-to-end-secrecy-around-silicon-valleys-

           18   diversity/. A true and correct copy of this email response is attached as Exhibit G (“Ex. G”).

           19             45.     On November 7, 2022, OFCCP acknowledged receipt of CIR’s October 30th email

           20   and stated that the matter was under review. Ex. G.

           21             46.     On December 11, 2020, CIR’s counsel again emailed the OFCCP requesting an

           22   update. Id.

           23             47.      On December 18, 2020, OFCCP responded to CIR’s email reiterating that under

           24   Executive Order 12600 OFCCP was “obligated to notify submitters of the requests” because the

           25   reports contained “potentially confidential commercial information. A true and correct copy of this

           26   email correspondence is attached as Exhibit H (“Ex. H”).

           27             48.     OFCCP also stated that the Defendant does “not believe that the Northern California’s

           28   District Court’s decision in Ctr. for Investigative Reporting v. U.S. Dep’t of Labor has precedential

                                                                    -9-
                                                      COMPLAINT FOR INJUNCTIVE RELIEF
                                                                   ER-544
(11 of 109), Page 11 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 11 of 109
                        Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 10 of 14



            1   effect on all EEO-1, Type 2 reports.” Ex. H. OFCCP estimated that CIR’s requests involved “the

            2   EEO-1, Type 2 reports of well over 15,000, and possibly over 20,000 submitters from countless

            3   industries” who were not bound by that court ruling. Id.

            4            49.      OFCCP did not provide an update on how it would move forward with processing

            5   CIR’s requests nor did it provide a timeline on when the submitters would be notified of the requests.

            6   Id.

            7            50.      On January 7, 2021, CIR sent another email to DOL requesting additional information

            8   on when OFCCP had provided notices to the submitters and how the data would be released for those

            9   submitters who had already consented to release or waived their opportunity to object. Id.

           10            51.      DOL failed to respond to CIR’s inquiries for months.

           11            52.      On May 10, 2021 Mr. Evans requested his initial FOIA request No. 872421 be

           12   amended to include of all consolidated Type 2 EEO-1 Reports for all federal contractors for 2017

           13   and 2018 as well as 2016. A true and correct copy of this amendment correspondence is attached as

           14   Exhibit I (“Ex. I”).

           15            53.      On May 11, 2021 DOL combined the three individual EEO-1 requests into one

           16   request under tracking No. 872421 (“the Request”). Ex. I.

           17            54.      On June 2, 2022, Mr. Evans submitted another FOIA request via email to OFCCP

           18   seeking all consolidated Type 2 EEO-1 Reports submitted by federal contractors in 2019 and 2018.

           19   A true and correct copy of this request is attached as Exhibit J. DOL sent an acknowledgment of this

           20   request and consolidated it with the earlier request under tracking No. 872421. Id.

           21                            CIR’s Objection Letter to the Department of Labor Solicitor

           22            55.      On May 23, 2022, after an extensive period of no communication from OFCCP1, CIR

           23   General Counsel, D. Victoria Baranetsky, sent a letter to the Solicitor of Labor and the OFCCP

           24   Director explaining why the DOL’s withholding of EEO-1 Type 2 Reports was wrongful and

           25   demanding an immediate release. A true and correct copy of this letter is attached as Exhibit K (“Ex.

           26   K”).

           27   1
                 During this time, the government chose not to appeal the ruling in Ctr. for Investigative Reporting v. U.S. Dep’t of
                Labor even though a single intervenor appealed. The U.S. Ninth Circuit Court of Appeals left the district court’s
           28   decision undisturbed. 424 F. Supp. 3d 771 (N.D. Cal. Dec. 10, 2019) aff’d, 34 F.4th 762, 772 (9th Cir. 2022).

                                                                           -10-
                                                           COMPLAINT FOR INJUNCTIVE RELIEF
                                                                          ER-545
(12 of 109), Page 12 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 12 of 109
                        Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 11 of 14



            1          56.     More specifically, the letter maintained that (1) the OFCCP is bound by the 2019 Ctr.

            2   for Investigative Reporting v. U.S. Dep’t of Labor decision requiring disclosure of EEO-1 Type 2

            3   Reports and asserted; and (2) the OFCCP should proactively publish the records because this Court

            4   has already ruled that Diversity Reports cannot be withheld. Ex. K.

            5          57.     On June 15, 2022 OFCCP responded to CIR’s letter. A true and correct copy of this

            6   correspondence is attached as Exhibit L (“Ex. L”). OFCCP continued “to strongly disagree with”

            7   CIR’s position that the Ctr. for Investigative Reporting v. U.S. Dep’t of Labor decision has “any

            8   binding effect as to other EEO-1 reports” beyond those at issue in the case. Ex. L. OFCCP also

            9   disagreed with CIR’s position that the agency could proactively publish the requested EEO-1 reports

           10   without providing submitters an opportunity to object to disclosure. Id.

           11          58.     OFCCP stated that it has the authority to effectuate notice of disclosure to all federal

           12   contractors “via posting and publishing the notice in a place reasonably calculated to accomplish

           13   notification.” Ex. L; 29 C.F.R. § 70.26(j).

           14          59.     On June 16, 2022 CIR requested for a clearer timeline regarding the Request and

           15   requested a phone call with the agency. A true and correct copy of this correspondence is attached

           16   as Exhibit L (“Ex. L”). After receiving no response, CIR’s counsel called DOL’s counsel and

           17   requested a timeline but agency still was not able to provide any information.

           18          60.     On June 27, 2022 OFCCP emailed CIR and stated that the agency anticipated

           19   publishing a notice in the Federal Register in July 2022. Ex. L. CIR responded by requesting DOL

           20   reconsider its position and provide justification for its withholding. Id.

           21          61.     On July 6, 2022 OFCCP responded by citing agency regulations, 29 C.F.R. § 70.26,

           22   regarding its procedures. Id. While citing to these procedures OFCCP circumvented its obligations

           23   under FOIA and failed to explain its justification for wrongly withholding under the federal statute.

           24   Id.

           25          62.     As of August 5, 2022, OFCCP had not published any information on the Federal

           26   Register, as it had previously promised, so CIR’s counsel emailed OFCCP to confirm the agency’s

           27   intended actions and timeline. Id. That same day, DOL responded and stated that the agency had just

           28   sent its information to the Federal Register for publication and was awaiting approval. Id.

                                                                   -11-
                                                     COMPLAINT FOR INJUNCTIVE RELIEF
                                                                  ER-546
(13 of 109), Page 13 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 13 of 109
                        Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 12 of 14



            1

            2                                      OFCCP’s Federal Register Notice

            3          63.     On August 19, 2022, three years after Mr. Evans submitted his initial request for

            4   EEO-1 diversity data, OFCCP published a notice on the Federal Register informing all federal

            5   contractors that a FOIA request from CIR had been submitted for all Type 2 Consolidated EEO-1

            6   report data. Notice of Request Under the Freedom of Information Act for Federal Contractors’ Type

            7   2 Consolidated EEO-1 Report Data, 87 Fed. Reg. 51145 (Aug. 19, 2022), https://bit.ly/3ThtEzw;

            8   Will Evans, We Forced the Government to Share Corporate Diversity Data. It’s Giving Companies

            9   an Out Instead, REVEAL.ORG, Aug. 29, 2022, https://revealnews.org/article/we-forced-the-

           10   government-to-share-corporate-diversity-data-its-giving-companies-an-out-instead/.

           11          64.     Further, on September 23, 2022, the OFCCP published all of its correspondence with

           12   CIR but did not publish any of its correspondence with the federal contractors or disclose any of the

           13   Diversity Reports. OFCCP, Freedom of Information Act Library, OFCCP Correspondence,

           14   https://www.dol.gov/agencies/ofccp/foia/library/Correspondence.

           15          65.     The notice states contractors had until September 19, 2022 to submit written

           16   objections of disclosure to the OFCCP. It also states that OFCCP will make an independent

           17   evaluation of each companies’ objections regarding diversity reports before making a determination.

           18   Notice of Request Under the Freedom of Information Act for Federal Contractors’ Type 2

           19   Consolidated EEO-1 Report Data, 87 Fed. Reg. 51145 (Aug. 19, 2022), https://bit.ly/3ThtEzw.

           20          66.     OFCCP granted an extension for the contractors’ deadline to October 19, 2022. Id.

           21          67.     Since publication of the notice on the Federal Register, several news outlets have

           22   written stories on the withholding and law firms have published ways to object to the withholdings.

           23   See, e.g., J. Edward Moreno, Labor Department Reluctant to Reveal Contractor Diversity Data,

           24   Bloomberg Law (October 20, 2022), https://news.bloomberglaw.com/daily-labor-report/labor-

           25   department-reluctant-to-reveal-contractor-diversity-data; Allen Smith, Deadline for Objecting to

           26   Disclosure    of   EEO-1     Reports    Extended,    SHRM      Online    (September     16,   2022),

           27   https://www.shrm.org/resourcesandtools/legal-and-compliance/employment-law/pages/deadline-

           28   for-objecting-to-disclosure-of-eeo-1-reports-extended.aspx; Mark J. Neuberger, OFCCP May Blow

                                                                 -12-
                                                    COMPLAINT FOR INJUNCTIVE RELIEF
                                                                ER-547
(14 of 109), Page 14 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 14 of 109
                        Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 13 of 14



            1   the Lid on Employers’ Workforce Data, Foley & Lardner LLP (August 23, 2022),

            2   https://www.foley.com/en/insights/publications/2022/08/ofccp-may-blow-lid-employers-

            3   workforce-data.

            4          68.     On November 1, 2022 Mr. Evans received an email from another OFCCP FOIA

            5   officer. The officer noted that the agency “intends to release to [CIR] the names of those federal

            6   contractors that objected under an applicable FOIA exemption and whose data was removed from

            7   public release.” A true and correct copy of this correspondence is attached as Exhibit N.

            8          69.     To date, OFCCP has made no final determination as to this Mr. Evans’ combined

            9   FOIA request and disclosed no records.

           10          70.     More than 20 working days have passed since Plaintiffs submitted the initial request

           11   January 15, 2019.

           12          71.     DOL has failed to comply with FOIA, 5 U.S.C. § 552(a)(6)(A)(ii), requiring that an

           13   agency make a determination with respect to a request within the 20 business days.

           14          72.     DOL has obviated its duties promulgated under FOIA, 5 U.S.C. § 552(a) by citing

           15   agency regulations.

           16          73.     Having exhausted all administrative remedies, Plaintiffs now seeks injunctive relief.

           17                                          CAUSE OF ACTION
           18
                                            Violation of Freedom of Information Act
           19
                       74.     Plaintiffs repeat and reallege paragraphs 1-73.
           20
                       75.     DOL is subject to FOIA and must therefore release in response to a FOIA request any
           21
                disclosable records in its possession and provide a lawful reason for withholding any materials as to
           22
                which it is claiming an exemption.
           23
                       76.     DOL has no lawful basis for declining to a significant portion of the records requested
           24
                by Plaintiffs under FOIA.
           25
                       77.     DOL has failed to act on Plaintiffs’ request within the 20 business days required by
           26
                FOIA. See 5 U.S.C. § 552(a)(6)(A)(i). Accordingly, Plaintiffs are deemed to have exhausted their
           27
                administrative remedies under FOIA.
           28

                                                                  -13-
                                                     COMPLAINT FOR INJUNCTIVE RELIEF
                                                                 ER-548
(15 of 109), Page 15 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 15 of 109
                        Case 3:22-cv-07182 Document 1 Filed 11/15/22 Page 14 of 14



            1          78.     DOL has failed to comply with FOIA’s obligations by citing to agency regulations.

            2          79.     Plaintiffs are entitled to declaratory and injunctive relief compelling the release and

            3   disclosure of the requested records.

            4                                           REQUESTED RELIEF
            5
                WHEREFORE, Plaintiffs prays that this Court:
            6
                       1.      Declare that Defendant DOL violated FOIA by failing to provide requested records
            7
                in response to Plaintiffs’ FOIA requests and failing to notify Plaintiffs of any determination;
            8
                       2.      Declare that Defendant DOL violated FOIA by citing agency guidelines to
            9
                circumvent the law;
           10
                       3.      Declare that the documents sought by their FOIA request, as described in the
           11
                foregoing paragraphs, are public under 5 U.S.C. § 552 and must be disclosed;
           12
                       4.      Order Defendant DOL to provide the requested documents to Plaintiffs within 20
           13
                business days of the Court’s order;
           14
                       5.      Award Plaintiffs the costs of this proceeding, including reasonable attorneys’ fees, as
           15
                expressly permitted by FOIA; and
           16
                       6.      Grant Plaintiffs such other and further relief as this Court may deem just and proper.
           17

           18

           19    DATED: November 15, 2022                     Respectfully submitted,
           20

           21                                                 By: /s/ D. Victoria Baranetsky
                                                              D. Victoria Baranetsky (SBN 311892)
           22                                                 THE CENTER FOR INVESTIGATIVE REPORTING
                                                              1400 65th St., Suite 200
           23                                                 Emeryville, CA 94608
                                                              Telephone: (510) 982-2890
           24                                                 Email: vbaranetsky@revealnews.org
           25                                                 Attorney for Plaintiffs
           26

           27

           28

                                                                    -14-
                                                       COMPLAINT FOR INJUNCTIVE RELIEF
                                                                   ER-549
(16 of 109), Page 16 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 16 of 109
   -6&$1' 5HY  Case 3:22-cv-07182 Document 1-1 Filed 11/15/22 Page 1 of 1
                                                                                 &,9,/&29(56+((7
  7KH-6&$1'FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRISOHDGLQJVRURWKHUSDSHUVDVUHTXLUHGE\ODZ
  H[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGLQLWVRULJLQDOIRUPE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKH&OHUNRI
  &RXUWWRLQLWLDWHWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
  , D 3/$,17,))6                                                                                            '()(1'$176
   The Center for Investigative Reporting and Will Evans                                                  U.S. Department of Labor
        E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII                                                       &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              127(,1/$1'&21'(01$7,21&$6(686(7+(/2&$7,212)
                                                                                                                         7+(75$&72)/$1',192/9('
        F    $WWRUQH\V(Firm Name, Address, and Telephone Number)                                            $WWRUQH\V(If Known)

   D. Victoria Baranestsky, General Counsel, The Center for
  ,,        %$6,62)-85,6',&7,21(Place an “X” in One Box Only)                              ,,, &,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)           and One Box for Defendant) 
                                                                                                                                    37) '()                          37) '()
         86*RYHUQPHQW3ODLQWLII        )HGHUDO4XHVWLRQ                                  &LWL]HQRI7KLV6WDWH                                    ,QFRUSRUDWHGor3ULQFLSDO3ODFH                 
                                                 (U.S. Government Not a Party)
                                                                                                                                                                 RI%XVLQHVV,Q7KLV6WDWH
                                                                                                    &LWL]HQRI$QRWKHU6WDWH                                ,QFRUSRUDWHGand3ULQFLSDO3ODFH              
         86*RYHUQPHQW'HIHQGDQW         'LYHUVLW\                                                                                                      RI%XVLQHVV,Q$QRWKHU6WDWH
                                                (Indicate Citizenship of Parties in Item III)
                                                                                                    &LWL]HQRU6XEMHFWRID                                 )RUHLJQ1DWLRQ                                
                                                                                                    )RUHLJQ&RXQWU\

   ,9        1$785(2)68,7(Place an “X” in One Box Only)
             &2175$&7                                              72576                                    )25)(,785(3(1$/7<                         %$1.5837&<                         27+(567$787(6
     ,QVXUDQFH                        3(5621$/,1-85<                  3(5621$/,1-85<                 'UXJ5HODWHG6HL]XUHRI           $SSHDO86&              )DOVH&ODLPV$FW
     0DULQH                                                                                                  3URSHUW\86&             :LWKGUDZDO86&                4XL7DP 86&
                                         $LUSODQH                     3HUVRQDO,QMXU\±3URGXFW
     0LOOHU$FW                                                           /LDELOLW\                     2WKHU                                                                   D 
                                         $LUSODQH3URGXFW/LDELOLW\
     1HJRWLDEOH,QVWUXPHQW                                            +HDOWK&DUH                             /$%25                         3523(57<5,*+76                   6WDWH5HDSSRUWLRQPHQW
                                         $VVDXOW/LEHO 6ODQGHU
     5HFRYHU\RI                                                          3KDUPDFHXWLFDO3HUVRQDO                                                                                    $QWLWUXVW
                                         )HGHUDO(PSOR\HUV¶                                              )DLU/DERU6WDQGDUGV$FW          &RS\ULJKWV
           2YHUSD\PHQW2I                                                     ,QMXU\3URGXFW/LDELOLW\                                                                                   %DQNVDQG%DQNLQJ
                                             /LDELOLW\                                                       /DERU0DQDJHPHQW                  3DWHQW
           9HWHUDQ¶V%HQHILWV                                             $VEHVWRV3HUVRQDO,QMXU\                                                                                   &RPPHUFH
                                         0DULQH                                                              5HODWLRQV                         3DWHQWņ$EEUHYLDWHG1HZ
     0HGLFDUH$FW                                                         3URGXFW/LDELOLW\
                                         0DULQH3URGXFW/LDELOLW\                                        5DLOZD\/DERU$FW                      'UXJ$SSOLFDWLRQ                'HSRUWDWLRQ
     5HFRYHU\RI'HIDXOWHG                                            3(5621$/3523(57<                                                                                              5DFNHWHHU,QIOXHQFHG 
                                         0RWRU9HKLFOH                                                   )DPLO\DQG0HGLFDO                7UDGHPDUN
           6WXGHQW/RDQV ([FOXGHV                                        2WKHU)UDXG                                                                                                    &RUUXSW2UJDQL]DWLRQV
                                         0RWRU9HKLFOH3URGXFW                                               /HDYH$FW                         'HIHQG7UDGH6HFUHWV
           9HWHUDQV                                                       7UXWKLQ/HQGLQJ
                                             /LDELOLW\                                                       2WKHU/DERU/LWLJDWLRQ               $FWRI                      &RQVXPHU&UHGLW
     5HFRYHU\RI                                                      2WKHU3HUVRQDO3URSHUW\
                                         2WKHU3HUVRQDO,QMXU\                                           (PSOR\HH5HWLUHPHQW                                                     7HOHSKRQH&RQVXPHU
           2YHUSD\PHQW                                                                                                                                62&,$/6(&85,7<
                                                                               'DPDJH                            ,QFRPH6HFXULW\$FW                                                         3URWHFWLRQ$FW
      RI9HWHUDQ¶V%HQHILWV           3HUVRQDO,QMXU\0HGLFDO                                                                               +,$ II 
                                             0DOSUDFWLFH                  3URSHUW\'DPDJH3URGXFW                                                                                    &DEOH6DW79
     6WRFNKROGHUV¶6XLWV                                                  /LDELOLW\                             ,00,*5$7,21                   %ODFN/XQJ                   6HFXULWLHV&RPPRGLWLHV
     2WKHU&RQWUDFW                                                                                      1DWXUDOL]DWLRQ                    ',:&',::  J                     ([FKDQJH
                                              &,9,/5,*+76                35,621(53(7,7,216
     &RQWUDFW3URGXFW/LDELOLW\                                                                              $SSOLFDWLRQ                       66,'7LWOH;9,
                                         2WKHU&LYLO5LJKWV                                                                                                                           2WKHU6WDWXWRU\$FWLRQV
                                                                              +$%($6&25386                  2WKHU,PPLJUDWLRQ
     )UDQFKLVH                                                                                                                                  56,  J                       $JULFXOWXUDO$FWV
                                         9RWLQJ                       $OLHQ'HWDLQHH                    $FWLRQV
            5($/3523(57<               (PSOR\PHQW                                                                                              )('(5$/7$;68,76                   (QYLURQPHQWDO0DWWHUV
                                                                           0RWLRQVWR9DFDWH
     /DQG&RQGHPQDWLRQ              +RXVLQJ                         6HQWHQFH                                                             7D[HV 863ODLQWLIIRU      )UHHGRPRI,QIRUPDWLRQ
                                             $FFRPPRGDWLRQV                                                                                            'HIHQGDQW                           $FW
     )RUHFORVXUH                                                      *HQHUDO
                                         $PHUZ'LVDELOLWLHV±                                                                                   ,56±7KLUG3DUW\86&           $UELWUDWLRQ
     5HQW/HDVH (MHFWPHQW                                           'HDWK3HQDOW\
                                             (PSOR\PHQW                                                                                                                            $GPLQLVWUDWLYH3URFHGXUH
     7RUWVWR/DQG                                                             27+(5
                                         $PHUZ'LVDELOLWLHV±2WKHU                                                                                                                       $FW5HYLHZRU$SSHDORI
     7RUW3URGXFW/LDELOLW\                                           0DQGDPXV 2WKHU                                                                                               $JHQF\'HFLVLRQ
     $OO2WKHU5HDO3URSHUW\        (GXFDWLRQ
                                                                           &LYLO5LJKWV                                                                                               &RQVWLWXWLRQDOLW\RI6WDWH
                                                                           3ULVRQ&RQGLWLRQ                                                                                               6WDWXWHV
                                                                           &LYLO'HWDLQHH±
                                                                               &RQGLWLRQVRI
                                                                               &RQILQHPHQW

   9         25,*,1(Place an “X” in One Box Only)
      2ULJLQDO                    5HPRYHGIURP                 5HPDQGHGIURP            5HLQVWDWHGRU           7UDQVIHUUHGIURP                    0XOWLGLVWULFW         0XOWLGLVWULFW
        3URFHHGLQJ                     6WDWH&RXUW                    $SSHOODWH&RXUW             5HRSHQHG                  $QRWKHU'LVWULFW(specify)             /LWLJDWLRQ±7UDQVIHU      /LWLJDWLRQ±'LUHFW)LOH


   9,        &$86(2) &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
              $&7,21   Freedom of Information Act 5 U.S.C. 552
                                 %ULHIGHVFULSWLRQRIFDXVH
                                 Action under the Freedom of Information Act for injunctive and other appropriate relief.
   9,,       5(48(67(',1                   &+(&.,)7+,6,6$&/$66$&7,21                       '(0$1'                                          &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
              &203/$,17                     81'(558/()HG5&LY3                                                                           -85<'(0$1'            <HV     1R

   9,,, 5(/$7('&$6( 6                                  -8'*(                                                       '2&.(7180%(5
         ,)$1<(See instructions):
   ,;        ',9,6,21$/$66,*10(17 &LYLO/RFDO5XOH
   3ODFHDQ³;´LQ2QH%R[2QO\   6$1)5$1&,6&22$./$1'                                                                         6$1-26(                              (85(.$0&.,1/(<9,//(

                                                                                                                                          /s/ Victoria Baranestsky
   '$7( 11/15/2022                                                                 ER-550
                                                          6,*1$785(2)$77251(<2)5(&25'

                      Print                               Save As...                                                                                                                           Reset
(17 of 109), Page 17 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 17 of 109
                         Case 3:22-cv-07182 Document 1-2 Filed 11/15/22 Page 1 of 4




                    Exhibit A



                                                        ER-551
(18 of 109), Page 18 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 18 of 109
     10/14/21, 3:39 PM   Case 3:22-cv-07182 Center
                                            Document           1-2 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 2 of 4
                                                                               - Fwd: Acknowledgment



                                                                                          Shawn Musgrave <smusgrave@revealnews.org>



       Fwd: Acknowledgment
       Will Evans <wevans@revealnews.org>                                                                          Thu, Oct 14, 2021 at 2:41 PM
       To: Shawn Musgrave <smusgrave@revealnews.org>



         ---------- Forwarded message ---------
         From: FOIARequests <FOIARequests@dol.gov>
         Date: Tue, Jan 15, 2019 at 2:35 PM
         Subject: Acknowledgment
         To: Will Evans <wevans@revealnews.org>
         Cc: Oliver, Ramona - SOL <Oliver.Ramona@dol.gov>, OFCCP NO FOIA <OFCCP_NO_FOIA@dol.gov>



         Hello:


         Your request has been assigned to OFCCP with tracking number 872421. When they begin processing it,
         you will be able to track its progress at www.dol.gov/foia. If you need to contact them about it for any reason,
         please submit your inquiry through ofccp_no_foia@dol.gov or phone 202-693-0101. In addition, it would be
         helpful to include the tracking number in the Subject line of any submission to the agency or to have it
         available at the time of a call.


         Sincerely,



         Arginia Karamoko
         Government Information Specialist, Office of Information Services
         Office of the Solicitor | Management & Administrative Legal Services
         U.S. DEPARTMENT OF LABOR
         200 Constitution Ave., N.W., N-2420 | Washington, DC 20210
         T: (202) 693-5531 | F: (202) 693-5389 | E: karamoko.arginia@dol.gov




         From: Will Evans <wevans@revealnews.org>
         Sent: Thursday, January 10, 2019 7:13 PM
         To: FOIARequests <FOIARequests@dol.gov>
         Cc: Victoria Baranetsky <vbaranetsky@revealnews.org>
         Subject: FOIA request - OFCCP


         Dear FOIA Officer,
                                                                                   ER-552
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1713632948030930298&simpl=msg-f%3A1713632948030930298   1/3
(19 of 109), Page 19 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 19 of 109
     10/14/21, 3:39 PM   Case 3:22-cv-07182 Center
                                            Document           1-2 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 3 of 4
                                                                               - Fwd: Acknowledgment
         Under the Freedom of Information Act, I am requesting a copy of the following records from OFCCP:



         * A spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal contractors for 2016.



         I am requesting this data in electronic format, by email.



         There is an exception to the notice requirements of 29 CFR 70.26 and Executive Order 12600 that applies here, as will be
         explained below. Notice to the contractors is not required.



         Under 29 CFR 70.2(G)(5) and Executive Order 12600 Sec.8(e), the notice requirements need not be followed if the
         information has not been designated by the submitter, unless OFCCP "has reason to believe that disclosure of the
         information would result in substantial competitive harm."



         Under 29 CFR 70.2(G)(6) and Executive Order 12600 Sec.8(f), the notice requirements need not be followed the
         designation made by the submitter "appears obviously frivolous."



         There is no substantial reason to believe that disclosure of the information would result in competitive harm, so the
         information should be released without notice for any contractor. Even if a contractor has designated it as confidential, that
         designation should be considered “obviously frivolous,” as OFCCP has already determined that Type 2 EEO-1 reports are not
         subject to Exemption 4 of the Freedom of Information Act. (see CIR v USDOL, Case No. 3:18-cv-2008 JCS)



         I am a representative of the news media as a reporter with Reveal from The Center for Investigative Reporting, a non-profit
         investigative journalism organization. This request is made as part of news gathering and not for a commercial use. I
         respectfully ask that you waive fees related to this request. Please notify me of any charges before fulfilling this request.

         Please contact me with any questions at 510-809-2209 or

         wevans@revealnews.org

         Thank you for your attention to this request.

         Sincerely,
         Will Evans
         Reveal / The Center for Investigative Reporting
         1400 65th, Suite 200
         Emeryville, CA 94608

         --

         Will Evans

         reporter

         o: 510-809-2209




                                                                                   ER-553
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1713632948030930298&simpl=msg-f%3A1713632948030930298   2/3
(20 of 109), Page 20 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 20 of 109
     10/14/21, 3:39 PM   Case 3:22-cv-07182 Center
                                            Document           1-2 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 4 of 4
                                                                               - Fwd: Acknowledgment
         www.revealnews.org



         --
         Will Evans
         reporter
         Reveal from The Center for Investigative Reporting
         office: 510-809-2209
         cell: 510-333-9584
         www.revealnews.org




                                                                                   ER-554
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1713632948030930298&simpl=msg-f%3A1713632948030930298   3/3
(21 of 109), Page 21 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 21 of 109
                         Case 3:22-cv-07182 Document 1-3 Filed 11/15/22 Page 1 of 4




                     Exhibit B



                                                        ER-555
(22 of 109), Page 22 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 22 of 109
     10/14/21, 3:38 PM   Case 3:22-cv-07182 Center
                                            Document           1-3 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 2 of 4
                                                                               - Fwd: Acknowledgment



                                                                                          Shawn Musgrave <smusgrave@revealnews.org>



       Fwd: Acknowledgment
       Will Evans <wevans@revealnews.org>                                                                          Thu, Oct 14, 2021 at 2:38 PM
       To: Shawn Musgrave <smusgrave@revealnews.org>



         ---------- Forwarded message ---------
         From: Karamoko, Arginia - SOL <Karamoko.Arginia@dol.gov>
         Date: Mon, Mar 25, 2019 at 1:32 PM
         Subject: Acknowledgment
         To: Will Evans <wevans@revealnews.org>
         Cc: Oliver, Ramona - SOL <Oliver.Ramona@dol.gov>, OFCCP NO FOIA <OFCCP_NO_FOIA@dol.gov>



         Hello:


         Your request has been assigned to OFCCP with tracking number 875877. When they begin processing it,
         you will be able to track its progress at www.dol.gov/foia. If you need to contact them about it for any reason,
         please submit your inquiry through ofccp_no_foia@dol.gov or phone 202-693-0101. In addition, it would be
         helpful to include the tracking number in the Subject line of any submission to the agency or to have it
         available at the time of a call.


         Sincerely,




         Arginia Karamoko
         Government Information Specialist, Office of Information Services
         Office of the Solicitor | Management & Administrative Legal Services
         U.S. DEPARTMENT OF LABOR
         200 Constitution Ave., N.W., N-2420 | Washington, DC 20210
         T: (202) 693-5531 | F: (202) 693-5389 | E: karamoko.arginia@dol.gov




         From: Will Evans <wevans@revealnews.org>
         Sent: Monday, March 25, 2019 1:57 PM
         To: FOIARequests <FOIARequests@dol.gov>
         Subject: FOIA request - OFCCP

                                                                                   ER-556
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1713632740839398891&simpl=msg-f%3A1713632740839398891   1/3
(23 of 109), Page 23 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 23 of 109
     10/14/21, 3:38 PM   Case 3:22-cv-07182 Center
                                            Document           1-3 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 3 of 4
                                                                               - Fwd: Acknowledgment



         Dear FOIA Officer,

         Under the Freedom of Information Act, I am requesting a copy of the following records from OFCCP:



         * A spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal contractors for 2017.



         I am requesting this data in electronic format, by email. Fulfilling this request is not unduly burdensome because there is no
         need to notify federal contractors.



         There is an exception to the notice requirements of 29 CFR 70.26 and Executive Order 12600 that applies here, as will be
         explained below. Notice to the contractors is not required.



         Under 29 CFR 70.2(G)(5) and Executive Order 12600 Sec.8(e), the notice requirements need not be followed if the
         information has not been designated by the submitter, unless OFCCP "has reason to believe that disclosure of the
         information would result in substantial competitive harm."



         Under 29 CFR 70.2(G)(6) and Executive Order 12600 Sec.8(f), the notice requirements need not be followed the
         designation made by the submitter "appears obviously frivolous."



         There is no substantial reason to believe that disclosure of the information would result in competitive harm, so the
         information should be released without notice for any contractor. Even if a contractor has designated it as confidential, that
         designation should be considered “obviously frivolous,” as OFCCP has already determined that Type 2 EEO-1 reports are not
         subject to Exemption 4 of the Freedom of Information Act. (see CIR v USDOL, Case No. 3:18-cv-2008 JCS)



         I am a representative of the news media as a reporter with Reveal from The Center for Investigative Reporting, a non-profit
         investigative journalism organization. This request is made as part of news gathering and not for a commercial use. I
         respectfully ask that you waive fees related to this request. Please notify me of any charges before fulfilling this request.

         Please contact me with any questions at 510-809-2209 or

         wevans@revealnews.org

         Thank you for your attention to this request.

         Sincerely,
         Will Evans
         Reveal / The Center for Investigative Reporting
         1400 65th, Suite 200
         Emeryville, CA 94608



         --

         Will Evans

         reporter

         o: 510-809-2209



                                                                                   ER-557
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1713632740839398891&simpl=msg-f%3A1713632740839398891   2/3
(24 of 109), Page 24 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 24 of 109
     10/14/21, 3:38 PM   Case 3:22-cv-07182 Center
                                            Document           1-3 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 4 of 4
                                                                               - Fwd: Acknowledgment




         www.revealnews.org



         --
         Will Evans
         reporter
         Reveal from The Center for Investigative Reporting
         office: 510-809-2209
         cell: 510-333-9584
         www.revealnews.org




                                                                                   ER-558
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1713632740839398891&simpl=msg-f%3A1713632740839398891   3/3
(25 of 109), Page 25 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 25 of 109
                         Case 3:22-cv-07182 Document 1-4 Filed 11/15/22 Page 1 of 3




                     Exhibit C



                                                        ER-559
(26 of 109), Page 26 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 26 of 109
                         Case 3:22-cv-07182 Document 1-4 Filed 11/15/22 Page 2 of 3




                                                        ER-560
(27 of 109), Page 27 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 27 of 109
                         Case 3:22-cv-07182 Document 1-4 Filed 11/15/22 Page 3 of 3




                                                        ER-561
(28 of 109), Page 28 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 28 of 109
                         Case 3:22-cv-07182 Document 1-5 Filed 11/15/22 Page 1 of 2




                    Exhibit D



                                                        ER-562
(29 of 109), Page 29 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 29 of 109
     11/10/22, 1:18 PM   Case 3:22-cv-07182 Center
                                            Document          1-5 Reporting
                                                   for Investigative Filed Mail
                                                                            11/15/22        Page
                                                                                - Fwd: re FOIA 8724212 of 2



                                                                                                          Dara Gray <dgray@revealnews.org>



       Fwd: re FOIA 872421
       1 message

       Will Evans <wevans@revealnews.org>                                                                            Wed, Nov 9, 2022 at 3:34 PM
       To: Dara Gray <dgray@revealnews.org>



         ---------- Forwarded message ---------
         From: Will Evans <wevans@revealnews.org>
         Date: Thu, Aug 8, 2019 at 1:10 PM
         Subject: re FOIA 872421
         To: Bruce Andersen - OFCCP <Andersen.Bruce@dol.gov>
         Cc: Victoria Baranetsky <vbaranetsky@revealnews.org>


         Dear FOIA Officer,
         This is in regards to your July 18, 2019 letter requesting that I narrow my original request because it would be unduly
         burdensome to notify all affected companies. The notification requirements, however, do not apply here because no
         exemption applies. The agency, in fact, has previously determined that no exemption applies and has released Type 2
         EEO-1 reports in response to previous FOIA requests. Because the agency does not need to notify any companies,
         providing a spreadsheet is not unduly burdensome, and there is no need to narrow the request.
         Thank you for your work on this request.
         Best,
         Will Evans
         --
         Will Evans
         reporter
         o: 510-809-2209




         www.revealnews.org


         --
         Will Evans
         reporter
         Reveal from The Center for Investigative Reporting
         cell: 510-333-9584
         www.revealnews.org

              OFCCP FOIA 872421.pdf
              478K




                                                                                    ER-563
     https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-f%3A1749063445642041378&simpl=msg-f%3A1749063445642041378   1/1
(30 of 109), Page 30 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 30 of 109
                         Case 3:22-cv-07182 Document 1-6 Filed 11/15/22 Page 1 of 6




                     Exhibit E



                                                        ER-564
(31 of 109), Page 31 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 31 of 109
     5/17/22, 10:24 AM   Case 3:22-cv-07182 Center
                                            Document           1-6 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 2 of 6
                                                                               - Fwd: Acknowledgment



                                                                                           Shawn Musgrave <smusgrave@revealnews.org>



       Fwd: Acknowledgment
       1 message

       Will Evans <wevans@revealnews.org>                                                                              Fri, Oct 15, 2021 at 6:51 PM
       To: Shawn Musgrave <smusgrave@revealnews.org>



         ---------- Forwarded message ---------
         From: Karamoko, Arginia - SOL <Karamoko.Arginia@dol.gov>
         Date: Fri, Sep 18, 2020 at 12:50 PM
         Subject: Acknowledgment
         To: Will Evans <wevans@revealnews.org>
         Cc: Oliver, Ramona - SOL <Oliver.Ramona@dol.gov>, OFCCP NO FOIA <OFCCP_NO_FOIA@dol.gov>



         Hello:


         Your request has been assigned to the Office of Federal Contract Compliance Programs (OFCCP) with
         tracking number 897123. When they begin processing it, you will be able to track its progress at
         www.dol.gov/foia. If you need to contact them about it for any reason, please submit your inquiry through
         ofccp_no_foia@dol.gov or phone 202-693-0101. In addition, it would be helpful to include the tracking
         number in the Subject line of any submission to the agency or to have it available at the time of a call.


         Sincerely,



         Arginia Karamoko
         Government Information Specialist, Office of Information Services
         Office of the Solicitor | Management & Administrative Legal Services
         U.S. DEPARTMENT OF LABOR
         200 Constitution Ave., N.W., N-2420 | Washington, DC 20210
         T: (202) 693-5531 | F: (202) 693-5389 | E: karamoko.arginia@dol.gov




         From: Will Evans <wevans@revealnews.org>
         Sent: Friday, September 11, 2020 8:26 PM
         To: FOIARequests <FOIARequests@dol.gov>
         Subject: FOIA request - OFCCP


         Dear FOIA Officer,
                                                                                     ER-565
     https://mail.google.com/mail/u/0/?ik=65e5ad97f2&view=pt&search=all&permthid=thread-f%3A1713731686330459024&simpl=msg-f%3A1713731686330459024   1/3
(32 of 109), Page 32 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 32 of 109
     5/17/22, 10:24 AM   Case 3:22-cv-07182 Center
                                            Document           1-6 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 3 of 6
                                                                               - Fwd: Acknowledgment
         Under the Freedom of Information Act, I am requesting a copy of the following records from OFCCP:



         * A spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal contractors for 2018.



         I am requesting this data in electronic format, by email. Fulfilling this request is not unduly burdensome because there is no
         need to notify federal contractors.



         There is an exception to the notice requirements of 29 CFR 70.26 and Executive Order 12600 that applies here, as will be
         explained below. Notice to the contractors is not required.



         Under 29 CFR 70.2(G)(5) and Executive Order 12600 Sec.8(e), the notice requirements need not be followed if the
         information has not been designated by the submitter, unless OFCCP "has reason to believe that disclosure of the
         information would result in substantial competitive harm."



         Under 29 CFR 70.2(G)(6) and Executive Order 12600 Sec.8(f), the notice requirements need not be followed the
         designation made by the submitter "appears obviously frivolous."



         There is no substantial reason to believe that disclosure of the information would result in competitive harm, so the
         information should be released without notice for any contractor. Even if a contractor has designated it as confidential, that
         designation should be considered “obviously frivolous,” as federal contractor EEO-1s have been determined to be
         public records that must be disclosed, not confidential commercial information. Please see the Dec. 10, 2019
         ruling by Judge Kandis Westmore in U.S. District Court for the Northern District of California, 4:19-cv-01843-KAW
         (attached).



         I am a representative of the news media as a reporter with Reveal from The Center for Investigative Reporting, a non-profit
         investigative journalism organization. This request is made as part of news gathering and not for a commercial use. I
         respectfully ask that you waive fees related to this request. Please notify me of any charges before fulfilling this request.

         Please contact me with any questions at 510-809-2209 or

         wevans@revealnews.org

         Thank you for your attention to this request.

         Sincerely,
         Will Evans
         Reveal / The Center for Investigative Reporting
         1400 65th, Suite 200
         Emeryville, CA 94608




         www.revealnews.org



                                                                                     ER-566
     https://mail.google.com/mail/u/0/?ik=65e5ad97f2&view=pt&search=all&permthid=thread-f%3A1713731686330459024&simpl=msg-f%3A1713731686330459024   2/3
(33 of 109), Page 33 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 33 of 109
     5/17/22, 10:24 AM   Case 3:22-cv-07182 Center
                                            Document           1-6 Reporting
                                                   for Investigative FiledMail
                                                                             11/15/22      Page 4 of 6
                                                                               - Fwd: Acknowledgment
         --
         Will Evans
         reporter
         Reveal from The Center for Investigative Reporting
         office: 510-809-2209
         cell: 510-333-9584
         www.revealnews.org




                                                                                     ER-567
     https://mail.google.com/mail/u/0/?ik=65e5ad97f2&view=pt&search=all&permthid=thread-f%3A1713731686330459024&simpl=msg-f%3A1713731686330459024   3/3
(34 of 109), Page 34 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 34 of 109
                         Case 3:22-cv-07182 Document 1-6 Filed 11/15/22 Page 5 of 6
            U.S. Department of Labor               Office of Federal Contract Compliance Programs
                                                   200 Constitution Avenue, N.W.
                                                   Washington, D.C. 20210




            October 2, 2020



            Via Electronic Mail

            Will Evans
            The Center for Investigative Reporting
            1400 65th Street, Suite 200
            Emeryville, CA 94608

            RE: Freedom of Information Act Request Acknowledgement – Tracking No. 897123

            Dear Mr. Evans:

            This letter is to acknowledge receipt of your Freedom of Information Act (FOIA) request
            submitted to foiarequest@dol.gov. The Office of the Solicitor assigned your request to the
            Office of Federal Contract Compliance Programs (OFCCP) on September 18, 2020. Please refer
            to the above-referenced FOIA tracking number in any future correspondence regarding your
            FOIA request.

            You requested a spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal
            contractors for 2018.

            We consider you to be a representative of the news media as defined by the U.S. Department of
            Labor FOIA regulations at 29 CFR § 70.40(c)(3), therefore, only reproduction costs will be
            assessed, excluding charges for the first 100 pages. You will receive written notification if the
            total estimated fee for processing your request exceeds $25.00.

            OFCCP’s National Office will process your request for EEO-1 data. Once we compile the data,
            we will send a letter to the submitters notifying them of the request for their EEO-1 data.

            In accordance with 29 CFR § 70.26 and Executive Order 12600, because your request covers
            information that may be protected from disclosure under FOIA Exemption 4, OFCCP is required
            to notify submitters that their information has been requested under the FOIA to give them an
            opportunity to object in writing to disclosure of any specified portion of the requested
            information. For those submitters who do not object, we will provide the information with any
            necessary redactions consistent with FOIA. For those submitters who do object, OFCCP will
            evaluate any response provided by the submitter as to why the requested information should be
            withheld and make its own determination as to whether the specific facts and relevant law
            warrant disclosure or withholding of the requested information.




                                                                    ER-568
(35 of 109), Page 35 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 35 of 109
                         Case 3:22-cv-07182 Document 1-6 Filed 11/15/22 Page 6 of 6




            Due to the volume and complexity of the FOIA requests we have received, we anticipate that
            providing a full response will take longer than 20 business days to fulfill. Accordingly, OFCCP
            will take an additional 10 business days to fulfill your request as afforded by the FOIA at 5
            U.S.C. § 552(a)(6)(B)(i). We will contact you if we are unable to fulfill your request in 30
            business days.

            We consider you a “news media” type of requestor. As a “news media” requestor, we charge
            you for photocopying after the first 100 pages in accordance with the U.S. Department of Labor
            FOIA regulations at 29 CFR § 70.40(c)(4). DOL’s FOIA regulations at 29 CFR § 70.42(a) deem
            that the filing of a FOIA constitutes an agreement by the requester to pay all fees up to $25.00.

            If you need further assistance or would like to discuss any aspect of your request, please do not
            hesitate to contact this office at (202) 693-0101 or by email at OFCCP_NO_FOIA@dol.gov.
            Alternatively, you may wish to contact the DOL FOIA Public Liaison, Thomas Hicks, at (202)
            693-5427 or by email at hicks.thomas@dol.gov.

            You may also contact the Office of Government Information Services (OGIS), within the
            National Archives and Records Administration (NARA), to inquire about the mediation services
            they offer. The contact information for OGIS is as follows: Office of Government Information
            Services, National Archives and Records Administration, 8601 Adelphi Road, College Park, MD
            20740-6001. You can also reach that office by email at ogis@nara.gov, by phone at (202)
            741-5770, by fax at (202) 741-5769, or by calling toll-free at (877) 684-6448.

            If you are not satisfied with the response to this request, you may administratively appeal by
            writing to the Solicitor of Labor within 90 days from the date of this letter. In the appeal, you
            must state in writing the grounds for the appeal, and may include any supporting statements or
            arguments, but such statements are not required. To facilitate processing of the appeal, please
            include your mailing address and daytime telephone number, as well as a copy of the initial
            request and copy of this letter. Clearly mark “Freedom of Information Act Appeal” on the
            envelope and letter of the appeal. You must make any amendment to the appeal in writing and
            we must receive it prior to a decision. Address the appeal to the Solicitor of Labor, Division of
            Management and Administrative Legal Services, U.S. Department of Labor, 200 Constitution
            Avenue, NW, Room N2420, Washington, DC 20210. You may submit your appeal by email to
            foiaappeal@dol.gov. The Department does not accept appeals submitted to any other email
            address.

            Sincerely,



            Doris Lissette Geán
            FOIA Manager




                                                             2

                                                                  ER-569
(36 of 109), Page 36 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 36 of 109
                         Case 3:22-cv-07182 Document 1-7 Filed 11/15/22 Page 1 of 3




                      Exhibit F



                                                        ER-570
(37 of 109), Page 37 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 37 of 109
                         Case 3:22-cv-07182 Document 1-7 Filed 11/15/22 Page 2 of 3
            U.S. Department of Labor               Office of Federal Contract Compliance Programs
                                                   200 Constitution Avenue, N.W.
                                                   Washington, D.C. 20210




            October 2, 2020



            Via Electronic Mail

            Will Evans
            The Center for Investigative Reporting
            1400 65th Street, Suite 200
            Emeryville, CA 94608

            RE: Freedom of Information Act Request Acknowledgement – Tracking No. 897123

            Dear Mr. Evans:

            This letter is to acknowledge receipt of your Freedom of Information Act (FOIA) request
            submitted to foiarequest@dol.gov. The Office of the Solicitor assigned your request to the
            Office of Federal Contract Compliance Programs (OFCCP) on September 18, 2020. Please refer
            to the above-referenced FOIA tracking number in any future correspondence regarding your
            FOIA request.

            You requested a spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal
            contractors for 2018.

            We consider you to be a representative of the news media as defined by the U.S. Department of
            Labor FOIA regulations at 29 CFR § 70.40(c)(3), therefore, only reproduction costs will be
            assessed, excluding charges for the first 100 pages. You will receive written notification if the
            total estimated fee for processing your request exceeds $25.00.

            OFCCP’s National Office will process your request for EEO-1 data. Once we compile the data,
            we will send a letter to the submitters notifying them of the request for their EEO-1 data.

            In accordance with 29 CFR § 70.26 and Executive Order 12600, because your request covers
            information that may be protected from disclosure under FOIA Exemption 4, OFCCP is required
            to notify submitters that their information has been requested under the FOIA to give them an
            opportunity to object in writing to disclosure of any specified portion of the requested
            information. For those submitters who do not object, we will provide the information with any
            necessary redactions consistent with FOIA. For those submitters who do object, OFCCP will
            evaluate any response provided by the submitter as to why the requested information should be
            withheld and make its own determination as to whether the specific facts and relevant law
            warrant disclosure or withholding of the requested information.




                                                                    ER-571
(38 of 109), Page 38 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 38 of 109
                         Case 3:22-cv-07182 Document 1-7 Filed 11/15/22 Page 3 of 3




            Due to the volume and complexity of the FOIA requests XFIBWFSFDFJWFE, we anticipate that
            providing a full response will take longer than 20 business days to fulfill. Accordingly, OFCCP
            will take an additional 10 business days to fulfill your request as afforded by the FOIA at 5
            U.S.C. § 552(a)(6)(B)(i). We will contact you if we are unable to fulfill your request in 30
            business days.

            We consider you a “news media” type of requestor. As a “news media” requestor, we charge
            you for photocopying after the first 100 pages in accordance with the U.S. Department of Labor
            FOIA regulations at 29 CFR § 70.40(c)(4). DOL’s FOIA regulations at 29 CFR § 70.42(a) deem
            that the filing of a FOIA constitutes an agreement by the requester to pay all fees up to $25.00.

            If you need further assistance or would like to discuss any aspect of your request, please do not
            hesitate to contact this office at (202) 693-0101 or by email at OFCCP_NO_FOIA@dol.gov.
            Alternatively, you may wish to contact the DOL FOIA Public Liaison, Thomas Hicks, at (202)
            693-5427 or by email at hicks.thomas@dol.gov.

            You may also contact the Office of Government Information Services (OGIS), within the
            National Archives and Records Administration (NARA), to inquire about the mediation services
            they offer. The contact information for OGIS is as follows: Office of Government Information
            Services, National Archives and Records Administration, 8601 Adelphi Road, College Park, MD
            20740-6001. You can also reach that office by email at ogis@nara.gov, by phone at (202)
            741-5770, by fax at (202) 741-5769, or by calling toll-free at (877) 684-6448.

            If you are not satisfied with the response to this request, you may administratively appeal by
            writing to the Solicitor of Labor within 90 days from the date of this letter. In the appeal, you
            must state in writing the grounds for the appeal, and may include any supporting statements or
            arguments, but such statements are not required. To facilitate processing of the appeal, please
            include your mailing address and daytime telephone number, as well as a copy of the initial
            request and copy of this letter. Clearly mark “Freedom of Information Act Appeal” on the
            envelope and letter of the appeal. You must make any amendment to the appeal in writing and
            we must receive it prior to a decision. Address the appeal to the Solicitor of Labor, Division of
            Management and Administrative Legal Services, U.S. Department of Labor, 200 Constitution
            Avenue, NW, Room N2420, Washington, DC 20210. You may submit your appeal by email to
            foiaappeal@dol.gov. The Department does not accept appeals submitted to any other email
            address.

            Sincerely,



            Doris Lissette Geán
            FOIA Manager




                                                             2

                                                                  ER-572
(39 of 109), Page 39 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 39 of 109
                         Case 3:22-cv-07182 Document 1-8 Filed 11/15/22 Page 1 of 5




                    Exhibit G



                                                        ER-573
(40 of 109), Page 40 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 40 of 109
     11/15/22, 3:56 PM   Case  3:22-cv-07182
                           Center                          Document
                                  for Investigative Reporting               1-8 ofFiled
                                                              Mail - Fwd: Freedom        11/15/22
                                                                                  Information             Page 2 of 5– Tracking No. 897123
                                                                                              Act Request Acknowledgement



                                                                                                          Dara Gray <dgray@revealnews.org>



        Fwd: Freedom of Information Act Request Acknowledgement – Tracking No. 897123
        Dara Gray <dgray@revealnews.org>                                                                            Tue, Nov 15, 2022 at 3:55 PM
        To: Dara Gray <dgray@revealnews.org>



          ---------- Forwarded message ---------
          From: Alexandra Gutierrez <agutierrez@revealnews.org>
          Date: Fri, Dec 11, 2020 at 4:41 PM
          Subject: Re: Freedom of Information Act Request Acknowledgement – Tracking No. 897123
          To: OFCCP NO FOIA <OFCCP_NO_FOIA@dol.gov>
          Cc: Victoria Baranetsky <vbaranetsky@revealnews.org>, Will Evans <wevans@revealnews.org>, Hicks, Thomas - SOL
          <Hicks.Thomas@dol.gov>



            VIA EMAIL

             Doris Lissette Geán
             FOIA Manager
             Department of Labor
             200 Constitution Avenue, N.W.
             Washington, D.C. 20210
             OFCCP_NO_FOIA@dol.gov


          Re: Freedom of Information Act Request Acknowledgement – Tracking No. 897123

          Dear Ms. Geán:

                  We are following up on your e-mail correspondence dated November 7, 2020, and we write seeking
          an update as to the status of FOIA Request No. 897123. We would also like to remind the Department that
          Judge Westmore’s opinion remains in effect, see Ctr. for Investigative Reporting v. U.S. Dep't of Labor, 424
          F. Supp. 3d 771 (N.D. Cal. 2019), as a stay was granted only as to Synopsys’s records, see Ctr. for
          Investigative Reporting v. U.S. Dep’t of Labor, No. 4:19-CV-01843-KAW, ECF No. 79 (July 20, 2020).
          Unless and “until its decision is reversed for error by orderly review, either by itself or by a higher court, its
          orders based on its decision are to be respected.” United States v. Mine Workers, 330 U.S. 258, 294 (1947)
          (citation omitted).

                  Again, thank you for your assistance for this matter. We look forward to the expeditious fulfillment
          of the request and to the avoidance of unnecessary litigation.

          Sincerely,


          Alexandra M. Gutierrez

          cc:      D. Victoria Baranetsky, General Counsel, Center for Investigative Reporting
                   Will Evans, Report, Center for Investigative Reporting
                   Thomas Hicks, DOL FOIA Public Liaison

                                                                                    ER-574
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permmsgid=msg-a%3Ar-1263056037418785384&dsqt=1&simpl=msg-a%3Ar-126305603…   1/4
(41 of 109), Page 41 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 41 of 109
     11/15/22, 3:56 PM   Case  3:22-cv-07182
                           Center                          Document
                                  for Investigative Reporting               1-8 ofFiled
                                                              Mail - Fwd: Freedom        11/15/22
                                                                                  Information             Page 3 of 5– Tracking No. 897123
                                                                                              Act Request Acknowledgement

          enc: PDF copy

          On Sat, Nov 7, 2020 at 1:50 PM OFCCP NO FOIA <OFCCP_NO_FOIA@dol.gov> wrote:

             Good afternoon Ms. Gutierrez,



             We acknowledge receipt of your email/letter. We are reviewing it and will get back to them shortly.



             Thank you,



             D. Lissette Geán

             FOIA Manager

             Office of Federal Contract Compliance Programs




             From: Alexandra Gutierrez <agutierrez@revealnews.org>
             Sent: Friday, October 30, 2020 8:56 PM
             To: OFCCP NO FOIA <OFCCP_NO_FOIA@DOL.GOV>
             Cc: Victoria Baranetsky <vbaranetsky@revealnews.org>; Will Evans <wevans@revealnews.org>; Hicks,
             Thomas - SOL <Hicks.Thomas@dol.gov>
             Subject: Re: Freedom of Information Act Request Acknowledgement – Tracking No. 897123




                CAUTION - The sender of this message is external to the DOL network. Please use care when clicking on links and
                responding with sensitive information. Send suspicious email to spam@dol.gov.




              VIA EMAIL




                Doris Lissette Geán

                FOIA Manager

                Department of Labor

                200 Constitution Avenue, N.W.

                Washington, D.C. 20210

                OFCCP_NO_FOIA@dol.gov




             Re: Freedom of Information Act Request Acknowledgement – Tracking No. 897123

             Dear Ms. Geán:


                                                                                    ER-575
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permmsgid=msg-a%3Ar-1263056037418785384&dsqt=1&simpl=msg-a%3Ar-126305603…   2/4
(42 of 109), Page 42 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 42 of 109
     11/15/22, 3:56 PM   Case  3:22-cv-07182
                           Center                          Document
                                  for Investigative Reporting               1-8 ofFiled
                                                              Mail - Fwd: Freedom        11/15/22
                                                                                  Information             Page 4 of 5– Tracking No. 897123
                                                                                              Act Request Acknowledgement
                     We received your letter dated October 2, 2020, acknowledging FOIA Request No. 897123 made by Center for
             Investigative Reporting (“CIR”) reporter Will Evans. That request seeks a spreadsheet of all consolidated (Type 2)
             EEO-1 reports for all federal contractors for 2018, and it is a follow-on request to FOIA Request No. 875877 (seeking
             same for 2017) and 872421 (same for 2016).



                      CIR understands that the Department of Labor intends to act in contravention of a federal court decision and
             grant EEO-1 submitters the opportunity to object in writing to disclosure of information pertaining to them. CIR would
             like to remind DOL that, just last year, Judge Westmore addressed CIR’s request for 2016 EEO-1 report data and
             concluded that the “Government was not justified in applying Exemption 4” to this information, requiring the EEO-1
             reports to “be produced unredacted.” Ctr. for Investigative Reporting v. U.S. Dep't of Labor, 424 F. Supp. 3d 771, 779
             (N.D. Cal. 2019).



                       The Government chose not to appeal this still-binding ruling. See Ctr. for Investigative Reporting v. U.S. Dep’t
             of Labor, No. 4:19-CV-01843-KAW, 2020 WL 554001, at *1 (N.D. Cal. Feb. 4, 2020) (noting DOL’s decision “that it
             would not be appealing the December 10, 2019 order”). Moreover, all but one of the relevant EEO-1 submitters
             decided against intervention. Although the District Court has permitted a single third party, Synopsys, Inc., to intervene
             for the limited purpose of appealing the December 10, 2019 order, see Ctr. for Investigative Reporting v. U.S. Dep’t of
             Labor, No. 4:19-CV-01843-KAW, ECF No. 79 (July 20, 2020), the Government has indeed noticed an intention to cross-
             appeal and oppose that intervention, see id., ECF No. 93 (Sept. 18, 2020). The December 10, 2019 order generally
             remains in effect, as the parties, including the Government, stipulated that it would only be stayed as to the “disclosure
             of the requested Synopsys information.” Id., ECF No. 87, ¶ 2 (July 28, 2020).



                       Given the continuing force of the December 10, 2019 order and the Government’s current position on this
             litigation, CIR is perplexed by DOL’s current plan of action as to FOIA Request No. 897123. We hope this clarifies any
             existing misunderstanding and allows us to avoid needless, repetitive litigation. We thank you in advance for your
             fulfillment of this request.




             Sincerely,



             Alexandra M. Gutierrez



             cc:     D. Victoria Baranetsky, General Counsel, Center for Investigative Reporting
                     Will Evans, Report, Center for Investigative Reporting
                     Thomas Hicks, DOL FOIA Public Liaison

             enc: PDF copy




          --
          Dara Gray
          First Amendment Fellow
          c: (404) 395-2356




                                                                                    ER-576
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permmsgid=msg-a%3Ar-1263056037418785384&dsqt=1&simpl=msg-a%3Ar-126305603…   3/4
(43 of 109), Page 43 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 43 of 109
     11/15/22, 3:56 PM   Case  3:22-cv-07182
                           Center                          Document
                                  for Investigative Reporting               1-8 ofFiled
                                                              Mail - Fwd: Freedom        11/15/22
                                                                                  Information             Page 5 of 5– Tracking No. 897123
                                                                                              Act Request Acknowledgement




               FOIAReq897123_Dec112020Letter.pdf
               414K




                                                                                    ER-577
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permmsgid=msg-a%3Ar-1263056037418785384&dsqt=1&simpl=msg-a%3Ar-126305603…   4/4
(44 of 109), Page 44 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 44 of 109
                         Case 3:22-cv-07182 Document 1-9 Filed 11/15/22 Page 1 of 4




                    Exhibit H



                                                        ER-578
(45 of 109), Page 45 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 45 of 109
     10/14/21, 11:32 AM  CaseCenter
                              3:22-cv-07182              Document
                                    for Investigative Reporting Mail - Fwd:1-9
                                                                           FreedomFiled    11/15/22
                                                                                   of Information         Page
                                                                                                  Act Requests      2 ofNos.
                                                                                                               – Tracking 4 872421 and 897123


                                                                                           Shawn Musgrave <smusgrave@revealnews.org>



        Fwd: Freedom of Information Act Requests – Tracking Nos. 872421 and 897123
        Will Evans <wevans@revealnews.org>                                                                        Thu, Sep 30, 2021 at 10:30 PM
        To: Shawn Musgrave <smusgrave@revealnews.org>



           ---------- Forwarded message ---------
           From: Alexandra Gutierrez <agutierrez@revealnews.org>
           Date: Thu, Jan 7, 2021 at 9:13 AM
           Subject: Re: Freedom of Information Act Requests – Tracking Nos. 872421 and 897123
           To: Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
           Cc: Victoria Baranetsky <vbaranetsky@revealnews.org>, Will Evans <wevans@revealnews.org>, Hicks, Thomas - SOL
           <hicks.thomas@dol.gov>


           VIA E-MAIL

              Doris Lissette Geán
              FOIA Manager
              Department of Labor
              200 Constitution Avenue, N.W.
              Washington, D.C. 20210
              OFCCP_NO_FOIA@dol.gov


           Re: Freedom of Information Act Request Acknowledgement – Tracking No. 897123



           Dear Ms. Geán,

           We are following up on your December 18, 2020 e-mail. While we are considering are options as
           to the Department of Labor's current position as to our reporter's request, we seek answers to the
           following questions:

                  1. When did the Department provide E.O. 12600 notices to submitters?
                  2. Have any submitters responded, either objecting or consenting?
                  3. For those submitters who have consented or have waived their opportunity to object due
                  to the passage of a reasonable amount of time, would the Department be able to provide
                  their submitted reports on a rolling basis.

           We appreciate your attention to these inquiries.

           Sincerely,


                                                                                    ER-579
      https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1712394047104629090&simpl=msg-f%3A1712394047104629090   1/3
(46 of 109), Page 46 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 46 of 109
     10/14/21, 11:32 AM  CaseCenter
                              3:22-cv-07182              Document
                                    for Investigative Reporting Mail - Fwd:1-9
                                                                           FreedomFiled    11/15/22
                                                                                   of Information         Page
                                                                                                  Act Requests      3 ofNos.
                                                                                                               – Tracking 4 872421 and 897123
           Alexandra M. Gutierrez



           cc:       D. Victoria Baranetsky, General Counsel, Center for Investigative Reporting
                     Will Evans, Reporter, Center for Investigative Reporting
                     Thomas Hicks, DOL FOIA Public Liaison

           On Fri, Dec 18, 2020 at 9:32 AM Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov> wrote:
             Via Electronic Mail

             Dear Ms. Gutierrez:

             We have received your December 11, 2020, e-mail inquiring about outstanding FOIA requests that,
             combined, seek two years (2016 and 2018) of EEO-1 consolidated (Type 2) reports for all federal
             contractors.

             As you are aware, we have complied with the district court’s order and released the 2016 reports of the
             individual submitters who have not appealed the court’s decision in the matter of Ctr. for Investigative
             Reporting v. U.S. Dep't of Labor, 424 F. Supp. 3d 771, 779 (N.D. Cal. 2019). Your outstanding FOIA
             requests seek the EEO-1, Type 2 reports of well over 15,000, and possibly over 20,000 submitters from
             countless industries whose reports are not subject to that court order.

             We continue to be subject to Executive Order 12600 and are obligated to notify submitters of requests for
             their potentially confidential commercial information. See 29 C.F.R. § 70.26. Under Executive Order
             12600, we must afford submitters a reasonable period of time to object to the disclosure of any portion of
             the information and to state all grounds upon which disclosure is opposed. The submitters that are the
             subject of your request have not had the opportunity to demonstrate whether their EEO-1, Type 2 reports
             contain confidential commercial information. Moreover, while we do not believe that the Northern
             California’s District Court’s decision in Center for Investigative Reporting has precedential effect on all
             EEO-1, Type 2 reports, we note that this matter is currently on appeal before the U.S. Court of Appeals for
             the Ninth Circuit and there is still a chance that the district court’s holding may be overturned.


             Sincerely,




             D. Lissette Geán
             FOIA Manager

           --
           Alexandra M. Gutierrez
           First Amendment Fellow
           (c) 907-209-1799




                                                                                    ER-580
      https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1712394047104629090&simpl=msg-f%3A1712394047104629090   2/3
(47 of 109), Page 47 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 47 of 109
     10/14/21, 11:32 AM  CaseCenter
                              3:22-cv-07182              Document
                                    for Investigative Reporting Mail - Fwd:1-9
                                                                           FreedomFiled    11/15/22
                                                                                   of Information         Page
                                                                                                  Act Requests      4 ofNos.
                                                                                                               – Tracking 4 872421 and 897123


           --
           Will Evans
           reporter
           Reveal from The Center for Investigative Reporting
           office: 510-809-2209
           cell: 510-333-9584
           www.revealnews.org




                                                                                    ER-581
      https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1712394047104629090&simpl=msg-f%3A1712394047104629090   3/3
(48 of 109), Page 48 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 48 of 109
                        Case 3:22-cv-07182 Document 1-10 Filed 11/15/22 Page 1 of 3




                       Exhibit I



                                                        ER-582
(49 of 109), Page 49 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 49 of 109
     10/14/21, 11:29 AM Case 3:22-cv-07182 Document           1-10Reporting
                                            Center for Investigative FiledMail
                                                                            11/15/22        Page
                                                                               - Fwd: amendment      2 of 3
                                                                                                request



                                                                                          Shawn Musgrave <smusgrave@revealnews.org>



       Fwd: amendment request
       Will Evans <wevans@revealnews.org>                                                                        Thu, Sep 30, 2021 at 10:28 PM
       To: Shawn Musgrave <smusgrave@revealnews.org>



         ---------- Forwarded message ---------
         From: OFCCP NO FOIA <OFCCP_NO_FOIA@dol.gov>
         Date: Tue, May 11, 2021 at 9:05 AM
         Subject: RE: amendment request
         To: Will Evans <wevans@revealnews.org>



         Dear Mr. Evans,



         We have modified request 872421 to include a spreadsheet of the consolidated (Type 2) EEO-1 reports for all federal
         contractors for the years 2016 through 2018.



         We will administratively close request 897123.



         Cordially,



         Bruce Andersen

         The OFCCP FOIA Team




         From: Will Evans <wevans@revealnews.org>
         Sent: Monday, May 10, 2021 1:02 PM
         To: OFCCP NO FOIA <OFCCP_NO_FOIA@DOL.GOV>
         Subject: amendment request




             CAUTION - The sender of this message is external to the DOL network. Please use care when clicking on links and responding
             with sensitive information. Send suspicious email to spam@dol.gov.




         Dear FOIA Officer,



         I would like to amend my FOIA request #872421 to include a spreadsheet of all consolidated (Type 2) EEO-1 reports for
         all federal contractors for 2017 and 2018 as well as 2016.


                                                                                   ER-583
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1712393912265714166&simpl=msg-f%3A1712393912265714166   1/2
(50 of 109), Page 50 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 50 of 109
     10/14/21, 11:29 AM Case 3:22-cv-07182 Document           1-10Reporting
                                            Center for Investigative FiledMail
                                                                            11/15/22        Page
                                                                               - Fwd: amendment      3 of 3
                                                                                                request
         If you agree to this amendment, I will withdraw my separate FOIA #897123 for the 2018 data.



         Please let me know.
         Thank you very much.
         Best,

         Will Evans
         --

         Will Evans

         reporter

         office: 510-809-2209

         cell: 510-333-9584




         www.revealnews.org



         --
         Will Evans
         reporter
         Reveal from The Center for Investigative Reporting
         office: 510-809-2209
         cell: 510-333-9584
         www.revealnews.org




                                                                                   ER-584
     https://mail.google.com/mail/u/0?ik=65e5ad97f2&view=pt&search=all&permmsgid=msg-f%3A1712393912265714166&simpl=msg-f%3A1712393912265714166   2/2
(51 of 109), Page 51 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 51 of 109
                        Case 3:22-cv-07182 Document 1-11 Filed 11/15/22 Page 1 of 3




                       Exhibit J



                                                        ER-585
(52 of 109), Page 52 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 52 of 109
     11/10/22, 12:49 PM Case 3:22-cv-07182Center
                                             Document            1-11
                                                 for Investigative         Filed
                                                                   Reporting        11/15/22
                                                                             Mail - Fwd:           Page
                                                                                         FOIA 872421       2 of 3
                                                                                                     - Amendment



                                                                                                           Dara Gray <dgray@revealnews.org>



       Fwd: FOIA 872421 - Amendment
       1 message

       Will Evans <wevans@revealnews.org>                                                                             Wed, Nov 9, 2022 at 2:01 PM
       To: Dara Gray <dgray@revealnews.org>



          ---------- Forwarded message ---------
          From: Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
          Date: Fri, Jun 3, 2022 at 10:52 AM
          Subject: RE: FOIA 872421 - Amendment
          To: <wevans@revealnews.org>
          Cc: <vbaranetsky@revealnews.org>



          Dear Mr. Evans,

          We have received your latest email. We will modify request 872421 to include both the 2019 and 2020 data. Your request
          is now for the consolidated (Type 2) EEO-1 reports for all federal contractors for the years 2016 through 2020.

          Cordially,

          Bruce Andersen

          The OFCCP FOIA Team



          From: Will Evans wevans@revealnews.org
          Sent: Thursday, June 2, 2022 4:45 PM
          To: FOIARequests FOIARequests@dol.gov
          Cc: OFCCP NO FOIA OFCCP_NO_FOIA@DOL.GOV
          Subject: FOIA request- OFCCP


              CAUTION - The sender of this message is external to the DOL network. Please use care when clicking on links and responding
              with sensitive information. Send suspicious email to spam@dol.gov.

          Dear FOIA Officer,

          Under the Freedom of Information Act, I am requesting a copy of the following records from OFCCP:




          * A spreadsheet of all consolidated (Type 2) EEO-1 reports for all federal contractors for 2019 and 2020.




          I am requesting this data in electronic format, by email.

          I am a representative of the news media as a reporter with Reveal from The Center for Investigative Reporting, a non-profit
          investigative journalism organization. This request is made as part of news gathering and not for a commercial use. I
          respectfully ask that you waive fees related to this request. Please notify me of any charges before fulfilling this request.

          Please contact me with any questions at 510-809-2209 or
                                                                                     ER-586
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-f%3A1749057603477018077&simpl=msg-f%3A1749057603477018077   1/2
(53 of 109), Page 53 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 53 of 109
     11/10/22, 12:49 PM Case 3:22-cv-07182Center
                                             Document            1-11
                                                 for Investigative         Filed
                                                                   Reporting        11/15/22
                                                                             Mail - Fwd:           Page
                                                                                         FOIA 872421       3 of 3
                                                                                                     - Amendment
          wevans@revealnews.org

          Thank you for your attention to this request.

          Sincerely,
          Will Evans
          Reveal / The Center for Investigative Reporting

          PO Box 8307

          Emeryville, CA 94608

          --

          Will Evans

          reporter

          Reveal from The Center for Investigative Reporting

          cell: 510-333-9584

          www.revealnews.org



          --
          Will Evans
          reporter
          Reveal from The Center for Investigative Reporting
          cell: 510-333-9584
          www.revealnews.org




                                                                                     ER-587
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-f%3A1749057603477018077&simpl=msg-f%3A1749057603477018077   2/2
(54 of 109), Page 54 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 54 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 1 of 32




                    Exhibit K



                                                       ER-588
(55 of 109), Page 55 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 55 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 2 of 32




            Secretary of Labor Martin J. Walsh
            Office of the Secretary of Labor
            200 Constitution Ave, NW
            Room C-2318
            Washington, DC 20210

            Solicitor of Labor Seema Nanda
            Office of the Solicitor of Labor
            200 Constitution Ave, NW
            Washington, DC 20210

            Director Jenny R. Yang
            Office of Federal Contract Compliance Programs
            200 Constitution Ave, NW
            Room C–3325
            Washington, DC 20210


            May 23, 2022


            VIA ELECTRONIC DELIVERY


            Re: FOIA Request No. 872421 and DOL’s Wrongful Withholding of EEO-1 Type 2 Forms
            That Should be Released and Published Prospectively


            To Whom It May Concern:

                    The Center for Investigative Reporting (“CIR”) writes to object to the agency’s
            withholding of records requested under the Freedom of Information Act (“FOIA”) by our
            reporter, Mr. Will Evans. Mr. Evans’s FOIA request, which has been pending for more than
            three years, seeks disclosure of aggregate workforce diversity data submitted by federal
            contractors to the Department of Labor (“DOL”)’s Office of Federal Contract Compliance
            Programs (“OFCCP”). This withholding is in contravention of legal authority.

                    According to OFCCP, the agency’s extensive delay in responding to this request is due to
            its need to consult with thousands of federal contractors to ascertain whether they object to




                                                                ER-589
(56 of 109), Page 56 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 56 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 3 of 32




            disclosure of their diversity data. It is unclear whether OCFPP has attempted to initiate that
            process. Nevertheless, CIR disputes that such consultation is appropriate or necessary in the first
            instance. The agency’s withholding is in direct contravention of law in light of recent court
            decisions, including a federal district court ordering disclosure of diversity data, an opinion
            which the DOL did not appeal and which the U.S. Ninth Circuit Court of Appeals left
            undisturbed, as discussed below. These records should be disclosed immediately. Regardless,
            even if the agency wanted to formalize this disclosure process moving forward, by proactively
            publishing these records on its website, it could provide a broad notice to companies, instead of
            reaching out to federal contractors individually. According to agency rules, DOL has the
            authority to expedite its consultation process by publishing notices in the Federal Register.

                    In light of its obligations under FOIA, CIR demands DOL disclose the requested records
            and prospectively publish these records online. If DOL fails to act and continues to withhold
            these records, CIR will be required to file suit under FOIA, yet a third time.

            I.     Background on EEO-1 Reports

                    Since 1966, certain federal contractors have been required to submit workforce
            demographic data to the U.S. Equal Opportunity Commission on an annual basis.1 OFCCP uses
            these diversity reports, the EEO-1 Consolidated Reports (Type 2) (“EEO-1 Type 2 reports”) to
            evaluate contractors’ compliance with anti-discrimination laws, particularly Executive Order
            11246.2 For decades, momentum has been growing to make the diversity data in EEO-1 Type 2
            reports accessible and keep federal contractors accountable to the public. As far back as 1974,
            courts have required EEO-1 Type 2 reports to be disclosed under FOIA.3 Many companies now
            post their reports online as part of their own social responsibility commitments.4 Members of




            1
              See 41 C.F.R. § 60-1.7(a).
            2
              See 30 Fed. Reg. 12,319 (Sept. 28, 1965).
            3
              As OFCCP explains on its website, “[C]ourts have ruled that the Title VII prohibition against
            disclosure does not apply to OFCCP’s collection of EEO-1 data.” OFCCP, Freedom of
            Information Act (FOIA) Frequently Asked Questions, https://www.dol.gov/agencies/ofccp/
            faqs/foia (citing Sears Roebuck & Co. v. Gen. Servs. Admin., 509 F.2d 527, 529 (D.C. Cir. 1974)
            as one such ruling).
            4
              For example, Intel proactively began posting diversity reports online in 2008. Intel, Workforce
            Demographics, 2008, http://web.archive.org/web/20081224004419/http:/www.intel.com/intel/
            diversity/divpractice.htm. Google began posting its diversity data in 2014 after a similar FOIA
            lawsuit, and Microsoft followed suit in 2015. Murrey Jacobson, Google finally discloses its
            diversity record, and it’s not good, PBS NEWSHOUR, May 28, 2014, https://www.pbs.org/
            newshour/nation/google-discloses-workforce-diversity-data-good; Laura Lorenzetti, Microsoft
            releases diversity stats: How the tech giant sizes up, FORTUNE, Jan. 5, 2015, https://fortune.com/
            2015/01/05/microsoft-eeo-1-diversity-tech.
                                                                                                             2



                                                                  ER-590
(57 of 109), Page 57 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 57 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 4 of 32




            Congress5 and legislative commissions,6 civil rights activists,7 and scholars have been calling for
            this data to be more accessible, including in response to CIR’s reporting. In March 2019, after
            CIR sued DOL for diversity data the first time, Representative Emanuel Cleaver II wrote to the
            DOL stating this data should not be withheld under Exemption 4, as EEO-1 reports “enumerate
            the diversity of firms accepting the taxpayer money.”8

                    As part of his reporting for CIR over the last decade, Mr. Evans has submitted numerous
            FOIA requests to OFCCP for EEO-1 Type 2 reports and data. In addition to the FOIA request
            addressed herein, Mr. Evans has previously requested EEO-1 Type 2 reports regarding specific
            companies and CIR has previously sued DOL twice over its refusal to release these reports on
            the basis of Exemption 4. The first of these lawsuits was voluntarily dismissed in 2018 after
            DOL reversed its prior determination that five companies’ reports were exempt.9 In the second
            lawsuit, the court granted summary judgment to CIR, ruling in December 2019, “the
            Government failed to make a showing that the demographic information contained in the EEO-1
            reports is commercial.10 As a result, the Government was not justified in applying Exemption 4
            to the EEO-1 reports, and the court ruled they “must be produced unredacted.”11 The
            government chose not to appeal that ruling and the U.S. Ninth Circuit Court of Appeals recently




            5
              Members of Congress have called for greater access to diversity reports, both via companies’
            proactive disclosures and via OFCCP’s disclosures under FOIA. See, e.g., Jessica Guyun,
            Barbara Lee calls on Apple, tech holdouts to release diversity data, USA TODAY, Aug. 4, 2015,
            https://www.usatoday.com/story/tech/2015/08/04/barbara-lee-black-caucus-federal-diversity-
            data- apple/31128479.
            6
              The Federal Glass Ceiling Commission, created by the Civil Rights Act of 1991, stated in its
            1995 report that the government should “explore the possibility of mandating public release of
            EEO-1 forms for Federal contractors and publicly-traded corporations.” GLASS CEILING
            COMM’N, A Solid Investment: Making Full Use of the Nation’s Human Capital 42-43, Nov. 1,
            1995, https://ecommons.cornell.edu/handle/1813/79349.
            7
              For example, civil rights activist Rev. Jesse Jackson has called on companies to release
            diversity statistics. See Salvador Rodiguez, Jesse Jackson Gives Uber a Diversity Deadline,
            INC.COM, Jan. 5, 2017, https://www.inc.com/salvador-rodriguez/uber-diversity-jesse-
            jackson.html.
            8
              Letter from Emanuel Cleaver II, Member of Congress, U.S. House of Representatives, to
            Alexander Acosta, Secretary, U.S. Department of Labor (Mar. 6, 2019),
            https://cleaver.house.gov/sites/cleaver.house.gov/files/DOL_FOIA.pdf.
            9
              Ctr for Investigative Reporting v. Dep’t of Labor, No. 3:18-cv-02008 (N.D. Cal. Dec. 21,
            2018).
            10
               Ctr. for Investigative Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771, 779 (N.D. Cal. Dec.
            10, 2019).
            11
               Id.
                                                                                                              3



                                                                  ER-591
(58 of 109), Page 58 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 58 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 5 of 32




            left it undisturbed following a belated challenge by the single holdout company whose data was
            at issue.12

                    OFCCP asserts that DOL regulations and Executive Order 12600 require notification to
            individual submitters to consult if this information qualifies as “confidential commercial
            information.”13 First, the very same DOL regulations allow such notification “by posting or
            publishing notice reasonably likely to accomplish such notification” in cases where “notification
            to a voluminous number of submitters is required.”14 Second, either time-consuming and
            burdensome notification process directly contradicts a federal court opinion requiring disclosure.
            Now that EEO-1 Type 2 reports have been ruled as outside the scope of Exemption 4, any such
            consultation is in contravention of a federal court decision. The agency’s own prior actions
            confirm this conclusion. In a similar context, DOL released data online regarding workplace
            injuries and illnesses for tens of thousands of employers — without consulting with each
            company individually — after courts ruled this data is outside the scope of Exemption 4.15

            II.    Procedural History

                    Mr. Evans submitted the requested EEO-1 Type 2 data for all federal contractors more
            than three years ago, in January 2019. He initially submitted three separate requests for annual
            data for the years 2016, 2017, and 2018. See Exhibits A, B, and C.16 In May 2021, at OFCCP’s
            request, Mr. Evans agreed to combine these requests into one FOIA request for all three years’
            worth of data. See Exhibit D. That combined request has been assigned OFCCP tracking
            number 872421. Id.

                   On numerous occasions, OFCCP indicated that Mr. Evans’s request required company-
            by-company consultation which posed logistical challenges due to the volume of federal
            contractors who might object to disclosure of their diversity data. For example, in July 2019, the
            OFCCP FOIA office estimated that there were “more than 100,000 responsive records”


            12
               Evans v. Synopsys, No. 20-16416 (9th Cir. May 12, 2022), https://cdn.ca9.uscourts.gov/
            datastore/opinions/2022/05/12/20-16416.pdf (dismissing company’s untimely appeal for lack of
            jurisdiction).
            13
               29 C.F.R. § 70.26; see also OFCCP FOIA website, supra note 3.
            14
               29 C.F.R. § 70.26(c); see also 29 C.F.R. § 70.26(j) (“Where notification of a voluminous
            number of submitters is required, such notification may be accomplished by posting and
            publishing the notice in a place reasonably calculated to accomplish notification.”)
            15
               DOL, U.S. Department of Labor Releases Work-Related Injury and Illness Data, Sept. 4,
            2020, https://www.dol.gov/newsroom/releases/osha/osha20200904; see also Ctr. for
            Investigative Reporting v. Dep’t of Labor, No. 4:18-cv-02414, 2020 WL 2995209 (N.D. Cal.
            June 4, 2020); Public Citizen Foundation v. Dep’t of Labor, No. 1:18-cv-00117 (D.D.C. June 23,
            2020).
            16
               The FOIA request for the 2016 EEO-1 Type 2 data was submitted on January 10, 2019, and
            assigned tracking number 872421. Ex. A. The FOIA request for the 2017 data was submitted on
            March 25, 2019, and assigned tracking number 875877. Ex. B. The FOIA request for the 2018
            data was submitted on September 11, 2020, and assigned tracking number 897123. Ex. C.
                                                                                                         4



                                                                  ER-592
(59 of 109), Page 59 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 59 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 6 of 32




            pertaining to the 2016 data, and that “the cost in sending more than 100,000 letters would be
            unduly burdensome.” See Exhibit E. Following the December 2019 ruling in CIR’s favor,
            OFCCP suggested the court’s ruling did not have any “precedential effect” and that it was
            obligated to consult individual federal contractors in response to Mr. Evans’s request for
            aggregate data. See Exhibit F at 2. In December 2020, for example, OFCCP estimated that this
            request involved “the EEO-1, Type 2 reports of well over 15,000, and possibly over 20,000
            submitters from countless industries.” Id.

                   Since January 2021, OFCCP has not answered CIR’s questions about what steps, if any,
            the agency has taken to date to consult with companies whose data is at issue in Mr. Evans’s
            request. Id. at 1.

            III.   Discussion

                    The Freedom of Information Act seeks “to ensure an informed citizenry, vital to the
            functioning of a democratic society.” NLRB v. Robbins Tire & Rubber Co., 437 U.S. 214, 242
            (1978). Under FOIA, “each agency . . . shall make the records promptly available.” 5 U.S.C. §
            552(a)(3)(A). “Congress underscored the importance it attached to prompt responses by
            allowing judicial recourse, bypassing administrative exhaustion, if an agency fails to meet
            statutory timetables for disclosure or to justify its delay in making nonexempt records available
            upon request.” Jud. Watch, Inc. v. Dep’t of Homeland Sec., 895 F.3d 770, 775–76 (D.C. Cir.
            2018). “[A]n agency’s compliance with FOIA depends upon its good faith effort and due
            diligence to comply with all lawful demands for records in as short a time as is possible.” Id. at
            781 (cleaned up).

                     Here, more than three years after receiving Mr. Evans’s initial request, OFCCP has failed
            to fulfill it. OFCCP has justified this extensive delay based on its suggestion that the federal
            court’s decision in the Northern District of California did not have precedential effect and the
            difficulty of notifying thousands of companies whose data is at issue. Ex. F at 2. CIR asserts
            that this position is faulty and to remedy the circumstances the agency should: 1) immediately
            disclose the requested records and 2) proactively notify all companies moving forward that these
            records will be disclosed.

                   A. OFCCP is Bound by Court Decisions Requiring Disclosure of EEO-1 Type 2
                      Reports.

                     By continuing to withhold the long-overdue diversity data, OFCCP is acting outside the
            bounds of law. Contrary to the agency’s suggestion, Judge Westmore’s ruling that diversity data
            is outside Exemption 4 does, in fact, have “precedential effect,” particularly since the Ninth
            Circuit left that decision undisturbed. The plain text of FOIA “vests jurisdiction in federal
            district courts to enjoin an ‘agency from withholding agency records and to order the production
            of any agency records improperly withheld from the complainant,’” and agencies must comply
            with court disclosure orders. Kissinger v. Reporters Comm. for Freedom of the Press, 445 U.S.
            136, 139 (1980) (quoting 5 U.S.C. § 552(a)(4)(B)). Under the “law of the circuit doctrine, a
            published decision of [a federal appellate] court constitutes binding authority which must be
                                                                                                                 5



                                                                  ER-593
(60 of 109), Page 60 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 60 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 7 of 32




            followed unless and until overruled by a body competent to do so.” In re Zermeno-Gomez, 868
            F.3d 1048, 1052 (9th Cir. 2017) (cleaned up).

                  Here, both the district court and the appeals court decisions create binding law on the
            agency. Just two years ago, Judge Westmore ruled on CIR’s request for 2016 EEO-1 report data
            and concluded that the “Government was not justified in applying Exemption 4” to this
            information, requiring the EEO-1 reports to “be produced unredacted.” Ctr. for Investigative
            Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771, 779 (N.D. Cal. 2019). DOL elected not to
            appeal that decision, and subsequently the U.S. Ninth Circuit Court of Appeals found it lacked
            jurisdiction to disturb Judge Westmore’s order. Evans v. Synopsys, No. 20-16416 (9th Cir. May
            12, 2022). The December 10, 2019 order generally remains in effect, as the parties, including
            the Government, stipulated that it would only be stayed as to the “disclosure of the requested
            Synopsys information.” Ctr. for Investigative Reporting, No. 4:19-cv-01843, ECF No. 87, ¶¶ 2-
            3 (N.D. Cal. July 28, 2020). Given that the December 10, 2019 order remains in force, that the
            Government chose not to appeal it, and that the Government opposed the company’s attempt to
            intervene for the sole purpose of appealing it, CIR is perplexed by DOL’s current plan of action
            as to FOIA Request No. 872421. According Kissinger and In re Zermeno, DOL must disclose
            the records and the agency has not presented any other to the contrary. We hope this clarifies
            any remaining confusion and that the agency will disclose the requested records immediately to
            avoid needless, repetitive litigation – for a third time.

                   B. OFCCP Should Proactively Publish the Requested Records on Its Website.

                    The same DOL regulation OFCCP invokes to justify its delay also offers a solution for
            future requests involving EEO-1s: To mitigate the burden and expense of notifying a
            “voluminous number of submitters,” OFCCP can notify all companies simultaneously by posting
            a notice on its website before proactively publishing these records on its website. 29 C.F.R. §
            70.26(c); see also 29 C.F.R. § 70.26(j) (“Where notification of a voluminous number of
            submitters is required, such notification may be accomplished by posting and publishing the
            notice in a place reasonably calculated to accomplish notification.”).

                    OFCCP has various options for notifying companies by publication. It could publish a
            notice in the Federal Register, as DOL previously did to alert companies about a FOIA lawsuit
            and underlying request.17 Another agency with similar regulations about “voluminous”
            notifications recently published notices in the Federal Register.18 Alternatively, OFCCP could

            17
               71 Fed. Reg. 20,732 (April 21, 2006), available at
            https://www.federalregister.gov/documents/2006/04/21/06-3795/freedom-of-information-act-
            notice-of-lawsuit (notice from the Occupational Health and Safety Administration regarding air
            sampling data). See also Finkel v. Dep’t of Lab., No. CIV A 05-5525, 2007 WL 1963163, at *2
            (D.N.J. June 29, 2007).
            18
               81 Fed. Reg. 75,838 (Nov. 1, 2016), available at
            https://www.federalregister.gov/documents/2016/11/01/2016-26412/freedom-of-information-act-
            notice-of-lawsuit (notice from the U.S. Fish and Wildlife Service regarding FOIA request and
            lawsuit for data about import and export of wildlife specimens); 81 Fed. Reg. 85,255 (Nov. 25,
                                                                                                           6



                                                                 ER-594
(61 of 109), Page 61 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 61 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 8 of 32




            issue a press release, as DOL did regarding disclosure of its workplace injury data.19 Whatever
            the venue, DOL should avail itself of its regulatory authority to notify the “voluminous” number
            of companies – and begin to proactively publishing these records online, as other DOL
            components such as OSHA have done with comprehensive datasets after courts ruled that they
            could not be withheld.

            IV.    Conclusion

                    Rather than continue to delay Mr. Evans’s long-overdue request for EEO-1 Type 2 data,
            DOL should disclose the requested records. Moving forward it should exercise its authority to
            notify companies and begin proactive publication. We request that OFCCP respond to this letter
            within two weeks of receipt to discuss any clarifying points and the agency’s intended course of
            action to resolve this matter. You may reach me at vbaranetsky@revealnews.org or (201) 306-
            4831.


            Sincerely,




            Victoria D. Baranetsky
            General Counsel
            The Center for Investigative Reporting


            cc:    Will Evans, Senior Reporter and Producer, The Center for Investigative Reporting
                   Shawn Musgrave, First Amendment Fellow, The Center for Investigative Reporting




            2016), available at https://www.federalregister.gov/documents/2016/11/25/2016-
            28379/freedom-of-information-act-notice-of-lawsuit (same). See also 43 C.F.R. § 2.27(b) (“If a
            voluminous number of submitters are involved, [a bureau of the Department of the Interior] may
            publish a notice in a manner reasonably calculated to reach the attention of the submitters (for
            example, in newspapers or newsletters, the bureau’s Web site, or the Federal Register) instead of
            providing a written notice to each submitter.”).
            19
               Supra note 15.
                                                                                                             7



                                                                 ER-595
(62 of 109), Page 62 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 62 of 109
                       Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 9 of 32




                                Exhibit A




                                                       ER-596
(63 of 109), Page 63 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 63 of 109
     30 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 10 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW



                                                                                          6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



       )ZG$FNQRZOHGJPHQW
       :LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!                                                                          7KX2FWDW30
       7R6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



         )RUZDUGHGPHVVDJH
         )URP)2,$5HTXHVWV)2,$5HTXHVWV#GROJRY!
         'DWH7XH-DQDW30
         6XEMHFW$FNQRZOHGJPHQW
         7R:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!
         &F2OLYHU5DPRQD62/2OLYHU5DPRQD#GROJRY!2)&&312)2,$2)&&3B12B)2,$#GROJRY!



         +HOOR
         ¬
         <RXUUHTXHVWKDVEHHQDVVLJQHGWR2)&&3ZLWKWUDFNLQJQXPEHU:KHQWKH\EHJLQSURFHVVLQJLW
         \RXZLOOEHDEOHWRWUDFNLWVSURJUHVVDWZZZGROJRYIRLD,I\RXQHHGWRFRQWDFWWKHPDERXWLWIRUDQ\UHDVRQ
         SOHDVHVXEPLW\RXULQTXLU\WKURXJKRIFFSBQRBIRLD#GROJRYRUSKRQH,QDGGLWLRQLWZRXOGEH
         KHOSIXOWRLQFOXGHWKHWUDFNLQJQXPEHULQWKH6XEMHFWOLQHRIDQ\VXEPLVVLRQWRWKHDJHQF\RUWRKDYHLW
         DYDLODEOHDWWKHWLPHRIDFDOO
         ¬
         6LQFHUHO\
         ¬

         $UJLQLD.DUDPRNR
         *RYHUQPHQW,QIRUPDWLRQ6SHFLDOLVW2IÀFHRI,QIRUPDWLRQ6HUYLFHV
         2IÀFHRIWKH6ROLFLWRU_0DQDJHPHQW $GPLQLVWUDWLYH/HJDO6HUYLFHV
         86'(3$570(172)/$%25
         &RQVWLWXWLRQ$YH1:1_:DVKLQJWRQ'&¬
         7  _)  _¬(NDUDPRNRDUJLQLD#GROJRY
         ¬
         ¬
         ¬
         )URP:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!
         6HQW7KXUVGD\-DQXDU\30
         7R)2,$5HTXHVWV)2,$5HTXHVWV#GROJRY!
         &F9LFWRULD%DUDQHWVN\YEDUDQHWVN\#UHYHDOQHZVRUJ!
         6XEMHFW)2,$UHTXHVW2)&&3
         

         'HDU)2,$2IILFHU
                                                                                   ER-597
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(64 of 109), Page 64 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 64 of 109
     30 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 11 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW
         8QGHUWKH)UHHGRPRI,QIRUPDWLRQ$FW,DPUHTXHVWLQJDFRS\RIWKHIROORZLQJUHFRUGVIURP2)&&3

         

             $VSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDOFRQWUDFWRUVIRU

         

         ,DPUHTXHVWLQJWKLVGDWDLQHOHFWURQLFIRUPDWE\HPDLO

         

         7KHUHLVDQH[FHSWLRQWRWKHQRWLFHUHTXLUHPHQWVRI&)5DQG([HFXWLYH2UGHUWKDWDSSOLHVKHUHDVZLOOEH
         H[SODLQHGEHORZ1RWLFHWRWKHFRQWUDFWRUVLVQRWUHTXLUHG

         

         8QGHU&)5 *  DQG([HFXWLYH2UGHU6HF H WKHQRWLFHUHTXLUHPHQWVQHHGQRWEHIROORZHGLIWKH
         LQIRUPDWLRQKDVQRWEHHQGHVLJQDWHGE\WKHVXEPLWWHUXQOHVV2)&&3KDVUHDVRQWREHOLHYHWKDWGLVFORVXUHRIWKH
         LQIRUPDWLRQZRXOGUHVXOWLQVXEVWDQWLDOFRPSHWLWLYHKDUP

         

         8QGHU&)5 *  DQG([HFXWLYH2UGHU6HF I WKHQRWLFHUHTXLUHPHQWVQHHGQRWEHIROORZHGWKH
         GHVLJQDWLRQPDGHE\WKHVXEPLWWHUDSSHDUVREYLRXVO\IULYRORXV

         

         7KHUHLVQRVXEVWDQWLDOUHDVRQWREHOLHYHWKDWGLVFORVXUHRIWKHLQIRUPDWLRQZRXOGUHVXOWLQFRPSHWLWLYHKDUPVRWKH
         LQIRUPDWLRQVKRXOGEHUHOHDVHGZLWKRXWQRWLFHIRUDQ\FRQWUDFWRU(YHQLIDFRQWUDFWRUKDVGHVLJQDWHGLWDVFRQILGHQWLDOWKDW
         GHVLJQDWLRQVKRXOGEHFRQVLGHUHG³REYLRXVO\IULYRORXV´DV2)&&3KDVDOUHDG\GHWHUPLQHGWKDW7\SH((2UHSRUWVDUHQRW
         VXEMHFWWR([HPSWLRQRIWKH)UHHGRPRI,QIRUPDWLRQ$FW VHH&,5Y86'2/&DVH1RFY-&6

         

         ,DPDUHSUHVHQWDWLYHRIWKHQHZVPHGLDDVDUHSRUWHUZLWK5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJDQRQSURILW
         LQYHVWLJDWLYHMRXUQDOLVPRUJDQL]DWLRQ7KLVUHTXHVWLVPDGHDVSDUWRIQHZVJDWKHULQJDQGQRWIRUDFRPPHUFLDOXVH,
         UHVSHFWIXOO\DVNWKDW\RXZDLYHIHHVUHODWHGWRWKLVUHTXHVW3OHDVHQRWLI\PHRIDQ\FKDUJHVEHIRUHIXOILOOLQJWKLVUHTXHVW

         3OHDVHFRQWDFWPHZLWKDQ\TXHVWLRQVDWRU

         ZHYDQV#UHYHDOQHZVRUJ

         7KDQN\RXIRU\RXUDWWHQWLRQWRWKLVUHTXHVW

         6LQFHUHO\
         :LOO(YDQV
         5HYHDO7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
         WK6XLWH
         (PHU\YLOOH&$

         

         :LOO(YDQV

         UHSRUWHU

         R

         




         
                                                                                   ER-598
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(65 of 109), Page 65 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 65 of 109
     30 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 12 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW
         ZZZUHYHDOQHZVRUJ



         
         :LOO(YDQV
         UHSRUWHU
         5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
         RIILFH
         FHOO
         ZZZUHYHDOQHZVRUJ




                                                                                   ER-599
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(66 of 109), Page 66 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 66 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 13 of 32




                                Exhibit B




                                                       ER-600
(67 of 109), Page 67 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 67 of 109
     30 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 14 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW



                                                                                          6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



       )ZG$FNQRZOHGJPHQW
       :LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!                                                                          7KX2FWDW30
       7R6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



         )RUZDUGHGPHVVDJH
         )URP.DUDPRNR$UJLQLD62/.DUDPRNR$UJLQLD#GROJRY!
         'DWH0RQ0DUDW30
         6XEMHFW$FNQRZOHGJPHQW
         7R:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!
         &F2OLYHU5DPRQD62/2OLYHU5DPRQD#GROJRY!2)&&312)2,$2)&&3B12B)2,$#GROJRY!



         +HOOR
         ¬
         <RXUUHTXHVWKDVEHHQDVVLJQHGWR2)&&3ZLWKWUDFNLQJQXPEHU:KHQWKH\EHJLQSURFHVVLQJLW
         \RXZLOOEHDEOHWRWUDFNLWVSURJUHVVDWZZZGROJRYIRLD,I\RXQHHGWRFRQWDFWWKHPDERXWLWIRUDQ\UHDVRQ
         SOHDVHVXEPLW\RXULQTXLU\WKURXJKRIFFSBQRBIRLD#GROJRYRUSKRQH,QDGGLWLRQLWZRXOGEH
         KHOSIXOWRLQFOXGHWKHWUDFNLQJQXPEHULQWKH6XEMHFWOLQHRIDQ\VXEPLVVLRQWRWKHDJHQF\RUWRKDYHLW
         DYDLODEOHDWWKHWLPHRIDFDOO
         ¬
         6LQFHUHO\
         ¬
         ¬

         $UJLQLD.DUDPRNR
         *RYHUQPHQW,QIRUPDWLRQ6SHFLDOLVW2IÀFHRI,QIRUPDWLRQ6HUYLFHV
         2IÀFHRIWKH6ROLFLWRU_0DQDJHPHQW $GPLQLVWUDWLYH/HJDO6HUYLFHV
         86'(3$570(172)/$%25
         &RQVWLWXWLRQ$YH1:1_:DVKLQJWRQ'&¬
         7  _)  _¬(NDUDPRNRDUJLQLD#GROJRY
         ¬
         ¬
         ¬
         ¬
         )URP:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!
         6HQW0RQGD\0DUFK30
         7R)2,$5HTXHVWV)2,$5HTXHVWV#GROJRY!
         6XEMHFW)2,$UHTXHVW2)&&3

                                                                                   ER-601
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(68 of 109), Page 68 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 68 of 109
     30 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 15 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW
         

         'HDU)2,$2IILFHU

         8QGHUWKH)UHHGRPRI,QIRUPDWLRQ$FW,DPUHTXHVWLQJDFRS\RIWKHIROORZLQJUHFRUGVIURP2)&&3

         

             $VSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDOFRQWUDFWRUVIRU

         

         ,DPUHTXHVWLQJWKLVGDWDLQHOHFWURQLFIRUPDWE\HPDLO)XOILOOLQJWKLVUHTXHVWLVQRWXQGXO\EXUGHQVRPHEHFDXVHWKHUHLVQR
         QHHGWRQRWLI\IHGHUDOFRQWUDFWRUV

         

         7KHUHLVDQH[FHSWLRQWRWKHQRWLFHUHTXLUHPHQWVRI&)5DQG([HFXWLYH2UGHUWKDWDSSOLHVKHUHDVZLOOEH
         H[SODLQHGEHORZ1RWLFHWRWKHFRQWUDFWRUVLVQRWUHTXLUHG

         

         8QGHU&)5 *  DQG([HFXWLYH2UGHU6HF H WKHQRWLFHUHTXLUHPHQWVQHHGQRWEHIROORZHGLIWKH
         LQIRUPDWLRQKDVQRWEHHQGHVLJQDWHGE\WKHVXEPLWWHUXQOHVV2)&&3KDVUHDVRQWREHOLHYHWKDWGLVFORVXUHRIWKH
         LQIRUPDWLRQZRXOGUHVXOWLQVXEVWDQWLDOFRPSHWLWLYHKDUP

         

         8QGHU&)5 *  DQG([HFXWLYH2UGHU6HF I WKHQRWLFHUHTXLUHPHQWVQHHGQRWEHIROORZHGWKH
         GHVLJQDWLRQPDGHE\WKHVXEPLWWHUDSSHDUVREYLRXVO\IULYRORXV

         

         7KHUHLVQRVXEVWDQWLDOUHDVRQWREHOLHYHWKDWGLVFORVXUHRIWKHLQIRUPDWLRQZRXOGUHVXOWLQFRPSHWLWLYHKDUPVRWKH
         LQIRUPDWLRQVKRXOGEHUHOHDVHGZLWKRXWQRWLFHIRUDQ\FRQWUDFWRU(YHQLIDFRQWUDFWRUKDVGHVLJQDWHGLWDVFRQILGHQWLDOWKDW
         GHVLJQDWLRQVKRXOGEHFRQVLGHUHG³REYLRXVO\IULYRORXV´DV2)&&3KDVDOUHDG\GHWHUPLQHGWKDW7\SH((2UHSRUWVDUHQRW
         VXEMHFWWR([HPSWLRQRIWKH)UHHGRPRI,QIRUPDWLRQ$FW VHH&,5Y86'2/&DVH1RFY-&6

         

         ,DPDUHSUHVHQWDWLYHRIWKHQHZVPHGLDDVDUHSRUWHUZLWK5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJDQRQSURILW
         LQYHVWLJDWLYHMRXUQDOLVPRUJDQL]DWLRQ7KLVUHTXHVWLVPDGHDVSDUWRIQHZVJDWKHULQJDQGQRWIRUDFRPPHUFLDOXVH,
         UHVSHFWIXOO\DVNWKDW\RXZDLYHIHHVUHODWHGWRWKLVUHTXHVW3OHDVHQRWLI\PHRIDQ\FKDUJHVEHIRUHIXOILOOLQJWKLVUHTXHVW

         3OHDVHFRQWDFWPHZLWKDQ\TXHVWLRQVDWRU

         ZHYDQV#UHYHDOQHZVRUJ

         7KDQN\RXIRU\RXUDWWHQWLRQWRWKLVUHTXHVW

         6LQFHUHO\
         :LOO(YDQV
         5HYHDO7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
         WK6XLWH
         (PHU\YLOOH&$

         

         

         :LOO(YDQV

         UHSRUWHU

         R

         

                                                                                   ER-602
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(69 of 109), Page 69 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 69 of 109
     30 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 16 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW




         

         ZZZUHYHDOQHZVRUJ



         
         :LOO(YDQV
         UHSRUWHU
         5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
         RIILFH
         FHOO
         ZZZUHYHDOQHZVRUJ




                                                                                   ER-603
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(70 of 109), Page 70 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 70 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 17 of 32




                                Exhibit C




                                                       ER-604
(71 of 109), Page 71 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 71 of 109
     $0 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 18 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW



                                                                                           6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



       )ZG$FNQRZOHGJPHQW
       PHVVDJH

       :LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!                                                                              )UL2FWDW30
       7R6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



         )RUZDUGHGPHVVDJH
         )URP.DUDPRNR$UJLQLD62/.DUDPRNR$UJLQLD#GROJRY!
         'DWH)UL6HSDW30
         6XEMHFW$FNQRZOHGJPHQW
         7R:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!
         &F2OLYHU5DPRQD62/2OLYHU5DPRQD#GROJRY!2)&&312)2,$2)&&3B12B)2,$#GROJRY!



         +HOOR
         ¬
         <RXUUHTXHVWKDVEHHQDVVLJQHGWRWKH2IÀFHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPV 2)&&3 ZLWK
         WUDFNLQJQXPEHU:KHQWKH\EHJLQSURFHVVLQJLW\RXZLOOEHDEOHWRWUDFNLWVSURJUHVVDW
         ZZZGROJRYIRLD,I\RXQHHGWRFRQWDFWWKHPDERXWLWIRUDQ\UHDVRQSOHDVHVXEPLW\RXULQTXLU\WKURXJK
         RIFFSBQRBIRLD#GROJRYRUSKRQH,QDGGLWLRQLWZRXOGEHKHOSIXOWRLQFOXGHWKHWUDFNLQJ
         QXPEHULQWKH6XEMHFWOLQHRIDQ\VXEPLVVLRQWRWKHDJHQF\RUWRKDYHLWDYDLODEOHDWWKHWLPHRIDFDOO
         ¬
         6LQFHUHO\
         ¬

         $UJLQLD.DUDPRNR
         *RYHUQPHQW,QIRUPDWLRQ6SHFLDOLVW2IÀFHRI,QIRUPDWLRQ6HUYLFHV
         2IÀFHRIWKH6ROLFLWRU_0DQDJHPHQW $GPLQLVWUDWLYH/HJDO6HUYLFHV
         86'(3$570(172)/$%25
         &RQVWLWXWLRQ$YH1:1_:DVKLQJWRQ'&¬
         7  _)  _¬(NDUDPRNRDUJLQLD#GROJRY
         ¬
         ¬
         ¬
         )URP:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!
         6HQW)ULGD\6HSWHPEHU30
         7R)2,$5HTXHVWV)2,$5HTXHVWV#GROJRY!
         6XEMHFW)2,$UHTXHVW2)&&3
         

         'HDU)2,$2IILFHU
                                                                                     ER-605
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPWKLG WKUHDGI$ VLPSO PVJI$   
(72 of 109), Page 72 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 72 of 109
     $0 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 19 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW
         8QGHUWKH)UHHGRPRI,QIRUPDWLRQ$FW,DPUHTXHVWLQJDFRS\RIWKHIROORZLQJUHFRUGVIURP2)&&3

         

             $VSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDOFRQWUDFWRUVIRU

         

         ,DPUHTXHVWLQJWKLVGDWDLQHOHFWURQLFIRUPDWE\HPDLO)XOILOOLQJWKLVUHTXHVWLVQRWXQGXO\EXUGHQVRPHEHFDXVHWKHUHLVQR
         QHHGWRQRWLI\IHGHUDOFRQWUDFWRUV

         

         7KHUHLVDQH[FHSWLRQWRWKHQRWLFHUHTXLUHPHQWVRI&)5DQG([HFXWLYH2UGHUWKDWDSSOLHVKHUHDVZLOOEH
         H[SODLQHGEHORZ1RWLFHWRWKHFRQWUDFWRUVLVQRWUHTXLUHG

         

         8QGHU&)5 *  DQG([HFXWLYH2UGHU6HF H WKHQRWLFHUHTXLUHPHQWVQHHGQRWEHIROORZHGLIWKH
         LQIRUPDWLRQKDVQRWEHHQGHVLJQDWHGE\WKHVXEPLWWHUXQOHVV2)&&3KDVUHDVRQWREHOLHYHWKDWGLVFORVXUHRIWKH
         LQIRUPDWLRQZRXOGUHVXOWLQVXEVWDQWLDOFRPSHWLWLYHKDUP

         

         8QGHU&)5 *  DQG([HFXWLYH2UGHU6HF I WKHQRWLFHUHTXLUHPHQWVQHHGQRWEHIROORZHGWKH
         GHVLJQDWLRQPDGHE\WKHVXEPLWWHUDSSHDUVREYLRXVO\IULYRORXV

         

         7KHUHLVQRVXEVWDQWLDOUHDVRQWREHOLHYHWKDWGLVFORVXUHRIWKHLQIRUPDWLRQZRXOGUHVXOWLQFRPSHWLWLYHKDUPVRWKH
         LQIRUPDWLRQVKRXOGEHUHOHDVHGZLWKRXWQRWLFHIRUDQ\FRQWUDFWRU(YHQLIDFRQWUDFWRUKDVGHVLJQDWHGLWDVFRQILGHQWLDOWKDW
         GHVLJQDWLRQVKRXOGEHFRQVLGHUHG³REYLRXVO\IULYRORXV´DVIHGHUDOFRQWUDFWRU((2VKDYHEHHQGHWHUPLQHGWREH
         SXEOLFUHFRUGVWKDWPXVWEHGLVFORVHGQRWFRQILGHQWLDOFRPPHUFLDOLQIRUPDWLRQ3OHDVHVHHWKH'HF
         UXOLQJE\-XGJH.DQGLV:HVWPRUHLQ86'LVWULFW&RXUWIRUWKH1RUWKHUQ'LVWULFWRI&DOLIRUQLDFY.$:
          DWWDFKHG 

         

         ,DPDUHSUHVHQWDWLYHRIWKHQHZVPHGLDDVDUHSRUWHUZLWK5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJDQRQSURILW
         LQYHVWLJDWLYHMRXUQDOLVPRUJDQL]DWLRQ7KLVUHTXHVWLVPDGHDVSDUWRIQHZVJDWKHULQJDQGQRWIRUDFRPPHUFLDOXVH,
         UHVSHFWIXOO\DVNWKDW\RXZDLYHIHHVUHODWHGWRWKLVUHTXHVW3OHDVHQRWLI\PHRIDQ\FKDUJHVEHIRUHIXOILOOLQJWKLVUHTXHVW

         3OHDVHFRQWDFWPHZLWKDQ\TXHVWLRQVDWRU

         ZHYDQV#UHYHDOQHZVRUJ

         7KDQN\RXIRU\RXUDWWHQWLRQWRWKLVUHTXHVW

         6LQFHUHO\
         :LOO(YDQV
         5HYHDO7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
         WK6XLWH
         (PHU\YLOOH&$

         




         

         ZZZUHYHDOQHZVRUJ



                                                                                     ER-606
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPWKLG WKUHDGI$ VLPSO PVJI$   
(73 of 109), Page 73 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 73 of 109
     $0 Case 3:22-cv-07182 Document         1-12 Filed 11/15/22 Page 20 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG$FNQRZOHGJPHQW
         
         :LOO(YDQV
         UHSRUWHU
         5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
         RIILFH
         FHOO
         ZZZUHYHDOQHZVRUJ




                                                                                     ER-607
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPWKLG WKUHDGI$ VLPSO PVJI$   
(74 of 109), Page 74 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 74 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 21 of 32
            86'HSDUWPHQWRI/DERU               2IILFHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPV
                                                   &RQVWLWXWLRQ$YHQXH1:
                                                   :DVKLQJWRQ'&




            2FWREHU



            9LD(OHFWURQLF0DLO

            :LOO(YDQV
            7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
            WK6WUHHW6XLWH
            (PHU\YLOOH&$

            5()UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R

            'HDU0U(YDQV

            7KLVOHWWHULVWRDFNQRZOHGJHUHFHLSWRI\RXU)UHHGRPRI,QIRUPDWLRQ$FW )2,$ UHTXHVW
            VXEPLWWHGWRIRLDUHTXHVW#GROJRY7KH2IILFHRIWKH6ROLFLWRUDVVLJQHG\RXUUHTXHVWWRWKH
            2IILFHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPV 2)&&3 RQ6HSWHPEHU3OHDVHUHIHU
            WRWKHDERYHUHIHUHQFHG)2,$WUDFNLQJQXPEHULQDQ\IXWXUHFRUUHVSRQGHQFHUHJDUGLQJ\RXU
            )2,$UHTXHVW

            <RXUHTXHVWHGDVSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDO
            FRQWUDFWRUVIRU

            :HFRQVLGHU\RXWREHDUHSUHVHQWDWLYHRIWKHQHZVPHGLDDVGHILQHGE\WKH86'HSDUWPHQWRI
            /DERU)2,$UHJXODWLRQVDW&)5 F  WKHUHIRUHRQO\UHSURGXFWLRQFRVWVZLOOEH
            DVVHVVHGH[FOXGLQJFKDUJHVIRUWKHILUVWSDJHV<RXZLOOUHFHLYHZULWWHQQRWLILFDWLRQLIWKH
            WRWDOHVWLPDWHGIHHIRUSURFHVVLQJ\RXUUHTXHVWH[FHHGV

            2)&&3¶V1DWLRQDO2IILFHZLOOSURFHVV\RXUUHTXHVWIRU((2GDWD2QFHZHFRPSLOHWKHGDWD
            ZHZLOOVHQGDOHWWHUWRWKHVXEPLWWHUVQRWLI\LQJWKHPRIWKHUHTXHVWIRUWKHLU((2GDWD

            ,QDFFRUGDQFHZLWK&)5DQG([HFXWLYH2UGHUEHFDXVH\RXUUHTXHVWFRYHUV
            LQIRUPDWLRQWKDWPD\EHSURWHFWHGIURPGLVFORVXUHXQGHU)2,$([HPSWLRQ2)&&3LVUHTXLUHG
            WRQRWLI\VXEPLWWHUVWKDWWKHLULQIRUPDWLRQKDVEHHQUHTXHVWHGXQGHUWKH)2,$WRJLYHWKHPDQ
            RSSRUWXQLW\WRREMHFWLQZULWLQJWRGLVFORVXUHRIDQ\VSHFLILHGSRUWLRQRIWKHUHTXHVWHG
            LQIRUPDWLRQ)RUWKRVHVXEPLWWHUVZKRGRQRWREMHFWZHZLOOSURYLGHWKHLQIRUPDWLRQZLWKDQ\
            QHFHVVDU\UHGDFWLRQVFRQVLVWHQWZLWK)2,$)RUWKRVHVXEPLWWHUVZKRGRREMHFW2)&&3ZLOO
            HYDOXDWHDQ\UHVSRQVHSURYLGHGE\WKHVXEPLWWHUDVWRZK\WKHUHTXHVWHGLQIRUPDWLRQVKRXOGEH
            ZLWKKHOGDQGPDNHLWVRZQGHWHUPLQDWLRQDVWRZKHWKHUWKHVSHFLILFIDFWVDQGUHOHYDQWODZ
            ZDUUDQWGLVFORVXUHRUZLWKKROGLQJRIWKHUHTXHVWHGLQIRUPDWLRQ




                                                                    ER-608
(75 of 109), Page 75 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 75 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 22 of 32




            'XHWRWKHYROXPHDQGFRPSOH[LW\RIWKH)2,$UHTXHVWVXFIBWFSFDFJWFEZHDQWLFLSDWHWKDW
            SURYLGLQJDIXOOUHVSRQVHZLOOWDNHORQJHUWKDQEXVLQHVVGD\VWRIXOILOO$FFRUGLQJO\2)&&3
            ZLOOWDNHDQDGGLWLRQDOEXVLQHVVGD\VWRIXOILOO\RXUUHTXHVWDVDIIRUGHGE\WKH)2,$DW
            86& D  % L :HZLOOFRQWDFW\RXLIZHDUHXQDEOHWRIXOILOO\RXUUHTXHVWLQ
            EXVLQHVVGD\V

            :HFRQVLGHU\RXD³QHZVPHGLD´W\SHRIUHTXHVWRU$VD³QHZVPHGLD´UHTXHVWRUZHFKDUJH
            \RXIRUSKRWRFRS\LQJDIWHUWKHILUVWSDJHVLQDFFRUGDQFHZLWKWKH86'HSDUWPHQWRI/DERU
            )2,$UHJXODWLRQVDW&)5 F  '2/¶V)2,$UHJXODWLRQVDW&)5 D GHHP
            WKDWWKHILOLQJRID)2,$FRQVWLWXWHVDQDJUHHPHQWE\WKHUHTXHVWHUWRSD\DOOIHHVXSWR

            ,I\RXQHHGIXUWKHUDVVLVWDQFHRUZRXOGOLNHWRGLVFXVVDQ\DVSHFWRI\RXUUHTXHVWSOHDVHGRQRW
            KHVLWDWHWRFRQWDFWWKLVRIILFHDW  RUE\HPDLODW2)&&3B12B)2,$#GROJRY
            $OWHUQDWLYHO\\RXPD\ZLVKWRFRQWDFWWKH'2/)2,$3XEOLF/LDLVRQ7KRPDV+LFNVDW  
            RUE\HPDLODWKLFNVWKRPDV#GROJRY

            <RXPD\DOVRFRQWDFWWKH2IILFHRI*RYHUQPHQW,QIRUPDWLRQ6HUYLFHV 2*,6 ZLWKLQWKH
            1DWLRQDO$UFKLYHVDQG5HFRUGV$GPLQLVWUDWLRQ 1$5$ WRLQTXLUHDERXWWKHPHGLDWLRQVHUYLFHV
            WKH\RIIHU7KHFRQWDFWLQIRUPDWLRQIRU2*,6LVDVIROORZV2IILFHRI*RYHUQPHQW,QIRUPDWLRQ
            6HUYLFHV1DWLRQDO$UFKLYHVDQG5HFRUGV$GPLQLVWUDWLRQ$GHOSKL5RDG&ROOHJH3DUN0'
            <RXFDQDOVRUHDFKWKDWRIILFHE\HPDLODWRJLV#QDUDJRYE\SKRQHDW  
            E\ID[DW  RUE\FDOOLQJWROOIUHHDW  

            ,I\RXDUHQRWVDWLVILHGZLWKWKHUHVSRQVHWRWKLVUHTXHVW\RXPD\DGPLQLVWUDWLYHO\DSSHDOE\
            ZULWLQJWRWKH6ROLFLWRURI/DERUZLWKLQGD\VIURPWKHGDWHRIWKLVOHWWHU,QWKHDSSHDO\RX
            PXVWVWDWHLQZULWLQJWKHJURXQGVIRUWKHDSSHDODQGPD\LQFOXGHDQ\VXSSRUWLQJVWDWHPHQWVRU
            DUJXPHQWVEXWVXFKVWDWHPHQWVDUHQRWUHTXLUHG7RIDFLOLWDWHSURFHVVLQJRIWKHDSSHDOSOHDVH
            LQFOXGH\RXUPDLOLQJDGGUHVVDQGGD\WLPHWHOHSKRQHQXPEHUDVZHOODVDFRS\RIWKHLQLWLDO
            UHTXHVWDQGFRS\RIWKLVOHWWHU&OHDUO\PDUN³)UHHGRPRI,QIRUPDWLRQ$FW$SSHDO´RQWKH
            HQYHORSHDQGOHWWHURIWKHDSSHDO<RXPXVWPDNHDQ\DPHQGPHQWWRWKHDSSHDOLQZULWLQJDQG
            ZHPXVWUHFHLYHLWSULRUWRDGHFLVLRQ$GGUHVVWKHDSSHDOWRWKH6ROLFLWRURI/DERU'LYLVLRQRI
            0DQDJHPHQWDQG$GPLQLVWUDWLYH/HJDO6HUYLFHV86'HSDUWPHQWRI/DERU&RQVWLWXWLRQ
            $YHQXH1:5RRP1:DVKLQJWRQ'&<RXPD\VXEPLW\RXUDSSHDOE\HPDLOWR
            IRLDDSSHDO#GROJRY7KH'HSDUWPHQWGRHVQRWDFFHSWDSSHDOVVXEPLWWHGWRDQ\RWKHUHPDLO
            DGGUHVV

            6LQFHUHO\



            'RULV/LVVHWWH*HiQ
            )2,$0DQDJHU




                                                             

                                                                   ER-609
(76 of 109), Page 76 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 76 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 23 of 32




                               Exhibit D




                                                       ER-610
(77 of 109), Page 77 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 77 of 109
     $0 Case 3:22-cv-07182 Document        1-12 Filed 11/15/22 Page 24 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZGDPHQGPHQWUHTXHVW



                                                                                          6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



       )ZGDPHQGPHQWUHTXHVW
       :LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!                                                                        7KX6HSDW30
       7R6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



         )RUZDUGHGPHVVDJH
         )URP2)&&312)2,$2)&&3B12B)2,$#GROJRY!
         'DWH7XH0D\DW$0
         6XEMHFW5(DPHQGPHQWUHTXHVW
         7R:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!



         'HDU0U(YDQV

         

         :HKDYHPRGLILHGUHTXHVWWRLQFOXGHDVSUHDGVKHHWRIWKHFRQVROLGDWHG 7\SH ((2UHSRUWVIRUDOOIHGHUDO
         FRQWUDFWRUVIRUWKH\HDUVWKURXJK

         

         :HZLOODGPLQLVWUDWLYHO\FORVHUHTXHVW

         

         &RUGLDOO\

         

         %UXFH$QGHUVHQ

         7KH2)&&3)2,$7HDP

         ¬


         )URP:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!
         6HQW0RQGD\0D\30
         7R2)&&312)2,$2)&&3B12B)2,$#'2/*29!
         6XEMHFWDPHQGPHQWUHTXHVW
         


             &$87,217KHVHQGHURIWKLVPHVVDJHLVH[WHUQDOWRWKH'2/QHWZRUN3OHDVHXVHFDUHZKHQFOLFNLQJRQOLQNVDQGUHVSRQGLQJ
             ZLWKVHQVLWLYHLQIRUPDWLRQ6HQGVXVSLFLRXVHPDLOWRVSDP#GROJRY

         

         'HDU)2,$2IILFHU

         

         ,ZRXOGOLNHWRDPHQGP\)2,$UHTXHVWWRLQFOXGHDVSUHDGVKHHWRIDOOFRQVROLGDWHG 7\SH ((2UHSRUWVIRU
         DOOIHGHUDOFRQWUDFWRUVIRUDQGDVZHOODV

         
                                                                                   ER-611
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(78 of 109), Page 78 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 78 of 109
     $0 Case 3:22-cv-07182 Document        1-12 Filed 11/15/22 Page 25 of 32
                                            &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZGDPHQGPHQWUHTXHVW
         ,I\RXDJUHHWRWKLVDPHQGPHQW,ZLOOZLWKGUDZP\VHSDUDWH)2,$IRUWKHGDWD

         

         3OHDVHOHWPHNQRZ
         7KDQN\RXYHU\PXFK
         %HVW

         :LOO(YDQV
         

         :LOO(YDQV

         UHSRUWHU

         RIILFH

         FHOO

         




         

         ZZZUHYHDOQHZVRUJ



         
         :LOO(YDQV
         UHSRUWHU
         5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
         RIILFH
         FHOO
         ZZZUHYHDOQHZVRUJ




                                                                                   ER-612
     KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$   
(79 of 109), Page 79 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 79 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 26 of 32




                                Exhibit E




                                                       ER-613
(80 of 109), Page 80 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 80 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 27 of 32




                                                       ER-614
(81 of 109), Page 81 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 81 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 28 of 32




                                                       ER-615
(82 of 109), Page 82 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 82 of 109
                      Case 3:22-cv-07182 Document 1-12 Filed 11/15/22 Page 29 of 32




                                Exhibit F




                                                       ER-616
(83 of 109), Page 83 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 83 of 109
     $0 Case 3:22-cv-07182              Document 1-12 Filed 11/15/22 Page 30 of 32
                              &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV²7UDFNLQJ1RVDQG



                                                                                             6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



         )ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV±7UDFNLQJ1RVDQG
         :LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!                                                                          7KX6HSDW30
         7R6KDZQ0XVJUDYHVPXVJUDYH#UHYHDOQHZVRUJ!



           )RUZDUGHGPHVVDJH
           )URP$OH[DQGUD*XWLHUUH]DJXWLHUUH]#UHYHDOQHZVRUJ!
           'DWH7KX-DQDW$0
           6XEMHFW5H)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV±7UDFNLQJ1RVDQG
           7R2IILFHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPVRIFFSBQRBIRLD#GROJRY!
           &F9LFWRULD%DUDQHWVN\YEDUDQHWVN\#UHYHDOQHZVRUJ!:LOO(YDQVZHYDQV#UHYHDOQHZVRUJ!+LFNV7KRPDV62/
           KLFNVWKRPDV#GROJRY!


           9,$(0$,/
             
             'RULV/LVVHWWH*HiQ
             )2,$0DQDJHU
             'HSDUWPHQWRI/DERU
             &RQVWLWXWLRQ$YHQXH1:
             :DVKLQJWRQ'&
             2)&&3B12B)2,$#GROJRY
             
           5H)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVW$FNQRZOHGJHPHQW±7UDFNLQJ1R



           'HDU0V*HiQ
           
           :HDUHIROORZLQJXSRQ\RXU'HFHPEHUHPDLO:KLOHZHDUHFRQVLGHULQJDUHRSWLRQVDV
           WRWKH'HSDUWPHQWRI/DERU VFXUUHQWSRVLWLRQDVWRRXUUHSRUWHU VUHTXHVWZHVHHNDQVZHUVWRWKH
           IROORZLQJTXHVWLRQV
           
                 :KHQGLGWKH'HSDUWPHQWSURYLGH(2QRWLFHVWRVXEPLWWHUV"
                 +DYHDQ\VXEPLWWHUVUHVSRQGHGHLWKHUREMHFWLQJRUFRQVHQWLQJ"
                 )RUWKRVHVXEPLWWHUVZKRKDYHFRQVHQWHGRUKDYHZDLYHGWKHLURSSRUWXQLW\WRREMHFWGXH
                 WRWKHSDVVDJHRIDUHDVRQDEOHDPRXQWRIWLPHZRXOGWKH'HSDUWPHQWEHDEOHWRSURYLGH
                 WKHLUVXEPLWWHGUHSRUWVRQDUROOLQJEDVLV
           
           :HDSSUHFLDWH\RXUDWWHQWLRQWRWKHVHLQTXLULHV

           6LQFHUHO\
           
           
                                                                                       ER-617
       KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$     
(84 of 109), Page 84 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 84 of 109
     $0 Case 3:22-cv-07182              Document 1-12 Filed 11/15/22 Page 31 of 32
                              &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV²7UDFNLQJ1RVDQG

           $OH[DQGUD0*XWLHUUH]

           

           FF'9LFWRULD%DUDQHWVN\*HQHUDO&RXQVHO&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
           :LOO(YDQV5HSRUWHU&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
           7KRPDV+LFNV'2/)2,$3XEOLF/LDLVRQ

           2Q)UL'HFDW$02IILFHRI)HGHUDO&RQWUDFW&RPSOLDQFH3URJUDPVRIFFSBQRBIRLD#GROJRY!ZURWH
               9LD(OHFWURQLF0DLO
               
               'HDU0V*XWLHUUH]
               
               :HKDYHUHFHLYHG\RXU'HFHPEHUHPDLOLQTXLULQJDERXWRXWVWDQGLQJ)2,$UHTXHVWVWKDW
               FRPELQHGVHHNWZR\HDUV DQG RI((2FRQVROLGDWHG 7\SH UHSRUWVIRUDOOIHGHUDO
               FRQWUDFWRUV
               
               $V\RXDUHDZDUHZHKDYHFRPSOLHGZLWKWKHGLVWULFWFRXUW¶VRUGHUDQGUHOHDVHGWKHUHSRUWVRIWKH
               LQGLYLGXDOVXEPLWWHUVZKRKDYHQRWDSSHDOHGWKHFRXUW¶VGHFLVLRQLQWKHPDWWHURI&WUIRU,QYHVWLJDWLYH
               5HSRUWLQJY86'HS WRI/DERU)6XSSG 1'&DO <RXURXWVWDQGLQJ)2,$
               UHTXHVWVVHHNWKH((27\SHUHSRUWVRIZHOORYHUDQGSRVVLEO\RYHUVXEPLWWHUVIURP
               FRXQWOHVVLQGXVWULHVZKRVHUHSRUWVDUHQRWVXEMHFWWRWKDWFRXUWRUGHU
               
               :HFRQWLQXHWREHVXEMHFWWR([HFXWLYH2UGHUDQGDUHREOLJDWHGWRQRWLI\VXEPLWWHUVRIUHTXHVWVIRU
               WKHLUSRWHQWLDOO\FRQILGHQWLDOFRPPHUFLDOLQIRUPDWLRQ6HH&)58QGHU([HFXWLYH2UGHU
               ZHPXVWDIIRUGVXEPLWWHUVDUHDVRQDEOHSHULRGRIWLPHWRREMHFWWRWKHGLVFORVXUHRIDQ\SRUWLRQRI
               WKHLQIRUPDWLRQDQGWRVWDWHDOOJURXQGVXSRQZKLFKGLVFORVXUHLVRSSRVHG7KHVXEPLWWHUVWKDWDUHWKH
               VXEMHFWRI\RXUUHTXHVWKDYHQRWKDGWKHRSSRUWXQLW\WRGHPRQVWUDWHZKHWKHUWKHLU((27\SHUHSRUWV
               FRQWDLQFRQILGHQWLDOFRPPHUFLDOLQIRUPDWLRQ0RUHRYHUZKLOHZHGRQRWEHOLHYHWKDWWKH1RUWKHUQ
               &DOLIRUQLD¶V'LVWULFW&RXUW¶VGHFLVLRQLQ&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJKDVSUHFHGHQWLDOHIIHFWRQDOO
               ((27\SHUHSRUWVZHQRWHWKDWWKLVPDWWHULVFXUUHQWO\RQDSSHDOEHIRUHWKH86&RXUWRI$SSHDOVIRU
               WKH1LQWK&LUFXLWDQGWKHUHLVVWLOODFKDQFHWKDWWKHGLVWULFWFRXUW¶VKROGLQJPD\EHRYHUWXUQHG
               
               6LQFHUHO\
               
               
               
               '/LVVHWWH*HiQ
               )2,$0DQDJHU

           
           $OH[DQGUD0*XWLHUUH]
           )LUVW$PHQGPHQW)HOORZ
            F 




                                                                                       ER-618
       KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$     
(85 of 109), Page 85 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 85 of 109
     $0 Case 3:22-cv-07182              Document 1-12 Filed 11/15/22 Page 32 of 32
                              &HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ0DLO)ZG)UHHGRPRI,QIRUPDWLRQ$FW5HTXHVWV²7UDFNLQJ1RVDQG



           
           :LOO(YDQV
           UHSRUWHU
           5HYHDOIURP7KH&HQWHUIRU,QYHVWLJDWLYH5HSRUWLQJ
           RIILFH
           FHOO
           ZZZUHYHDOQHZVRUJ




                                                                                       ER-619
       KWWSVPDLOJRRJOHFRPPDLOX"LN HDGI YLHZ SW VHDUFK DOO SHUPPVJLG PVJI$ VLPSO PVJI$     
(86 of 109), Page 86 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 86 of 109
                        Case 3:22-cv-07182 Document 1-13 Filed 11/15/22 Page 1 of 3




                     Exhibit L



                                                        ER-620
(87 of 109), Page 87 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 87 of 109
                        Case 3:22-cv-07182 Document 1-13 Filed 11/15/22 Page 2 of 3
            U.S. Department of Labor                      Office of Federal Contract Compliance Programs
                                                          200 Constitution Avenue, N.W.
                                                          Washington, D.C. 20210




            June 15, 2022



            Via Electronic Mail: vbaranetsky@revealnews.org

            Victoria D. Barenetsky
            General Counsel
            The Center for Investigative Reporting
            1400 65th, Suite 200
            Emeryville, CA 94608

            RE: Freedom of Information Act Request – Tracking No. 872421

            Dear Ms. Baranetsky:

            We are in receipt of your correspondence of May 23, 2022, (hereinafter “Baranetsky
            Correspondence) to Secretary Walsh, Solicitor Nanda, and Director Yang regarding FOIA
            Request #872421 from Will Evans of the Center for Investigative Reporting (CIR) to the Office
            of Federal Contract Compliance Programs (OFCCP) for consolidated Type 2 EEO-1 reports for
            all federal contractors from 2016-2018. 1 This correspondence has been referred to the
                                                          0F




            undersigned for response.

            As an initial matter, the Department of Labor (Department) continues to strongly disagree with
            CIR’s assertion that the Department is in “direct contravention of law” by not immediately
            disclosing the thousands of EEO-1 reports from 2016-2020 (hereinafter “EEO-1 reports”)
            responsive to FOIA Request #872421. The recent Northern District of California decision
            referenced in your letter 2 addressed only 10 EEO-1 reports of select companies from 2016 and
                                        1F




            does not have any binding effect as to the other EEO-1 reports for which CIR now demands
            immediate disclosure. Furthermore, the subsequent Ninth Circuit decisions 3 were limited to
                                                                                                     2F




            purely jurisdictional issues and explicitly did not reach the merits of the district court decision.

            We also disagree with CIR’s position that OFCCP can proactively publish the requested EEO-1
            reports without providing submitters an opportunity to object to disclosure. The Department’s
            disclosure regulations at 29 C.F.R. part 70, consistent with Executive Order 12600, require the
            Department to provide notice to submitters “whenever it has reason to believe that the
            information requested under the FOIA may be protected from disclosure under Exemption 4, but

            1
              Within the last month, CIR sent a new FOIA request to the Department for Type 2 EEO-1 reports for all federal
            contractors for the years 2019 and 2020 as well. As agreed to by Mr. Evans, OFCCP has combined this request with
            FOIA Request #872421 for processing.
            2
              Ctr. For Investigative Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771 (N.D. Cal. 2019).
            3
              Evans v. Synopsis, 34 F.4th 762 (9th Cir. 2022); Synopsis v. Dep’t of Labor, Nos. 20-16414 and 20-16416, Dkt. No.
            53-1 (9th Cir. May 12, 2022).

                                                                           ER-621
(88 of 109), Page 88 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 88 of 109
                        Case 3:22-cv-07182 Document 1-13 Filed 11/15/22 Page 3 of 3




            has not yet determined whether the information is protected from disclosure…,” 4 and to provide  3F




            submitters with a reasonable period of time to object to the disclosure and state their grounds for
            doing so. Indeed, were the Department to immediately release all Type 2 EEO-1 reports as CIR
            recommends, it would be at risk of substantial liability in reverse FOIA actions if the reviewing
            court(s) found that Exemption 4 did apply to the EEO-1 records, and that in releasing them to the
            public the Department had violated its own regulations and improperly disclosed the confidential
            commercial information of thousands of federal contractors.

            We do, however, agree with CIR that the Department may effectuate notice to all federal
            contractors via “posting and publishing the notice in a place reasonably calculated to accomplish
            notification.” 5 The Department will publish a notice in the Federal Register and on the
                               4F




            Department’s public-facing website that it has received FOIA requests seeking Type 2 EEO-1
            records from all federal contractors that filed them from 2016-2020, and pursuant to its
            regulations, 6 the Department will provide an opportunity for the submitters to respond.
                          5F




            If you have any questions, please contact us via email at OFCCP_NO_FOIA@dol.gov, or by
            telephone at (202) 693-0101.

            Sincerely,



            Kelechi Ahaghotu
            Branch Chief of Information Services
            Division of Management and Administrative Programs




            4
              29 C.F.R. § 70.26(d)
            5
              29 C.F.R. § 70.26(j)
            6
              Id. at § 70.26(e) (“A component will allow a submitter a reasonable time to respond to the notice described in [29
            C.F.R. § 70.26(c)]….”

                                                                            ER-622
(89 of 109), Page 89 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 89 of 109
                        Case 3:22-cv-07182 Document 1-14 Filed 11/15/22 Page 1 of 7




                   Exhibit M



                                                        ER-623
(90 of 109), Page 90 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 90 of 109
     11/15/22, 3:35 PM  Case 3:22-cv-07182      Document
                                        Center for                1-14 Mail
                                                   Investigative Reporting Filed   11/15/22
                                                                              - FOIA 872421 OFCCPPage
                                                                                                  Response2toof 7
                                                                                                              CIR


                                                                                                                           Dara Gray <dgray@revealnews.org>



       FOIA 872421 OFCCP Response to CIR
       1 message

       Dara Gray <dgray@revealnews.org>
       To: Dara Gray <dgray@revealnews.org>




                                                                                                                                     Victoria Baranetsky <vbar



         FOIA 872421 OFCCP Response to CIR
         9 messages

         Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
         Wed, Jun 15, 2022 at 12:50 PM
         To: vbaranetsky@revealnews.org
         Cc: wevans@revealnews.org, smusgrave@revealnews.org


          June 15, 2022
          Via Electronic Mail: vbaranetsky@revealnews.org
          Victoria D. Barenetsky
          General Counsel
          The Center for Investigative Reporting

          1400 65th, Suite 200
          Emeryville, CA 94608
          RE: Freedom of Information Act Request – Tracking No. 872421




          Dear Ms. Baranetsky:




          We are in receipt of your correspondence of May 23, 2022, (hereinafter “Baranetsky Correspondence)
           to Secretary Walsh, Solicitor Nanda, and Director Yang regarding FOIA Request #872421 from Will
          Evans of the Center for Investigative Reporting (CIR) to the Office of Federal Contract Compliance
          Programs (OFCCP) for consolidated Type 2 EEO-1 reports for all federal contractors from 2016-2018.
          [1] This correspondence has been referred to the undersigned for response.


          As an initial matter, the Department of Labor (Department) continues to strongly disagree with CIR’s
          assertion that the Department is in “direct contravention of law” by not immediately disclosing the
           thousands of EEO-1 reports from 2016-2020 (hereinafter “EEO-1 reports”) responsive to FOIA
          Request #872421. The recent Northern District of California decision referenced in your letter[2]

          addressed only 10 EEO-1 reports of select companies from 2016 and does not have any binding effect
           as to the other EEO-1 reports for which CIR now demands immediate disclosure. Furthermore, the
          subsequent Ninth Circuit decisions[3] were limited to purely jurisdictional issues and explicitly did
          not reach the merits of the district court decision.
          We also disagree with CIR’s position that OFCCP can proactively publish the requested EEO-1 reports
           without providing submitters an opportunity to object to disclosure. The Department’s disclosure
          regulations at 29 C.F.R. part 70, consistent with Executive Order 12600, require the Department to
          provide notice to submitters “whenever it has reason to believe that the information requested under
          the FOIA may be protected from disclosure under Exemption 4, but has not yet determined whether
                                                                                                    ER-624
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-4172638616262828984&simpl=msg-a%3Ar-4037343668664582535 1/6
(91 of 109), Page 91 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 91 of 109
     11/15/22, 3:35 PM  Case 3:22-cv-07182      Document
                                        Center for                1-14 Mail
                                                   Investigative Reporting Filed   11/15/22
                                                                              - FOIA 872421 OFCCPPage
                                                                                                  Response3toof 7
                                                                                                              CIR
          the information is protected from disclosure…,”[4] and to provide submitters with a reasonable period
           of time to object to the disclosure and state their grounds for doing so. Indeed, were the Department
          to immediately release all Type 2 EEO-1 reports as CIR recommends, it would be at risk of substantial
           liability in reverse FOIA actions if the reviewing court(s) found that Exemption 4 did apply to the EEO-1
           records, and that in releasing them to the public the Department had violated its own regulations and
          improperly disclosed the confidential commercial information of thousands of federal contractors.


          We do, however, agree with CIR that the Department may effectuate notice to all federal contractors via
          “posting and publishing the notice in a place reasonably calculated to accomplish notification.”[5] The

          Department will publish a notice in the Federal Register and on the Department’s public-facing website
          that it has received FOIA requests seeking Type 2 EEO-1 records from all federal contractors that filed
          them from 2016-2020, and pursuant to its regulations,[6] the Department will provide an opportunity for
           the submitters to respond.


          If you have any questions, please contact us via email at OFCCP_NO_FOIA@dol.gov, or by telephone
           at (202) 693-0101.


          Sincerely,
          Kelechi Ahaghotu
          Branch Chief of Information Services
          Division of Management and Administrative Programs


          [1] Within the last month, CIR sent a new FOIA request to the Department for Type 2 EEO-1 reports for all federal contractors

           for the years 2019 and 2020 as well. As agreed to by Mr. Evans, OFCCP has combined this request with FOIA Request

          #872421 for processing.

          [2] Ctr. For Investigative Reporting v. Dep’t of Labor, 424 F. Supp. 3d 771 (N.D. Cal. 2019).

          [3] Evans v. Synopsis, 34 F.4th 762 (9th Cir. 2022); Synopsis v. Dep’t of Labor, Nos. 20-16414 and 20-16416, Dkt. No. 53-1

          (9th Cir. May 12, 2022).

          [4] 29 C.F.R. § 70.26(d)

          [5] 29 C.F.R. § 70.26(j)

          [6] Id. at § 70.26(e) (“A component will allow a submitter a reasonable time to respond to the notice described in

          [29 C.F.R. § 70.26(c)]….”



                FOIA 872421 OFCCP Response to CIR 2022-06-15.pdf
                317K




         Victoria Baranetsky <vbaranetsky@revealnews.org>
         Thu, Jun 16, 2022 at 10:12 AM
         To: Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
         Cc: wevans@revealnews.org, smusgrave@revealnews.org

          Dear OFCCP,


          Thank you for your email. CIR was disappointed the Office did not provide a production timeline or more concrete
          idea of when these records would be released - given how much time has elapsed since the request was filed.
          CIR also strongly disagrees with the agency's interpretation of the case law in the Ninth Circuit.


          To avoid needless next steps, please let me know your when you and counsel are available to speak early next
          week to provide a clearer timeline on this matter.

          Kind regards,
          Victoria

                                                                                                                        ER-625
          [Quoted text hidden]


      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-4172638616262828984&simpl=msg-a%3Ar-4037343668664582535 2/6
(92 of 109), Page 92 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 92 of 109
     11/15/22, 3:35 PM  Case 3:22-cv-07182      Document
                                        Center for                1-14 Mail
                                                   Investigative Reporting Filed   11/15/22
                                                                              - FOIA 872421 OFCCPPage
                                                                                                  Response4toof 7
                                                                                                              CIR
           [Quoted text hidden]




         Victoria Baranetsky <vbaranetsky@revealnews.org>
         Wed, Jun 22, 2022 at 2:32 PM
         To: Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>, "Bickerstaffe, Keir - SOL" <Bickerstaffe.Keir@dol.gov>, "cc: Whitten, Emily S - SOL" <Whitten.Emily.S@dol.go
         Cc: wevans@revealnews.org, smusgrave@revealnews.org

           Hello,


           I'd like to follow up and again, request if there is a time we can speak about this matter.

           Regards,
           Victoria
           [Quoted text hidden]



         Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
         Mon, Jun 27, 2022 at 2:36 PM
         To: vbaranetsky@revealnews.org
         Cc: wevans@revealnews.org, smusgrave@revealnews.org


           By Electronic Mail




           Dear Ms. Baranetsky,




           This email responds to yours of June 16, 2022, and specifically your request for a clearer timeline regarding FOIA

           #872421,which, as revised, requests that OFCCP disclose Type 2 EEO-1 data for all federal contractors from 2015-2020.

           In July, the Department anticipates publishing a notice in the Federal Register to inform contractors of the FOIA request

           for contractors’ EEO-1 data. This notice will provide contractors with 30 days to submit written objections to the

           disclosure of their EEO-1 data pursuant to Exemption 4 of FOIA. At the conclusion of that 30 days, OFCCP will

           ascertain which contractors have objected to disclosure, and which have not. As soon as possible thereafter, OFCCP

           will disclose to CIR the EEO-1 data for all contractors that have not objected to disclosure. In addition to the Federal

           Register notice, OFCCP will also announce this FOIA request through other means, such as its GovDelivery listserv,

           which includes a large number of federal contractors.




           For those contractors that have submitted written objections, OFCCP will review the objections submitted and make an

           independent assessment for each as to whether the information should be withheld under FOIA Exemption 4. At this time,

           we cannot estimate how long this process will take. We do not know how many contractors will object, but given that there

           were approximately 25,000 unique filers of Type 2 EEO-1 data from 2015-2020, we anticipate that the number of objectors

           will be in the thousands. OFCCP will devote significant resources to review and assess these objections as quickly as

           possible, but we note that the scope of this request, and the number of objections that OFCCP will receive and need to

           evaluate, is unprecedented.




           We hope that this clarifies for CIR the agency’s timeline with regard to this matter. If you have any questions,

           please contact us via email at OFCCP_NO_FOIA@dol.gov, or by telephone at (202) 693-0101.

           [Quoted text hidden]




         Victoria Baranetsky <vbaranetsky@revealnews.org>
         Thu, Jun 30, 2022 at 11:38 AM
         To: Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
         Cc: wevans@revealnews.org, smusgrave@revealnews.org
         Bcc: Brendan Gilligan <bgilligan@revealnews.org>

           Thank you for your response. I would like to confirm: (1) when in July does the agency anticipate publishing
           this announcement on the federal register?; (2) will the agency be producing the records on a rolling
                                                                                                                          ER-626
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-4172638616262828984&simpl=msg-a%3Ar-4037343668664582535 3/6
(93 of 109), Page 93 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 93 of 109
     11/15/22, 3:35 PM  Case 3:22-cv-07182      Document
                                        Center for                1-14 Mail
                                                   Investigative Reporting Filed   11/15/22
                                                                              - FOIA 872421 OFCCPPage
                                                                                                  Response5toof 7
                                                                                                              CIR
          basis?; and, (3) can the agency please point to the agency regulations it is using for guidance on its
          procedure in this case.


          While we appreciate the attention and resources now allocated to this matter, I will note that this request
          is now multiple years old. And given the decision from N.D. Cal is on point, we are dismayed and
          confused by the agency's decision to withhold these records claiming that they have no "binding effect."
          See OFCCP Letter to CIR, dated June 15, 2022 (stating N.D. Cal. "addressed only 10 EEO-1 reports of
          select companies from 2016 and does not have any binding effect as to the other EEO-1 reports"). The
          agency has provided absolutely no reasoning as to why identical forms should not be released simply
          because they are more numerous and from a different calendar year that those at issue in Judge
          Westmore's order. I cannot imagine the Northern District of California would find a meaningful distinction,
          but instead would only see this decision as the agency ignoring the law of the circuit. See Gonzalez v.
          Arizona, 677 F.3d 383, 389 n.4 (9th Cir. 2012) (en banc), aff’d sub nom. Arizona v. Inter Tribal Council of
          Ariz., Inc., 570 U.S. 1 (2013) (discussing law of the circuit); see also Barapind v. Enomoto, 400 F.3d 744, 751
          (9th Cir. 2005) (en banc).


          Regards,
          Victoria



          On Mon, Jun 27, 2022 at 2:34 PM Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov> wrote:
          [Quoted text hidden]


          [Quoted text hidden]



         Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
         Wed, Jul 6, 2022 at 8:49 AM
         To: vbaranetsky@revealnews.org
         Cc: wevans@revealnews.org, smusgrave@revealnews.org


          Dear Ms. Baranetsky,


          Thank you for your email dated June 30, 2022. We write to address the questions you
           raised. We plan to publish our announcement on the Federal Register by the end of
          July. The Federal Register controls its own publication schedule, so it is difficult to
          provide more precision than that.


          We anticipate beginning production on a rolling basis starting 30 days after publication
          of the Federal Register notice. However, until we see how many objections we receive and
          whether they are from individual submitters or trade associations on behalf of their members,
          we cannot provide precise details on what the rolling production will look like. As we indicated
           in our earlier email, we will begin production of the Type 2 reports of those EEO-1 submitters
          who do not object, or do not have objections raised on their behalf within 30 days of the
          publication of the notice in the Federal Register. For submitters that do object, as we said in our
          email, OFCCP will need to do individualized analyses of the objections. If OFCCP determines
          that the objections do not meet the standards for FOIA Exemption 4, OFCCP will notify the
          submitter that it intends to disclose. At that point, submitters may file reverse FOIA actions
          against OFCCP to prevent disclosure.


          The relevant agency regulations regarding these procedures are found at 29 C.F.R. § 70.26.
          [Quoted text hidden]



         Shawn Musgrave <smusgrave@revealnews.org>
         Fri, Aug 5, 2022 at 10:49 AM
         To: Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
         Cc: vbaranetsky@revealnews.org, wevans@revealnews.org

          Hello,


          Please advise on the status of OFCCP's publication to the Federal Register on this matter. In prior correspondence,
          the government indicated it would publish a notice by the end of July. To our knowledge, this notice has not been
          published.


          Best,
          Shawn
          [Quoted text hidden]


                                                                                                               ER-627
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-4172638616262828984&simpl=msg-a%3Ar-4037343668664582535 4/6
(94 of 109), Page 94 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 94 of 109
     11/15/22, 3:35 PM  Case 3:22-cv-07182      Document
                                        Center for                1-14 Mail
                                                   Investigative Reporting Filed   11/15/22
                                                                              - FOIA 872421 OFCCPPage
                                                                                                  Response6toof 7
                                                                                                              CIR
          --
          Shawn Musgrave
          First Amendment Fellow
          Admitted in California
          Pronouns: he/him/his
          c: (510) 809-3165




         OFCCP NO FOIA <OFCCP_NO_FOIA@dol.gov>
         Fri, Aug 5, 2022 at 12:37 PM
         To: Shawn Musgrave <smusgrave@revealnews.org>, OFCCP NO FOIA
         <OFCCP_NO_FOIA@dol.gov>
         Cc: "vbaranetsky@revealnews.org" <vbaranetsky@revealnews.org>,
         "wevans@revealnews.org" <wevans@revealnews.org>


          Good afternoon,




          We would like to inform you that OFCCP sent our Federal Register Notice to the Federal Register

          for publication yesterday. Once we receive a publication date, we will contact

          you with that information.




          Respectfully,




          Kelechi Ahaghotu | Supervisory Government Information Specialist

          Branch Chief of Information Services

          Department of Labor

          Office of Federal Contract Compliance Programs

          Division of Management and Administrative Programs




          From: Shawn Musgrave <smusgrave@revealnews.org>
          Sent: Friday, August 5, 2022 1:50 PM
          To: OFCCP NO FOIA <OFCCP_NO_FOIA@DOL.GOV>
          Cc: vbaranetsky@revealnews.org; wevans@revealnews.org
          Subject: Re: FOIA 872421 OFCCP Response to CIR




               CAUTION - The sender of this message is external to the DOL network.

               Please use care when clicking on links and responding with sensitive information.

               Send suspicious email to spam@dol.gov.




          Hello,

          Please advise on the status of OFCCP's publication to the Federal Register on this matter.

          In prior correspondence, the government indicated it would publish a notice by the end of July.

          To our knowledge, this notice has not been published.

          Best,

          Shawn




          On Wed, Jul 6, 2022 at 8:46 AM Office of Federal Contract Compliance Programs

          <ofccp_no_foia@dol.gov> wrote:

                                                                                                            ER-628
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-4172638616262828984&simpl=msg-a%3Ar-4037343668664582535 5/6
(95 of 109), Page 95 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 95 of 109
     11/15/22, 3:35 PM  Case 3:22-cv-07182      Document
                                        Center for                1-14 Mail
                                                   Investigative Reporting Filed   11/15/22
                                                                              - FOIA 872421 OFCCPPage
                                                                                                  Response7toof 7
                                                                                                              CIR
             Dear Ms. Baranetsky,
             Thank you for your email dated June 30, 2022. We write to address the questions
             you raised. We plan to publish our announcement on the Federal Register by the
              end of July. The Federal Register controls its own publication schedule, so it is
             difficult to provide more precision than that.


             We anticipate beginning production on a rolling basis starting 30 days after publication
              of the Federal Register notice. However, until we see how many objections we receive
              and whether they are from individual submitters or trade associations on behalf of their
             members, we cannot provide precise details on what the rolling production will look like.
             As we indicated in our earlier email, we will begin production of the Type 2 reports of
             those EEO-1 submitters who do not object, or do not have objections raised on their behalf
              within 30 days of the publication of the notice in the Federal Register. For submitters
             that do object, as we said in our email, OFCCP will need to do individualized analyses
             of the objections. If OFCCP determines that the objections do not meet the standards
              for FOIA Exemption 4, OFCCP will notify the submitter that it intends to disclose.
             At that point, submitters may file reverse FOIA actions against OFCCP to prevent disclosure.
             The relevant agency regulations regarding these procedures are found at 29 C.F.R. § 70.26.
             If you have any questions, please contact us via email at OFCCP_NO_FOIA@dol.gov,
             or by telephone at (202) 693-0101.



             Sincerely,
             Kelechi Ahaghotu
             Branch Chief of Information Services
             Division of Management and Administrative Programs


         --
         Dara Gray
         First Amendment Fellow
         c: (404) 395-2356




                                                                                           ER-629
      https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-4172638616262828984&simpl=msg-a%3Ar-4037343668664582535 6/6
(96 of 109), Page 96 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 96 of 109
                        Case 3:22-cv-07182 Document 1-15 Filed 11/15/22 Page 1 of 3




                    Exhibit N



                                                        ER-630
(97 of 109), Page 97 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 97 of 109
     11/15/22, 3:39 PM  Case 3:22-cv-07182 Document         1-15 Reporting
                                             Center for Investigative Filed Mail
                                                                            11/15/22
                                                                                 - RE: FOIA Page
                                                                                            872421 2 of 3



                                                                                                          Dara Gray <dgray@revealnews.org>



       RE: FOIA 872421
       1 message

       Dara Gray <dgray@revealnews.org>                                                                             Tue, Nov 15, 2022 at 3:39 PM
       To: Dara Gray <dgray@revealnews.org>


         ---------- Forwarded message ---------
         From: Office of Federal Contract Compliance Programs <ofccp_no_foia@dol.gov>
         Date: Tue, Nov 1, 2022 at 9:34 AM
         Subject: RE: FOIA 872421
         To: <Wevans@revealnews.org>



         Dear Mr. Evans:
         As part of its final response, OFCCP intends to release to you the names of those
         federal contractors that objected under an applicable FOIA exemption and whose
         data was removed from public release.
         Cordially,
         Bruce Andersen




         From: Will Evans <wevans@revealnews.org>
         Sent: Tuesday, October 18, 2022 4:56 PM
         To: OFCCP NO FOIA <OFCCP_NO_FOIA@DOL.GOV>
         Subject: re: FOIA 872421



          CAUTION: This email originated from outside of the Department of Labor. Do not click
          (select) links or open attachments unless you recognize the sender and know the content
          is safe. Report suspicious emails through the "Report Phishing" button on your email
          toolbar.

         Dear Mr. Andersen,

         When providing responsive records for my previous requests of EEO-1 data, your office's past practice has been to
         provide a list of companies that objected to the release of their EEO-1 data. We expect that you will do so for request
         #87242 as well. Please let me know if that's correct.

         Thank you,

         Will

         --

         Will Evans
                                                                                     ER-631
     https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-3173085348307241188&simpl=msg-a%3Ar-2353227696574689787 1/2
(98 of 109), Page 98 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 98 of 109
     11/15/22, 3:39 PM  Case 3:22-cv-07182 Document         1-15 Reporting
                                             Center for Investigative Filed Mail
                                                                            11/15/22
                                                                                 - RE: FOIA Page
                                                                                            872421 3 of 3
         reporter

         Reveal from The Center for Investigative Reporting

         cell: 510-333-9584

         www.revealnews.org



         --
         Will Evans
         reporter
         Reveal from The Center for Investigative Reporting
         cell: 510-333-9584
         www.revealnews.org




                                                                                     ER-632
     https://mail.google.com/mail/u/0/?ik=5d9704e36e&view=pt&search=all&permthid=thread-a%3Ar-3173085348307241188&simpl=msg-a%3Ar-2353227696574689787 2/2
(99 of 109), Page 99 of 109 Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 99 of 109
                     Case 3:22-cv-07182-WHA Document 57 Filed 02/15/24 Page 1 of 19




         1 ISMAIL J. RAMSEY (CABN 189820)
           United States Attorney
         2 MICHELLE LO (NYRN 4325163)
           Chief, Civil Division
         3 PAMELA T. JOHANN (CABN 145558)
           Assistant United States Attorney
         4
                  450 Golden Gate Avenue, Box 36045
         5        San Francisco, California 94102
                  Telephone: (415) 436-7025
         6        Facsimile: (415) 436-7234
                  pamela.johann@usdoj.gov
         7
           Attorneys for Defendant UNITED STATES
         8 DEPARTMENT OF LABOR

         9

        10                              UNITED STATES DISTRICT COURT

        11                           NORTHERN DISTRICT OF CALIFORNIA

        12                                 SAN FRANCISCO DIVISION

        13

        14   THE CENTER FOR INVESTIGATIVE             ) Case No. 22-cv-07182-WHA
             REPORTING and WILL EVANS,                )
        15                                            )
                     Plaintiffs,                      ) NOTICE OF APPEAL
        16                                            )
                v.                                    )
        17                                            )
             UNITED STATES DEPARTMENT OF              )
        18   LABOR,                                   )
                                                      )
        19                                            )
                     Defendant.                       )
        20                                            )

        21

        22

        23

        24

        25

        26
        27

        28

             NOTICE OF APPEAL
             No. 22-cv-07182-WHA                         ER-633
        30
(100 of 109), Page 100 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 100 of 109
                     Case 3:22-cv-07182-WHA Document 57 Filed 02/15/24 Page 2 of 19




         1          Notice is hereby given that Defendant Department of Labor (“DOL”), in the above-named

         2 action, hereby appeals to the United States Court of Appeals for the Ninth Circuit from the Order on

         3 Cross-Motions for Summary Judgment, entered in this action on December 22, 2023, Dkt. No. 51. A

         4 copy of the order is attached hereto as Exhibit A.

         5          Defendant’s Representation Statement, as required by Ninth Circuit Rule 3-2(b), is attached to

         6 this Notice as Exhibit B.

         7 DATED: February 15, 2024                             Respectfully submitted,

         8                                                      ISMAIL J. RAMSEY
                                                                United States Attorney
         9
                                                                /s/ Pamela T. Johann
        10                                                      PAMELA T. JOHANN
                                                                Assistant United States Attorney
        11
                                                                Attorneys for Defendant
        12

        13

        14

        15

        16

        17

        18

        19

        20

        21

        22

        23

        24

        25

        26
        27

        28

             NOTICE OF APPEAL
             No. 22-cv-07182-WHA                            2    ER-634
        30
(101 of 109), Page 101 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 101 of 109
    4/17/24, 2:59 PM                                                              CAND-ECF

                                                                                                               ADRMOP,APPEAL

                                                   U.S. District Court
                                       California Northern District (San Francisco)
                                    CIVIL DOCKET FOR CASE #: 3:22-cv-07182-WHA


       Center for Investigative Reporting et al v. United States                       Date Filed: 11/15/2022
       Department of Labor                                                             Jury Demand: None
       Assigned to: Judge William Alsup                                                Nature of Suit: 895 Freedom of Information
       Case in other court: for the Ninth Circuit, 24-00880                            Act
       Cause: 05:552 Freedom of Information Act                                        Jurisdiction: Federal Question

       Plaintiff
       Center for Investigative Reporting                                 represented by Aaron Robert Field
                                                                                         Cannata O'Toole & Olson LLP
                                                                                         100 Pine Street
                                                                                         Suite 350
                                                                                         San Francisco, CA 94111
                                                                                         415-409-8900
                                                                                         Email: afield@cofolaw.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Therese Yvonne Cannata
                                                                                        Cannata, O'Toole & Olson LLP
                                                                                        100 Pine Street, Suite 350
                                                                                        San Francisco, CA 94111
                                                                                        415-409-8900
                                                                                        Fax: 415-409-8904
                                                                                        Email: tcannata@cofolaw.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Zachary Edward Colbeth
                                                                                        Cannata O'Toole Fickes & Olson LLP
                                                                                        100 Pine Street, Suite 350
                                                                                        San Francisco, CA 94111
                                                                                        415-409-8900
                                                                                        Fax: 415-409-8904
                                                                                        Email: zcolbeth@cofolaw.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Diana Victoria Baranetsky
                                                                                        The Center for Investigative Reporting
                                                                                        1400 65th Street, Suite 200
                                                                                        Emeryville, CA 94608
                                                                                        (510) 809-3160
                                                                                        Fax: (510) 849-6141
                                                                                        Email: vbaranetsky@revealnews.org
                                                                                        ATTORNEY TO BE NOTICED

                                                                                 ER-635
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                                         1/9
(102 of 109), Page 102 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 102 of 109
    4/17/24, 2:59 PM                                                              CAND-ECF

       Plaintiff
       Will Evans                                                         represented by Aaron Robert Field
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Diana Victoria Baranetsky
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/23/2024
                                                                                        LEAD ATTORNEY

                                                                                        Therese Yvonne Cannata
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Zachary Edward Colbeth
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED


       V.
       Defendant
       United States Department of Labor                                  represented by Pamela T. Johann
                                                                                         United States Attorney's Office
                                                                                         450 Golden Gate Avenue
                                                                                         Box 36055
                                                                                         San Francisco, CA 94102
                                                                                         (415) 436-7025
                                                                                         Fax: (415) 436-7234
                                                                                         Email: pamela.johann@usdoj.gov
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


        Date Filed            #    Docket Text
        11/15/2022            1 COMPLAINT against Department of Labor ( Filing fee $ 402, receipt number
                                ACANDC-17729723.). Filed byCenter for Investigative Reporting. (Attachments:
                                # 1 Civil Cover Sheet, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D,
                                # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11 Exhibit J,
                                # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N)(Baranetsky, Diana)
                                (Filed on 11/15/2022) (Entered: 11/15/2022)
        11/15/2022            2 Proposed Summons. (Baranetsky, Diana) (Filed on 11/15/2022) (Entered: 11/15/2022)
        11/15/2022            3 Certificate of Interested Entities by Center for Investigative Reporting (Baranetsky,
                                Diana) (Filed on 11/15/2022) (Entered: 11/15/2022)
        11/15/2022                 Electronic filing error. Civil Cover sheet is incomplete. There is no Basis of Jurisdiction
                                   or Nature of Suit listed. Please submit Amended Civil Cover Sheet. Re: 1 Complaint,
                                   filed by Center for Investigative Reporting (jrs, COURT STAFF) (Filed on 11/15/2022)
                                   (Entered: 11/15/2022)

                                                                                 ER-636
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                                      2/9
(103 of 109), Page 103 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 103 of 109
    4/17/24, 2:59 PM                                                                        CAND-ECF

        11/15/2022            4 Civil Cover Sheet by Center for Investigative Reporting Amended. (Baranetsky, Diana)
                                (Filed on 11/15/2022) (Entered: 11/15/2022)
        11/16/2022            5 Case assigned to Magistrate Judge Sallie Kim.

                                   Counsel for plaintiff or the removing party is responsible for serving the Complaint or
                                   Notice of Removal, Summons and the assigned judge's standing orders and all other new
                                   case documents upon the opposing parties. For information, visit E-Filing A New Civil
                                   Case at http://cand.uscourts.gov/ecf/caseopening.

                                   Standing orders can be downloaded from the court's web page at
                                   www.cand.uscourts.gov/judges. Upon receipt, the summons will be issued and returned
                                   electronically. A scheduling order will be sent by Notice of Electronic Filing (NEF)
                                   within two business days. Consent/Declination due by 11/30/2022. (jrs, COURT STAFF)
                                   (Filed on 11/16/2022) (Entered: 11/16/2022)
        11/16/2022            6 Summons Issued as to United States Department of Labor, U.S. Attorney and U.S.
                                Attorney General (anj, COURT STAFF) (Filed on 11/16/2022) (Entered: 11/16/2022)
        11/16/2022            7 Initial Case Management Scheduling Order with ADR Deadlines: Case
                                Management Statement due by 2/6/2023. Initial Case Management Conference set
                                for 2/13/2023 01:30 PM in San Francisco, Courtroom C, 15th Floor. (anj, COURT
                                STAFF) (Filed on 11/16/2022)
                                     Any non-CM/ECF Participants have been served by First Class Mail to the addresses of record listed on the Notice of Electronic
                                                                                          Filing (NEF)
                                   (Entered: 11/16/2022)
        11/17/2022            8 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by Center for
                                Investigative Reporting, Will Evans.. (Baranetsky, Diana) (Filed on 11/17/2022)
                                (Entered: 11/17/2022)
        11/18/2022            9 CERTIFICATE OF SERVICE by Center for Investigative Reporting, Will
                                Evans (Attachments: # 1 Certificate/Proof of Service, # 2 Certificate/Proof of Service,
                                # 3 Certificate/Proof of Service, # 4 Certificate/Proof of Service)(Baranetsky, Diana)
                                (Filed on 11/18/2022) (Entered: 11/18/2022)
        12/09/2022           10 Stipulation to Extend time to Answer or otherwise respond to Complaint filed by United
                                States Department of Labor, Center for Investigative Reporting and Will Evans. (Johann,
                                Pamela) (Filed on 12/9/2022) Modified on 12/12/2022 (anj, COURT STAFF). (Entered:
                                12/09/2022)
        12/12/2022           11 CLERK'S NOTICE Re: Consent or Declination: Defendant shall file a consent or
                                declination to proceed before a magistrate judge by 12/27/2022. Note that any party is
                                free to withhold consent to proceed before a magistrate judge without adverse
                                substantive consequences. The forms are available
                                at: http://cand.uscourts.gov/civilforms. Consent/Declination due by 12/27/2022. (mkl,
                                COURT STAFF) (Filed on 12/12/2022) (Entered: 12/12/2022)
        12/27/2022           12 CONSENT/DECLINATION to Proceed Before a US Magistrate Judge by United States
                                Department of Labor.. (Johann, Pamela) (Filed on 12/27/2022) (Entered: 12/27/2022)
        12/28/2022           13 CLERK'S NOTICE OF IMPENDING REASSIGNMENT TO A U.S. DISTRICT
                                COURT JUDGE: The Clerk of this Court will now randomly reassign this case to a
                                District Judge because either (1) a party has not consented to the jurisdiction of a
                                Magistrate Judge, or (2) time is of the essence in deciding a pending judicial action for
                                which the necessary consents to Magistrate Judge jurisdiction have not been secured.
                                You will be informed by separate notice of the district judge to whom this case is
                                reassigned.
                                                                                           ER-637
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                                                                           3/9
(104 of 109), Page 104 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 104 of 109
    4/17/24, 2:59 PM                                                          CAND-ECF

                                   ALL HEARING DATES PRESENTLY SCHEDULED BEFORE THE CURRENT
                                   MAGISTRATE JUDGE ARE VACATED AND SHOULD BE RE-NOTICED FOR
                                   HEARING BEFORE THE JUDGE TO WHOM THIS CASE IS REASSIGNED.

                                   This is a text only docket entry; there is no document associated with this notice. (mkl,
                                   COURT STAFF) (Filed on 12/28/2022) (Entered: 12/28/2022)

        12/28/2022           14 ORDER REASSIGNING CASE. Case reassigned using a proportionate, random,
                                and blind system pursuant to General Order No. 44 to Judge William Alsup for all
                                further proceedings. Magistrate Judge Sallie Kim no longer assigned to case,
                                Notice: The assigned judge participates in the Cameras in the Courtroom Pilot
                                Project. See General Order No. 65 and http://cand.uscourts.gov/cameras. Signed by
                                Clerk on 12/28/2022. (Attachments: # 1 Notice of Eligibility for Video Recording)
                                (mbc, COURT STAFF) (Filed on 12/28/2022) (Entered: 12/28/2022)
        12/28/2022           15 CLERK'S NOTICE RESCHEDULING INITIAL CASE MANAGEMENT
                                CONFERENCE ON REASSIGNMENT: Joint Case Management Statement due
                                by 2/9/2023. Initial Case Management Conference reset for 2/16/2023 11:00 AM in
                                San Francisco, Courtroom 12, 19th Floor. Parties may download Judge Alsup's
                                standing orders on the Court's webpage: https://cand.uscourts.gov/judges/alsup-
                                william-wha/. (This is a text-only entry generated by the court. There is no document
                                associated with this entry.) (afm, COURT STAFF) (Filed on 12/28/2022) (Entered:
                                12/28/2022)
        01/18/2023           16 ANSWER to Complaint by United States Department of Labor. (Johann, Pamela) (Filed
                                on 1/18/2023) Modified on 1/19/2023 (anj, COURT STAFF). (Entered: 01/18/2023)
        01/26/2023           17 ADR Certification (ADR L.R. 3-5 b) of discussion of ADR options (Baranetsky, Diana)
                                (Filed on 1/26/2023) (Entered: 01/26/2023)
        01/26/2023           18 ADR Certification (ADR L.R. 3-5 b) of discussion of ADR options (Johann, Pamela)
                                (Filed on 1/26/2023) (Entered: 01/26/2023)
        02/09/2023           19 JOINT CASE MANAGEMENT STATEMENT and Request to Continue Case
                                Management Conference filed by United States Department of Labor, Center for
                                Investigative Reporting and Will Evans. (Johann, Pamela) (Filed on 2/9/2023) Modified
                                on 2/10/2023 (jrs, COURT STAFF). Modified on 2/10/2023 (jrs, COURT STAFF).
                                (Entered: 02/09/2023)
        02/14/2023           20 CLERK'S NOTICE RESCHEDULING INITIAL CASE MANAGEMENT
                                CONFERENCE FROM 2/16/2023 TO 3/9/2023 AT 11:00AM: Initial Case
                                Management Conference set for 3/9/2023 11:00 AM in San Francisco, Courtroom
                                12, 19th Floor. Joint Case Management Statement due by 3/2/2023. (This is a text-
                                only entry generated by the court. There is no document associated with this
                                entry.) (afm, COURT STAFF) (Filed on 2/14/2023) (Entered: 02/14/2023)
        03/02/2023           21 CASE MANAGEMENT STATEMENT filed by United States Department of Labor.
                                (Johann, Pamela) (Filed on 3/2/2023) (Entered: 03/02/2023)
        03/06/2023           22 CLERK'S NOTICE CONTINUING INITIAL CASE MANAGEMENT
                                CONFERENCE FROM 3/9/2023 TO 4/13/2023: Joint Case Management Statement
                                due by 4/6/2023. Initial Case Management Conference reset for 4/13/2023 11:00 AM
                                in San Francisco, Courtroom 12, 19th Floor. (This is a text-only entry generated by
                                the court. There is no document associated with this entry.) (afm, COURT STAFF)
                                (Filed on 3/6/2023) (Entered: 03/06/2023)


                                                                              ER-638
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                                    4/9
(105 of 109), Page 105 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 105 of 109
    4/17/24, 2:59 PM                                                          CAND-ECF

        04/06/2023           23 CASE MANAGEMENT STATEMENT filed by United States Department of Labor.
                                (Johann, Pamela) (Filed on 4/6/2023) (Entered: 04/06/2023)
        04/11/2023           24 NOTICE RE INITIAL CASE MANAGEMENT CONFERENCE. Signed by Judge
                                William Alsup. (whalc4, COURT STAFF) (Filed on 4/11/2023) (Entered:
                                04/11/2023)
        04/13/2023           25 Minute Entry for proceedings held before Judge William Alsup:

                                   Initial Case Management Conference held on 4/13/2023. Production of outstanding
                                   FOIA requests discussed. Court directed USDOJ to prepare proposed order
                                   capturing dates and deadlines as further discussed on the record. Proposed order is
                                   to be filed by 4/18/2023. Parties will meet and confer re six (6) examples of
                                   bellwether motion as stated on the record.

                                   Digital Recording Time: Liberty - 11:14 - 11:50.
                                   Plaintiff Attorney: Diana Victoria Baranetsky.
                                   Defendant Attorney: Pam Johann.

                                   (This is a text-only entry generated by the court. There is no document associated with
                                   this entry.) (afm, COURT STAFF) (Date Filed: 4/13/2023) (Entered: 04/13/2023)
        04/18/2023           26 STIPULATION WITH PROPOSED ORDER re Briefing Schedule filed by United States
                                Department of Labor, Center for Investigative Reporting and Will Evans. (Johann,
                                Pamela) (Filed on 4/18/2023) Modified on 4/19/2023 (jrs, COURT STAFF). (Entered:
                                04/18/2023)
        04/24/2023           27 ORDER RE 26 BELLWETHER MOTION SCHEDULE. Signed by Judge William
                                Alsup. (whalc4, COURT STAFF) (Filed on 4/24/2023) (Entered: 04/24/2023)
        05/23/2023           28 STIPULATION WITH PROPOSED ORDER to Modify Briefing Schedule filed by
                                United States Department of Labor, Center for Investigative Reporting and Will Evans.
                                (Attachments: # 1 Declaration of Pamela T. Johann)(Johann, Pamela) (Filed on
                                5/23/2023) Modified on 5/24/2023 (jrs, COURT STAFF). (Entered: 05/23/2023)
        05/24/2023           29 ORDER ADOPTING 28 STIPULATED BELLWETHER MOTION SCHEDULE.
                                Signed by Judge William Alsup. (whalc4, COURT STAFF) (Filed on 5/24/2023)
                                (Entered: 05/24/2023)
        07/08/2023           30 STIPULATION WITH PROPOSED ORDER to Modify Briefing Schedule filed by
                                United States Department of Labor, Center for Investigative Reporting and Will Evans.
                                (Attachments: # 1 Declaration of Pamela T. Johann)(Johann, Pamela) (Filed on
                                7/8/2023) Modified on 7/10/2023 (jml, COURT STAFF). (Entered: 07/08/2023)
        07/14/2023           31 ORDER ADOPTING 30 STIPULATION TO MODIFY BRIEFING SCHEDULE
                                (AS AMENDED). Signed by Judge William Alsup. (whalc4, COURT STAFF) (Filed
                                on 7/14/2023) (Entered: 07/14/2023)
        08/18/2023           32 NOTICE of Appearance by Therese Yvonne Cannata (Cannata, Therese) (Filed on
                                8/18/2023) (Entered: 08/18/2023)
        08/18/2023           33 NOTICE of Appearance by Aaron Robert Field (Field, Aaron) (Filed on 8/18/2023)
                                (Entered: 08/18/2023)
        08/18/2023           34 MOTION for Summary Judgment filed by United States Department of Labor. Motion
                                Hearing set for 12/14/2023 08:00 AM in San Francisco, Courtroom 12, 19th Floor
                                before Judge William Alsup. Responses due by 10/18/2023. Replies due by 11/10/2023.
                                (Attachments: # 1 Declaration of Patrick McKay, # 2 Declaration of Quinetta Roberson,
                                                                              ER-639
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                                  5/9
(106 of 109), Page 106 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 106 of 109
    4/17/24, 2:59 PM                                                          CAND-ECF

                                   # 3 Declaration of Michele Hodge, # 4 Declaration of Helene Baxter, # 5 Declaration of
                                   Jack Jasinowski, # 6 Declaration of Josh Barcon, # 7 Declaration of Karen Sobieski)
                                   (Johann, Pamela) (Filed on 8/18/2023) (Entered: 08/18/2023)
        08/18/2023           35 Declaration of Kelechi Ahaghotu in Support of 34 MOTION for Summary
                                Judgment filed byUnited States Department of Labor. (Related document(s) 34 )
                                (Johann, Pamela) (Filed on 8/18/2023) (Entered: 08/18/2023)
        08/21/2023           36 NOTICE of Appearance by Zachary Edward Colbeth (Colbeth, Zachary) (Filed on
                                8/21/2023) (Entered: 08/21/2023)
        08/23/2023           37 Declaration of Shivani Bautista (NorthShore) in Support of 34 MOTION for Summary
                                Judgment filed byUnited States Department of Labor. (Related document(s) 34 )
                                (Johann, Pamela) (Filed on 8/23/2023) (Entered: 08/23/2023)
        08/23/2023           38 ERRATA re 34 MOTION for Summary Judgment Defendant Department of Labor's
                                Bellwether Motion for Summary Judgment (Corrected) by United States Department of
                                Labor. (Johann, Pamela) (Filed on 8/23/2023) (Entered: 08/23/2023)
        10/18/2023           39 OPPOSITION/RESPONSE (re 34 MOTION for Summary Judgment); NOTICE OF
                                CROSS-MOTION AND CROSS-MOTION FOR SUMMARY JUDGMENT; AND
                                MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT filed by Center for
                                Investigative Reporting, Will Evans. (Attachments: # 1 Declaration DECLARATION
                                OF D. VICTORIA BARANETSKY IN SUPPORT OF PLAINTIFFS CROSS-MOTION
                                FOR SUMMARY JUDGMENT, # 2 Declaration DECLARATION OF MARC
                                BENDICK, JR., PH.D. IN OPPOSITION TO DEFENDANTS MOTION FOR
                                SUMMARY JUDGMENT AND IN SUPPORT OF PLAINTIFFS CROSS MOTION
                                FOR SUMMARY JUDGMENT, # 3 Declaration DECLARATION OF JAMILLAH
                                BOWMAN WILLIAMS IN SUPPORT OF OPPOSITION TO DEFENDANTS
                                MOTION FOR SUMMARY JUDGMENT AND CROSS MOTION FOR SUMMARY
                                JUDGMENT, # 4 Proposed Order [PROPOSED] ORDER RE: CROSS-MOTION FOR
                                SUMMARY JUDGMENT)(Field, Aaron) (Filed on 10/18/2023) Modified on
                                10/19/2023 (cjl, COURT STAFF). (Entered: 10/18/2023)
        11/07/2023           40 STIPULATION WITH PROPOSED ORDER re Clarification of Defendant's
                                Opposition/Reply Deadline filed by United States Department of Labor, The Center for
                                Investigative Reporting and Will Evans. (Johann, Pamela) (Filed on 11/7/2023)
                                Modified on 11/8/2023 (jml, COURT STAFF). (Entered: 11/07/2023)
        11/07/2023           41 ORDER GRANTING 40 STIPULATION RE: CLARIFICATION OF DEADLINE
                                FOR DEFENDANTS' OPPOSITION AND REPLY RE BELLWETHER
                                SUMMARY JUDGMENT. Signed by Judge William Alsup on 11/7/2023. (afm,
                                COURT STAFF) (Filed on 11/7/2023) Modified on 11/7/2023 (afm, COURT
                                STAFF). (Entered: 11/07/2023)
        11/13/2023           42 REPLY (re 34 MOTION for Summary Judgment ) and Opposition to Cross-Motion filed
                                byUnited States Department of Labor. (Johann, Pamela) (Filed on 11/13/2023) (Entered:
                                11/13/2023)
        11/13/2023           43 Declaration of Kelechi Ahaghotu in Support of 42 Reply to Opposition/Response and
                                Opposition to Cross-Motion filed byUnited States Department of Labor. ***SEE
                                DOCKET ENTRY 46 FOR CORRECTION OF 43 -4.***(Attachments: # 1 Declaration
                                of Jack Jasinowski, # 2 Declaration of Barbara L. Moskowitz, # 3 Declaration of Center
                                for Workplace Compliance, # 4 Declaration of Patrick F. McKay, Ph.D., # 5 Declaration
                                of Quinetta M. Roberson)(Related document(s) 42 ) (Johann, Pamela) (Filed on
                                11/13/2023) Modified on 11/16/2023 (cjl, COURT STAFF). (Entered: 11/13/2023)

                                                                              ER-640
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                                 6/9
(107 of 109), Page 107 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 107 of 109
    4/17/24, 2:59 PM                                                          CAND-ECF

        11/13/2023           44 Proposed Order re Motion for Summary Judgment by United States Department of
                                Labor. (Johann, Pamela) (Filed on 11/13/2023) (Entered: 11/13/2023)
        11/14/2023           45 Declaration of Helene Baxter filed byUnited States Department of Labor. (Attachments:
                                # 1 Declaration of Pamela T. Johann)(Johann, Pamela) (Filed on 11/14/2023) (Entered:
                                11/14/2023)
        11/16/2023           46 Declaration of Patrick F. McKay, Ph.D. in Support of 42 Reply to
                                Opposition/Response CORRECTION OF DOCKET # [43-4] filed byUnited States
                                Department of Labor. (Related document(s) 42 ) (Johann, Pamela) (Filed on 11/16/2023)
                                (Entered: 11/16/2023)
        11/29/2023           47 STIPULATION AND [PROPOSED] ORDER RE: LENGTH OF PLAINTIFFS REPLY
                                IN SUPPORT OF CROSS-MOTION FOR SUMMARY JUDGMENT filed by Center
                                for Investigative Reporting, Will Evans, United States Department of Labor. (Field,
                                Aaron) (Filed on 11/29/2023) Modified on 11/29/2023 (cjl, COURT STAFF). (Entered:
                                11/29/2023)
        11/30/2023           48 ORDER GRANTING 47 STIPULATION. Signed by Judge William Alsup.
                                (whalc4, COURT STAFF) (Filed on 11/30/2023) (Entered: 11/30/2023)
        12/05/2023           49 REPLY IN SUPPORT OF 34 PLAINTIFFS CROSS-MOTION FOR SUMMARY
                                JUDGMENT filed by Center for Investigative Reporting, Will Evans. (Attachments:
                                # 1 Declaration DECLARATION OF D. VICTORIA BARANETSKY IN SUPPORT OF
                                REPLY IN SUPPORT OF PLAINTIFFS CROSSMOTION FOR SUMMARY
                                JUDGMENT)(Field, Aaron) (Filed on 12/5/2023) Modified on 12/6/2023 (cjl, COURT
                                STAFF). (Entered: 12/05/2023)
        12/14/2023           50 Minute Entry for proceedings held before Judge William Alsup:

                                   Motion Hearing held on 12/14/2023 re 34 MOTION for Summary Judgment filed
                                   by United States Department of Labor. Parties stated appearances and proffered
                                   argument. Court takes the motion under submission.

                                   Total Time in Court: 8:02 - 8:57 = 55 Minutes.
                                   Court Reporter: Jennifer Coulthard.

                                   Plaintiff Attorneys: Diana Baranetsky, Aaron Field.
                                   Defendant Attorney: Pamela Johann.

                                   (This is a text-only entry generated by the court. There is no document associated with
                                   this entry.) (afm, COURT STAFF) (Date Filed: 12/14/2023) (Entered: 12/14/2023)
        12/22/2023           51 ORDER REGARDING 34 , 39 MOTIONS FOR SUMMARY JUDGMENT. Signed
                                by Judge William Alsup.(whalc4, COURT STAFF) (Filed on 12/22/2023) (Entered:
                                12/22/2023)
        12/27/2023           52 STIPULATED REQUEST TO STAY RELEASE ORDER; [PROPOSED] ORDER filed
                                by United States Department of Labor, Center for Investigative Reporting, Will Evans.
                                (Attachments: # 1 Declaration of Pamela T. Johann)(Johann, Pamela) (Filed on
                                12/27/2023) Modified on 12/27/2023 (cjl, COURT STAFF). (Entered: 12/27/2023)
        12/28/2023           53 ORDER GRANTING STIPULATION 52 . Signed by Judge William Alsup.
                                (whalc4, COURT STAFF) (Filed on 12/28/2023) (Entered: 12/28/2023)
        01/11/2024           54 AUDIO RECORDINGS ORDER (requesting docket(s): 25 ). Court will send to James
                                Flynn at jflynn@orrick.com a link to the files requested in this order. ( Filing fee $ 34,
                                receipt number 27AOFE3G). (knm, COURT STAFF) (Filed on 1/11/2024) Audio file
                                                                              ER-641
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                                  7/9
(108 of 109), Page 108 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 108 of 109
    4/17/24, 2:59 PM                                                          CAND-ECF

                                   sent to James Flynn on 1/12/2024. Modified on 1/12/2024 (jaf, COURT STAFF).
                                   (Entered: 01/11/2024)
        01/23/2024           55 NOTICE of Change In Counsel by Diana Victoria Baranetsky (Baranetsky, Diana)
                                (Filed on 1/23/2024) (Entered: 01/23/2024)
        02/14/2024           56 Supplemental Certificate of Interested Entities by Center for Investigative Reporting,
                                Will Evans identifying Other Affiliate Foundation for National Progress for Center for
                                Investigative Reporting. (Colbeth, Zachary) (Filed on 2/14/2024) Modified on 2/15/2024
                                (cjl, COURT STAFF). (Entered: 02/14/2024)
        02/15/2024           57 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by United States
                                Department of Labor. (Appeal fee FEE WAIVED.) (Johann, Pamela) (Filed on
                                2/15/2024) (Entered: 02/15/2024)
        02/15/2024           58 Emergency ADMINISTRATIVE MOTION for Stay Pending Appeal filed by United
                                States Department of Labor. Responses due by 2/16/2024. (Attachments: # 1 Declaration
                                of Pamela T. Johann, # 2 Proposed Order)(Johann, Pamela) (Filed on 2/15/2024)
                                (Entered: 02/15/2024)
        02/16/2024           59 ORDER TEMPORARILY GRANTING 58 ADMINISTRATIVE MOTION TO
                                STAY. Signed by Judge William Alsup. (whalc4, COURT STAFF) (Filed on
                                2/16/2024) (Entered: 02/16/2024)
        02/20/2024           60 USCA Case Number 24-880 for the Ninth Circuit for 57 Notice of Appeal to the Ninth
                                Circuit filed by United States Department of Labor. (jml, COURT STAFF) (Filed on
                                2/20/2024) (Entered: 02/21/2024)
        02/23/2024           61 Supplemental Opposition Brief to 58 Emergency Motion for Stay of Disclosure
                                Deadlines Pending Appeal by Department of Labor filed by Center for Investigative
                                Reporting. (Attachments: # 1 Declaration of Aaron R. Field, # 2 Exhibit A)(Related
                                document(s) 59 ) (Field, Aaron) (Filed on 2/23/2024) Modified on 2/26/2024 (kmm2,
                                COURT STAFF). (Entered: 02/23/2024)
        02/23/2024           62 NOTICE of Errata Re 61 -1 Declaration of Aaron R. Field in Support of Plaintiffs'
                                Opposition to Emergency Motion for Stay of Disclosure Deadline Pending Appeal by
                                Center for Investigative Reporting, Will Evans (Field, Aaron) (Filed on 2/23/2024)
                                Modified on 2/26/2024 (kmm2, COURT STAFF). (Entered: 02/23/2024)
        02/29/2024           63 TRANSCRIPT ORDER for proceedings held on December 14, 2023 before Judge
                                William Alsup by United States Department of Labor, for Court Reporter Jennifer
                                Coulthard. (Johann, Pamela) (Filed on 2/29/2024) (Entered: 02/29/2024)
        02/29/2024           64 Transcript Designation Form re 57 Notice of Appeal to the Ninth Circuit Transcript due
                                by 4/1/2024. (Johann, Pamela) (Filed on 2/29/2024) (Entered: 02/29/2024)
        03/18/2024           65 STIPULATION WITH PROPOSED ORDER Re: Time to File Motion for Attorney's
                                Fees and Costs filed by Center for Investigative Reporting, Will Evans, United States
                                Department of Labor (Attachments: # 1 Declaration of Aaron R. Field) (Field, Aaron)
                                (Filed on 3/18/2024) Modified on 3/19/2024 (kmm2, COURT STAFF). (Entered:
                                03/18/2024)
        03/19/2024           66 ORDER TO FILE A JOINT STATEMENT BY MARCH 26, 2024, AT NOON.
                                Signed by Judge William Alsup. (whalc4, COURT STAFF) (Filed on 3/19/2024)
                                (Entered: 03/19/2024)
        03/20/2024           67 (DISREGARD. SEE 68 ORDER.) ORDER GRANTING 65 STIPULATION RE TIME
                                TO FILE MOTION FOR ATTORNEY'S FEES AND COSTS. Signed by Judge William

                                                                              ER-642
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                              8/9
(109 of 109), Page 109 of 109
                            Case: 24-880, 05/09/2024, DktEntry: 9.5, Page 109 of 109
    4/17/24, 2:59 PM                                                          CAND-ECF

                                   Alsup. (whalc4, COURT STAFF) (Filed on 3/20/2024) Modified on 3/21/2024 (afm,
                                   COURT STAFF). (Entered: 03/20/2024)
        03/21/2024           68 ORDER GRANTING 65 STIPULATION REGARDING TIME TO FILE
                                MOTION FOR ATTORNEY'S FEES AND COSTS. Signed by Judge William
                                Alsup. (whalc4, COURT STAFF) (Filed on 3/21/2024) (Entered: 03/21/2024)
        03/26/2024           69 Joint Statement re 66 Court's March 19, 2024 Order by United States Department of
                                Labor, Center for Investigative Reporting, Will Evans (Johann, Pamela) (Filed on
                                3/26/2024) Modified on 3/27/2024 (kmm2, COURT STAFF). (Entered: 03/26/2024)




                                                                              ER-643
    https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?690118552531575-L_1_0-1                                         9/9
